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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

In re:                                                        )    Chapter 11
                                                              )
W. R. GRACE & CO., et al.,1                                   )    Case No. 01-01139 (JJF)
                                                              )    (Jointly Administered)
                                                              )
                            Debtors.                          )


      SUMMARY OF THE VERIFIED APPLICATION OF KIRKLAND & ELLIS FOR
       COMPENSATION FOR SERVICES AND REIMBURSEMENT OF EXPENSES
          AS BANKRUPTCY COUNSEL TO W. R. GRACE & CO., ET AL., FOR
     THE SECOND INTERIM PERIOD FROM MAY 1, 2001 THROUGH MAY 31, 2001


 Name of Applicant:                                                Kirkland & Ellis
 Authorized to Provide Professional Services to:                   W. R. Grace & Co., et al., Debtors and
                                                                   Debtors-in-Possession

 Date of Retention:                                                Retention Order entered May 3, 2001,
                                                                   effective as of April 2, 2001.

 Period for which compensation and reimbursement
 is sought:                                                        May 1, 2001 through May 31, 2001

 Amount of Compensation sought as actual,
 reasonable, and necessary:                                        $644,638.86


1
   The Debtors consist of the following 62 entities: W . R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W . R. Grace
& Co.-Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc.
(f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food ‘N Fun Company, Darex Puerto
Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife
Boston Ltd., G C Limited Partners I, Inc. (f/k/a Grace Cocoa Limited Partners I, Inc.), G C Management, Inc. (f/k/a Grace
Cocoa Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New
Communities Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace
H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (f/k/a Dearborn
International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated,
Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W . R.
Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe Land Development Corporation, Hanover Square
Corporation, Homco International, Inc., Kootenai Development Company, L B Realty, Inc., Litigation Management, Inc.
(f/k/a GHSC Holding, Inc., Grace JVH, Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe
Street, Inc., MRA Holdings Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (f/k/a Nestor-BNA,
Inc.), MRA Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a Environmental
Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin & Fiberglass, Inc.,
Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country Staffing), Hayden-Gulch W e s t
Coal Company, H-G Coal Company.
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This is an: X interim __ final application.
The total time expended for the preparation of this application is approximately 60 hours, and the
corresponding estimated compensation that will be requested in a future application is
approximately $14,000.00.

This is the second application for interim compensation of services filed with the Bankruptcy Court in
the Chapter 11 Cases.2

The K&E attorneys who rendered professional services in these cases during the Fee Period are:

         Name of         Position      Number of                             Hourly       Total         Total
       Professional      with the      years as an      Department           billing      billed       compen-
         Person          applicant      attorney                              rate        hours         sation


     Theodore             Partner       29 Years         Bankruptcy          $575.00         5.50        $3,162.50
     Freedman

     Janet Baer           Partner       19 Years         Bankruptcy          $495.00       152.00       $75,240.00

     James                Partner       16 Years         Bankruptcy          $625.00        18.00       $11,250.00
     Sprayregen

     Lena Mandel        Associate       11 Years         Bankruptcy          $395.00        10.80        $4,266.00

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                        Associate

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     Timothy Hardy        Partner       29 Years       Environmental         $445.00        44.40       $19,758.00

     Mark Grummer         Partner       25 Years       Environmental         $365.00       122.80       $44,822.00

     David Codevilla    Associate        5 Years       Environmental         $295.00        84.90       $25,045.50




 2
    Any capitalized terms not defined herein have the meaning ascribed to them in the Verified Application of Kirkland
& Ellis for Compensation for Services and Reimbursement of Expenses as Bankruptcy Counsel to W. R. Grace & Co., et
al., for the Second Interim Period from May 1, 2001 through May 31, 2001.


                                                          2
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       Name of       Position    Number of                       Hourly       Total      Total
     Professional    with the    years as an    Department       billing      billed    compen-
       Person        applicant    attorney                        rate        hours      sation


   Jane Davis         Summer      1 Month      Environmental     $125.00        19.90      $2,487.50
                     Associate

   David M.           Partner     23 Years       Litigation      $655.00        51.70   $33,863.50
   Bernick

   Andrew             Partner     19 Years       Litigation      $470.00        75.60   $35,532.00
   Running

   John Donley        Partner     16 Years       Litigation      $445.00         1.00       $445.00

   Reed Oslan         Partner     14 Years       Litigation      $445.00         2.50      $1,112.50

   Sarah Marmor       Partner      8 Years       Litigation      $375.00        15.00      $5,625.00

   Daryl Joseffer    Associate     6 Years       Litigation      $350.00         7.50      $2,625.00

   Christopher       Associate     6 Years       Litigation      $350.00        46.50   $16,275.00
   Sullivan

   Scott McMillin    Associate    5 Years        Litigation      $330.00        60.10   $19,833.00

   Douglas Smith     Associate     5 Years       Litigation      $315.00         3.50      $1,102.50

   P. Renee          Associate     3 Years       Litigation      $265.00        11.90      $3,153.50
   Wicklund

   Grant Cornehls    Associate     2 Years       Litigation      $225.00         2.50       $562.50

   Kellye Fabian     Associate     1 Year        Litigation      $195.00        42.40      $8,268.00

   Donald Rocap       Partner     21 Years           Tax         $625.00         1.40       $875.00

   Todd Maynes        Partner     14 Years           Tax         $515.00        20.10   $10,351.50

   Thomas Day        Associate     1 Year            Tax         $235.00        24.50      $5,757.50

   Michael           Associate     1 Year            Tax         $235.00         4.60      $1,081.00
   Hauswirth

   Julie Olsen       Associate     1 Year       Real Estate      $265.00         0.20        $53.00

   Brian Davis       Associate     3 Years      Real Estate      $265.00         1.50       $397.50

   Kenneth            Partner     18 Years     Transactional     $510.00         7.10      $3,621.00
   Morrison


The paraprofessionals of K&E who rendered professional services in these cases during the Fee

Period are:




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    Name of        Position    Number of                         Hourly       Total      Total
  Professional     with the    years as an    Department         billing      billed    compen-
    Person         applicant    attorney                          rate        hours      sation


Elizabeth Cox       Legal       12 Years      Bankruptcy         $150.00         3.50       $525.00
Arnold             Assistant

Nathanael           Legal       8 Years       Bankruptcy         $150.00         1.00       $150.00
Meyers             Assistant

Brigitte Windley    Legal       4 Years       Bankruptcy         $150.00        85.70   $12,855.00
                   Assistant

Daniel Lee          Project    9 Months       Bankruptcy         $70.00          4.50       $315.00
                   Assistant

Daniel Baglio        Case      7 Months       Bankruptcy         $60.00         12.60       $756.00
                   Assistant

Eric Miller         Project    4 Months       Bankruptcy         $70.00          0.20        $14.00
                   Assistant

Anita Nowak          Case      4 Months       Bankruptcy         $65.00          3.00       $195.00
                   Assistant

Sabrina Mitchell    Project    3 Months       Bankruptcy         $70.00       117.40       $8,218.00
                   Assistant

Christopher         Legal       8 Years        Corporate         $130.00         8.30      $1,079.00
Valeri             Assistant

Lauren Mitchell-    Legal       12 Years     Environmental       $165.00         1.30       $214.50
Dawson             Assistant

Shirley Pope        Legal       16 Years       Litigation        $155.00         2.50       $387.50
                   Assistant

Kathy Sorce         Legal       6 Years        Litigation        $150.00         5.50       $825.00
                   Assistant

Raquel Carrillo     Legal      6 Months        Litigation        $100.00        49.10      $4,910.00
                   Assistant

Susan Polk          Legal       16 Years           Tax           $180.00         2.00       $360.00
                   Assistant

Biographical                                                     $110.00         0.30        $33.00
Research

Legislative                                                      $110.00         2.50       $275.00
Research


                                                         Grand Total for Fees: $567,151.00
                                                               Blended Rate: $323.55



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                               Compensation by Matter

Matter                        Matter                    Total Hours        Total Fees
Number                                                                     Requested
  16      Asset Analysis and Recovery                             37.60        $13,383.50

  17      Automatic Stay Matters/Relief from Stay                 71.00        $23,557.50
          Proceedings

  18      Bankruptcy Filing                                        6.40            $1,052.50

  20      Case Administration                                    176.80        $44,416.50

  21      Claim Estimate, Objection and Resolution                98.00        $34,923.50

  22      Contested Matters/Adversary Proceedings                352.10       $137,377.00
  24      Creditors/Noteholders Committee                         49.20        $22,787.00

  25      Creditors/Shareholders Committee                        40.90        $11,783.50

  26      DIP Financing/Cash Collateral                           50.60        $15,974.00

  27      Employee Matters                                        90.00        $24,778.00

  28      Environmental Issues                                   221.80        $77,962.50

  29      File, Docket, Calendar Maintenance                      94.00            $7,624.00

  30      Hearings                                                50.00        $22,826.00
  32      K&E Fee Application, Preparation of                     88.80        $13,955.00

  33      Lease Rejection Claims                                  23.30            $7,160.00

  36      Reclamation Claims                                       2.90             $895.50

  38      Retention of Professionals/Fees                         57.40        $18,949.50

  39      Schedules/Statement of Financial Affairs               145.30        $46,856.00

  41      Tax Matters                                             53.70        $18,812.00
  42      Travel                                                  28.80        $14,121.50

  43      Use, Sale, Lease or Abandonment of                       0.70             $437.50
          Property

  44      U.S. Trustee                                            15.10            $5,612.00

  45      Utilities                                                5.70            $1,906.50


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                                        Expense Summary

                          Description                                    Amount


Telephone                                                                           $2,302.26

Facsimile Charges                                                                   $1,414.71
Standard Copies                                                                     $2,930.55

Binding                                                                               $40.25

Outside Copy/binding Service                                                          $21.70

Tabs/Indexes/Dividers                                                                 $26.00

Postage                                                                                $3.93

Local Transportation                                                                 $360.67

Travel Meals                                                                         $716.74
Overnight Delivery                                                                   $663.24

Travel Expense                                                                    $12,131.56

Airfare                                                                           $22,834.84

Travel to/from Airport                                                               $905.61

Computer Database Research                                                          $1,601.19

Library Document Procurement                                                         $320.00
Information Broker Services                                                       $28,084.72

Calendar/Court Services                                                               $50.00

Overtime Meals                                                                        $63.00

Overtime Meals- Attorney                                                             $131.91

Overtime Transportation                                                              $346.99

Secretarial Overtime                                                                $2,421.12
Outside Messenger Service                                                            $116.87

Total                                                                             $77,487.86




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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

In re:                                                        )    Chapter 11
                                                              )
W. R. GRACE & CO., et al.,1                                   )    Case No. 01-01139 (JJF)
                                                              )    (Jointly Administered)
                                                              )
                            Debtors.                          )




              VERIFIED APPLICATION OF KIRKLAND & ELLIS FOR
      COMPENSATION FOR SERVICES AND REIMBURSEMENT OF EXPENSES
          AS BANKRUPTCY COUNSEL TO W. R. GRACE & CO., ET AL., FOR
     THE SECOND INTERIM PERIOD FROM MAY 1, 2001 THROUGH MAY 31, 2001

                   Pursuant to sections 327, 330 and 331 of title 11 of the United States Code (as amended,

the “Bankruptcy Code”), Fed. R. Bankr. P. 2016, the Retention Order (as defined below), the

Administrative Order Under 11 U.S.C. §§ 105(a) and 331 Establishing Procedures for Interim

Compensation and Reimbursement of Professionals and Official Committee Members (the “Interim

Compensation Order”) and Del.Bankr.LR 2016-2, the law firm of Kirkland & Ellis (“K&E”), bankruptcy


1
   The Debtors consist of the following 62 entities: W . R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W . R. Grace
& Co.-Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc.
(f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food ‘N Fun Company, Darex Puerto
Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife
Boston Ltd., G C Limited Partners I, Inc. (f/k/a Grace Cocoa Limited Partners I, Inc.), G C Management, Inc. (f/k/a Grace
Cocoa Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New
Communities Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace
H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (f/k/a Dearborn
International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated,
Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W . R.
Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe Land Development Corporation, Hanover Square
Corporation, Homco International, Inc., Kootenai Development Company, L B Realty, Inc., Litigation Management, Inc.
(f/k/a GHSC Holding, Inc., Grace JVH, Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe
Street, Inc., MRA Holdings Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (f/k/a Nestor-BNA,
Inc.), MRA Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a Environmental
Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin & Fiberglass, Inc.,
Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country Staffing), Hayden-Gulch West
Coal Company, H-G Coal Company.
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counsel for the above-captioned debtors and debtors in possession (collectively, the “Debtors”) in their

chapter 11 cases, hereby applies for an order allowing it (i) compensation in the amount of $567,151.00

for the reasonable and necessary legal services K&E has rendered to the Debtors and (ii) reimbursement

for the actual and necessary expenses that K&E incurred in the amount of $77,487.86 (the “Application”),

in each case for the period from May 1, 2001, through May 31, 2001 (the “Fee Period”). In support of

this Application, K&E respectfully states as follows:

                Retention of and Continuing Disinterestedness of Kirkland & Ellis

                1.      On April 2, 2001 (the “Petition Date”), the Debtors each filed voluntary petitions

for relief under chapter 11 of the Bankruptcy Code (collectively, the “Chapter 11 Cases”). On April 2,

2001, the Court entered an order procedurally consolidating the Chapter 11 Cases for administrative

purposes only. Since the Petition Date, the Debtors have continued to operate their businesses and manage

their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

On April 12, 2001, the office of the United States Trustee appointed (i) a committee of unsecured creditors

in the Chapter 11 Cases (the “Creditors’ Committee”), (ii) a committee of asbestos personal injury

claimants (the “Asbestos Personal Injury Committee”) and (iii) a committee of asbestos property damage

claimants (the “Asbestos Property Damage Committee.”). On June 18, 2001, the office of the United

States Trustee appointed a committee of equity security holders (the “EquitySecurity Holders’ Committee,”

collectively with the Creditors’ Committee, the Asbestos Personal Injury Committee and the Asbestos

Property Damage Committee, the “Committees”).

                2.      By this Court’s order dated May 3, 2001, the Debtors were authorized to retain

K&E as their counsel, effective as of the Petition Date, with regard to the filing and prosecution of the

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Chapter 11 Cases and all related matters (the “Retention Order”). The Retention Order authorizes the

Debtors to compensate K&E at K&E’s hourly rates charged for services of this type and to be reimbursed

for actual and necessary out-of-pocket expenses that it incurred, subject to application to this Court in

accordance with the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, all applicable local

rules and orders of this Court.

                3.       As disclosed in the following affidavits:

                a.       Affidavit of James H.M. Sprayregen in Support of Application for Order Under
                         11 U.S.C. § 327(a) and Fed. R. Bankr. P. 2014(a) Authorizing the Employment
                         and Retention of Kirkland & Ellis as Attorneys for the Debtors and Debtors in
                         Possession (the “Original Affidavit”), filed April 2, 2001;

                b.       First Supplemental Affidavit of James H.M. Sprayregen Under 11 U.S.C.
                         § 327(a) and Fed. R. Bankr. P. 2014 (the “First Supplement”), filed April 17,
                         2001;

                c.       Second Supplemental Affidavit of James H.M. Sprayregen Under 11 U.S.C.
                         § 327(a) and Fed. R. Bankr. P. 2014 (the “Second Supplement,” together with
                         the First Supplement and the Original Affidavit, the “Affidavits”), filed May 2,

                         2001;

K&E does not hold or represent any interest adverse to the estates, and is a disinterested person as that

term is defined in section 101(14) of the Bankruptcy Code as modified by section 1107(b) of the

Bankruptcy Code.

                4.       K&E may have in the past represented, may currently represent, and likely in the

future will represent parties-in-interest in connection with matters unrelated to the Debtors and the Chapter

11 Cases. K&E disclosed in the Affidavits its connections to parties-in-interest that it has been able to




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ascertain using its reasonable efforts. K&E will update the Affidavits when necessary and when K&E

becomes aware of material new information.

                5.       Kirkland & Ellis performed the services for which it is seeking compensation on

behalf of or for the Debtors and their estates, and not on behalf of any committee, creditor or other person.

                6.       Except to the extent of the advance payment retainers paid to K&E as described

in the Original Affidavit, K&E has received no payment and no promises for payment from any source for

services rendered or to be rendered in any capacity whatsoever in connection with these cases.

                7.       Pursuant to Fed. R. Bank. P. 2016(b), K&E has not shared, nor has agreed to

share, (a) any compensation it has received or may receive with another party or person other than with

the partners, counsel and associates of K&E, or (b) any compensation another person or party has

received or may receive in connection with the Chapter 11 Cases.

                8.       This is the second application for interim compensation for services rendered that

K&E has filed with the Bankruptcy Court in connection with the Chapter 11 Cases. K&E has filed the

following application for interim compensation:

                a.       Verified Application of Kirkland & Ellis for Compensation for Services and
                         Reimbursement of Expenses as Bankruptcy Counsel to W. R. Grace & Co., et al.,
                         for the First Interim Period from April 2, 2001 Through April 30, 2001.

        Reasonable and Necessary Services Rendered by Kirkland & Ellis -- Generally

                9.       The K&E attorneys who rendered professional services in the Chapter 11 Cases

during the Fee Period are:




                                                    -4-
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     Name of       Position with   Number                     Hourly        Total      Total
   Professional    the applicant   of years    Department     billing       billed    compen-
     Person                         as an                      rate         hours      sation
                                   attorney


Theodore             Partner       29 Years    Bankruptcy     $575.00          5.50      $3,162.50
Freedman

Janet Baer           Partner       19 Years    Bankruptcy     $495.00        152.00   $75,240.00

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                    Associate

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Christopher         Associate      6 Years      Litigation    $350.00         46.50   $16,275.00
Sullivan

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        Name of        Position with    Number                     Hourly        Total      Total
      Professional     the applicant    of years   Department      billing       billed    compen-
        Person                           as an                      rate         hours      sation
                                        attorney


   P. Renee Wicklund    Associate        3 Years     Litigation    $265.00         11.90      $3,153.50

   Grant Cornehls       Associate        2 Years     Litigation    $225.00          2.50       $562.50

   Kellye Fabian        Associate        1 Year      Litigation    $195.00         42.40      $8,268.00

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   Julie Olsen          Associate        1 Year     Real Estate    $265.00          0.20        $53.00

   Michael Hauswirth    Associate        1 Year          Tax       $235.00          4.60      $1,081.00

   Kenneth Morrison      Partner        18 Years   Transactional   $510.00          7.10      $3,621.00


        10.     The paraprofessionals of K&E who have rendered professional services in these cases
during the Fee Period are:


         Name of         Position      Number of   Department      Hourly       Total       Total
       Professional      with the       years in                   billing      billed     compen-
         Person         applicant         that                      rate        hours       sation
                                        position

   Elizabeth Cox         Legal         12 Years    Bankruptcy      $150.00         3.50        $525.00
   Arnold               Assistant

   Nathanael Meyers      Legal          8 Years    Bankruptcy      $150.00         1.00        $150.00
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                        Assistant

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                        Assistant

   Daniel Baglio          Case         7 Months    Bankruptcy       $60.00        12.60        $756.00
                        Assistant

   Eric Miller           Project       4 Months    Bankruptcy       $70.00         0.20         $14.00
                        Assistant




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         Name of          Position   Number of      Department       Hourly       Total       Total
       Professional       with the    years in                       billing      billed     compen-
         Person          applicant      that                          rate        hours       sation
                                      position

   Anita Nowak             Case       4 Months      Bankruptcy        $65.00         3.00        $195.00
                         Assistant

   Sabrina Mitchell       Project     3 Months      Bankruptcy        $70.00       117.40       $8,218.00
                         Assistant

   Christopher Valeri     Legal        8 Years       Corporate       $130.00         8.30       $1,079.00
                         Assistant

   Lauren Mitchell-       Legal        12 Years    Environmental     $165.00         1.30        $214.50
   Dawson                Assistant

   Shirley Pope           Legal       16 Years       Litigation      $155.00         2.50        $387.50
                         Assistant

   Kathy Sorce            Legal        6 Years       Litigation      $150.00         5.50        $825.00
                         Assistant

   Raquel Carrillo        Legal       6 Months       Litigation      $100.00        49.10       $4,910.00
                         Assistant

   Susan Polk             Legal        16 Years           Tax        $180.00         2.00        $360.00
                         Assistant

   Biographical                                                      $110.00         0.30         $33.00
   Research

   Legislative                                                       $110.00         2.50        $275.00
   Research


                                                  Grand Total for Fees: $567,151.00
                                                  Blended Rate:         $323.55

                  11.   Kirkland & Ellis has advised and represented the Debtors in connection with the

operation of their businesses and other matters arising in the performance of their duties as a debtors-in-

possession. Furthermore, K&E has prepared various pleadings, motions and other papers submitted to

this Court for consideration, has appeared before this Court during hearings regarding these cases and has

performed various other professional services that are described in this Application.



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                12.     The rates described above are K&E’s hourly rates for services of this type.

Attached as Exhibit A is a detailed itemization and description of the services that K&E rendered during

the Fee Period. Based on these rates and the services performed by each individual, the reasonable value

of such services is $567,151.00. The K&E attorneys and paraprofessionals expended a total of 1,760.10

hours for these cases during the Fee Period. In accordance with the factors enumerated in section 330 of

the Bankruptcy Code, the amount of fees requested is fair and reasonable given: (a) the complexity of these

cases, (b) the time expended, (c) the nature and extent of the services rendered, (d) the value of such

services, and (e) the costs of comparable services other than in a case under the Bankruptcy Code.

                13.     Further, Exhibit A (a) identifies the individuals that rendered services in each

Subject Matter, as defined and described below, (b) describes each activity or service that each individual

performed and (c) states the number of hours (in increments of one-tenth of an hour) spent by each

individual providing the services. Each numbered tab in Exhibit A corresponds to the matter number that

K&E assigned to each Subject Matter. If a Subject Matter does not appear, then K&E did not bill time

or expenses for that Subject Matter during the Fee Period, but may bill time for that Subject Matter in the

future.




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  Reasonable and Necessary Services Rendered by Kirkland & Ellis

                      Categorized by Matter




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                14.      The professional services that K&E rendered during the Fee Period are grouped

into the numbered and titled categories of subject matters described in Paragraphs 15-37 herein (the

“Subject Matter(s)”).

                15.      Matter 16 – Asset Analysis and Recovery

                         (Fees: $13,383.50; Hours: 37.60 )

                This Subject Matter describes time related to the analysis of estate assets, including

acquisition and divestiture matters. This subject matter includes time spent preparing motions for the sale

of de minimis assets and for omnibus claims procedures.

                16.      Matter 17 – Automatic Stay Matters/Relief from Stay Proceedings

                         (Fees: $23,557.50; Hours: 71.00)

                This Subject Matter involves time responding to and analyzing efforts by creditors or

litigants to take actions that would potentially violate the automatic stay. Included is time related to (a)

responding to and analyzing efforts by creditors and litigation claimants for relief from the automatic stay;

(b) analyzing actions by creditors and litigation claimants that violate or would likely violate the automatic

stay; (c) legal research on automatic stay and interrelated transfer of venue matters with respect to various

ongoing litigation matters; and (d) implementing strategies to handle extensive ongoing litigation matters in

conjunction with the Chapter 11 Cases.




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                17.     Matter 18 – Bankruptcy Filing

                        (Fees: $227.50; Hours: 0.90)

                This Subject Matter involves time spent in filing the petitions of the Debtors on April 2,

2001, and all time spent in support thereof.

                18.     Matter 20 – Case Administration

                        (Fees: $43,304.00; Hours: 179.20)

                This Subject Matter describes activities not described elsewhere under another matter

related to, among other things, (a) administering, managing and coordinating the Chapter 11 Cases

(specifically, time spent organizing pleadings and omnibus hearings), (b) organizing and maintaining the

voluminous files of the Debtors, (c) complying with the service and notice requirements of the Bankruptcy

Code, the Bankruptcy Rules and the local rules, (d) fulfilling the Debtors’ duties as debtors-in-possession

and (e) complying with the requirements of the Bankruptcy Code, the Bankruptcy Rules, the Court and

any other applicable law.

                19.      Matter 21 – Claims Estimate, Objection and Resolution

                        (Fees: $34,923.50; Hours: 98.00)

                This Subject Matter describes legal services provided to the Debtors (a) to identify and

evaluate claims and potential claims against the Debtors and (b) to develop strategies concerning such

claims.




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                20.     Matter 22 – Contested Matters/Adversary Proceedings

                        (Fees: $139,314.50; Hours: 355.20)

                This Subject Matter describes time spent taking and defending depositions, researching and

drafting pleadings, reviewing documents, and preparing for the Debtors participation in various adversary

proceedings. In addition, this Subject Matter includes time spent preparing for and attending contested

hearings held in connection with the Preliminary Injunction and the Temporary Restraining Order. It also

includes time spent preparing for the removal of the fraudulent conveyance action to the District Court in

California and the transfer of venue in that case to the District Court in Delaware and the intervention and

removal proceedings in an asbestos litigation matter in Massachusetts.

                21.     Matter 24 – Creditors Committees

                        (Fees: $22,787.00; Hours: 49.20)

                This category describes time spent (a) responding to information and due diligence requests

by the Committee, and (b) informing the Committees about case administration and contested matters.

                22.     Matter 25 – Creditors/Shareholders Inquiries

                        (Fees: $11,783.50; Hours: 40.90)

                This Subject Matter describes time spent responding to numerous letters and telephone

inquiries from customers, creditors and their counsel for information regarding the status of the Chapter 11

Cases, including notice sent to potential claimants regarding the section 341 creditors’ meeting scheduled

for May 18, 2001.




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                 23.     Matter 26 – DIP Financing/Cash Collateral

                         (Fees: $15,974.00; Hours: 50.60)

                 This Subject Matter describes time spent related to the Debtors’ postpetition financing,

including (a) drafting and revising the amendments to the DIP Orders, (b) negotiating any conditions of the

Debtors’ use of any cash collateral, (c) negotiating other post-petition financing matters with other potential

lenders, and (d) preparing for hearings on the approval of such DIP financing.

                 24.     Matter 27 – Employee Matters

                         (Fees: $24,778.00; Hours: 90.00)

                 This Subject Matter describes activities related to the Debtors’ employment, compensation,

employee benefits and employee retention issues. Included in this category is time spent (a) answering

document production requests from counsel to the Committees pertaining to employee programs, (b)

answering factual questions of the Committees regarding the Debtors’ various employee programs, (c)

responding to the Unsecured Creditors’ Committee’s motionfor reconsideration of certain wage programs

and (d) researching and drafting correspondence related to the above-described matters.




                 25.     Matter 28 – Environmental Issues

                         (Fees: $77,962.50; Hours: 221.80)

                 This Subject Matter describes activities related to the Debtors’ ongoing environmental

issues and efforts to resolve those issues within the context of the Chapter 11 Cases.




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                26.      Matter 29 – File, Docket, Calendar Maintenance

                         (Fees: $7,624.00; Hours: 94.00)

                This Subject Matter describes time spent organizing and distributing pleadings, motions and

other court filings, and maintaining the voluminous files of the Debtors. Also included is time spent updating

the Fed. R. Bankr. P. 2002 service list and preparing and updating the Debtors research files.

                27.      Matter 30 – Hearings

                         (Fees: $22,826.00; Hours: 50.00)

                 This Subject Matter describes time spent preparing for the hearing scheduled for May 3,

2001, the agenda for which included, in part, (a) the Debtors’ motion for a temporary restraining order and

preliminary injunction staying all asbestos-related and fraudulent transfer claims, (b) the Debtors’

emergency motion for debtor in possession financing, (c) procedures for treatment of reclamation claims

and (d) resolution of objections to the Debtors’ authority to pay essential trade creditors.

                28.      Matter 32 – K&E Fee Application, Preparation of

                         (Fees: $13,955.00; Hours: 88.80)

                This Subject Matter includes activities in connection with K&E’s preparation of its interim

fee application, all in accordance with the procedures and standards of the Bankruptcy Code, the Federal

Rules of Bankruptcy Procedure, the Orders of this Court, Del.Bankr.LR 2016-2 and the U.S. Trustee for

the District of Delaware. Because many K&E individuals provide services in these cases, reviewing

K&E’s billing statement and preparing monthly Fee Applications to ensure compliance with the Bankruptcy

Code, the amended local rules and Orders of this Court is a time consuming process.




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                 29.     Matter 33 – Lease Rejection Claims

                         (Fees: $7,160.00; Hours: 23.30)

                 This Subject Matter describes time spent evaluating the Debtors’ potential rejection of

unexpired real property leases, including (a) time spent researching applicable statutory or case law, (b)

discussions with various counsel to landlords and other lessors regarding rejection procedures and other

related issues, and (c) drafting a motion for an extension of time to assume or reject unexpired real property

leases pursuant to section 365(d)(4) of the Bankruptcy Code.

                 30.     Matter 36 – Reclamation Claims

                         (Fees: $895.50, Hours: 2.90)

                 This Subject Matter includes time spent implementing the procedure to address and pay

reclamation claims and responding to reclamation claims, motions, complaints and inquiries.

                 31.     Matter 38 – Retention of Professionals

                         (Fees: $18,949.50; Hours: 57.40)

                 This Subject Matter includes activities in connection with the retention of professionals

under section 327 of the Bankruptcy Code. Significant activities include (a) securing the Court’s approval

for the employment and compensation of numerous professionals for the Debtors under separate retention

applications and (b) working with the Debtors concerning retention issues for all of the Debtors’

professionals.




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                32.     Matter 39 – Schedules/Statement of Financial Affairs

                        (Fees: $46,856.00; Hours: 145.30)

                This Subject Matter describes time spent reviewing and revising the Debtors’ schedules

and statements of financial affairs and meeting with representatives of, and professionals retained by, the

Debtors to assist in the Debtors’ development of schedules and statements of financial affairs.

                33.     Matter 41 – Tax Matters

                        (Fees $18,812.00; Hours: 53.70)

                This Subject Matter includes time spent analyzing various tax issues.

                34.     Matter 42 – Travel

                        (Fees: $14,121.50; Hours: 28.80)

                This Subject Matter involves time spent traveling while representing the Debtors. K&E bills

the Debtors for one-half of the total time that K&E professionals spend for non-working travel.

                35.     Matter 43 – Use, Sale, Lease or Abandonment of Property

                        (Fees: $437.50; Hours: 0.70)

                This Subject Matter includes time spent working on issues regarding the Debtors’ rights

and responsibilities under sections 363 and 554 of the Bankruptcy Code.

                36.      Matter 44 - U.S. Trustee

                        (Fees: $5,612.00; Hours: 15.10)

                This Subject Matter includes time responding to inquiries from the United States Trustee.




                37.     Matter 45 - Utilities

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                         (Fees: $1,906.50; Hours: 5.70)

                This Subject Matter describes time spent responding to, negotiating with and settling utility

company requests for adequate assurances of future performance.

                                    Actual and Necessary Expenses

                38.      It is K&E’s policy to charge its clients in all areas of practice for identifiable

non-overhead expenses incurred in connection with the client’s case that would not have been incurred

except for representation of that particular client. It is K&E’s policy to charge its clients only the amount

actually incurred by K&E in connection with such items. Examples of such expenses are postage, overnight

mail, courier delivery, transportation, overtime expenses, computer assisted legal research, photocopying,

out-going facsimile transmissions, airfare, meals, and lodging. With respect to airfare expenses, all travel,

by all individuals, is billed at the coach class rate with allowances for class upgrades.

                39.      Kirkland & Ellis charges: (a) $0.10 per page for duplication and (b) $0.75 per

page for outgoing telecopier transmissions (plus related toll charges). Kirkland & Ellis does not charge its

clients for incoming telecopier transmissions. K&E has negotiated a discounted rate for Westlaw computer

assisted legalresearch, which is approximately $125/hour of online use of the standard Westlaw databases.

Computer assisted legal research is used whenever the researcher determines that using Westlaw is more

cost effective than using traditional (non-computer-based legal research) techniques.

                40.      A summary of expenses by type, as well as a detailed itemization and description

of the disbursements made by K&E on the Debtors’ behalf during the Fee Period is attached hereto as

Exhibit B. All of these disbursements comprise the requested sum for K&E’s out-of-pocket expenses,

totaling $77,487.86 These disbursements are grouped in Exhibit B into the same numbered and titled

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categories of Subject Matters as the fees are grouped in Exhibit A. The numbered tabs within Exhibit B

correspond to the numbers assigned to the matters described in Paragraphs 15-37 herein. Any missing

Subject Matters merely indicate that no expenses were attributed to such Subject Matters during the Fee

Period, although expenses may be attributable to such Subject Matters in the future. A summary of

expenses by category for the entire Fee Period is also set forth in Exhibit B.

                                                Representations

                 41.      K&E believes that the Application is in compliance with the requirements of

Del.Bankr.LR 2016-2.

                 42.      Although every effort has been made to include all fees and expenses from the Fee

Period in the Application, some fees and expenses from the Fee Period might not be included in the

Application due to accounting and processing delays. Kirkland & Ellis reserves the right to make further

application to the Court for allowance of fees and expenses for the Fee Period not included herein.

                 43.      In summary, by the Application, K&E requests compensation for fees and

expenses in the total amount of $644,638.86, consisting of (a) $567,151.00 for reasonable and necessary

professional services rendered and (b) $77,487.86 for actual and necessary costs and expenses.

                 WHEREFORE, K&E respectfully requests (a) that an allowance be made to it, as fully

described above for the (i) 80% of the reasonable and necessary professional services K&E has rendered

to the Debtors during the Fee Period ($567,151.00) and (ii) 100 % of the reimbursement of actual and

necessary costs and expenses incurred by K&E during the Fee Period ($77,487.86); (b) that both fees

and expenses are payable as administrative expenses of the Debtors’ estates; and (c) that this Court grant

such further relief as is equitable and just.

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Wilmington, Delaware      Respectfully submitted,
Dated: __________, 2001
                                 KIRKLAND & ELLIS

                                 _____________________________________________
                                 James H.M. Sprayregen
                                 James W. Kapp III
                                 Samuel A. Schwartz
                                 Roger J. Higgins
                                 200 East Randolph Drive
                                 Chicago, Illinois 60601
                                 (312) 861-2000




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                       Matter 16 - Asset Analysis and Recovery - Fees


Date       Name              Hours       Description
5/01/01    Kenneth P           1.00      Telephone call with R. Lapiderio re termination of facility;
           Morrison                      review Lockbox Agreement.

5/02/01    Kenneth P           1.30      Telephone call with R. Lapiderio (.2); review Receivables
           Morrison                      Purchase Agreement (.5); telephone call with R.
                                         Lapiderio re application of Collections (.6).

5/03/01    Kenneth P           1.00      Begin draft of Termination Agreement.
           Morrison

5/04/01    Kenneth P           1.50      Draft Termination Agreement.
           Morrison

5/04/01    Roger J             1.30      Revise Sale and Abandonment Procedures Motion.
           Higgins

5/04/01    Roger J             1.00      Revise Omnibus Procedures Motion and Order.
           Higgins
5/07/01    Kenneth P           1.00      Attend to matters re termination of securitization; review
           Morrison                      revised draft.

5/07/01    Martin C            3.30      Telephone conference with R. Lapidario and J.
           Attea                         McFarland re termination letter (.3); draft and revise
                                         termination letter (3.0).

5/07/01    Roger J             0.80      Revise Sale and Abandonment Procedures motion.
           Higgins

5/08/01    Samuel A            1.10      Review and revision of the motion establishing procedures
           Schwartz                      to sell de minimis assets.

5/09/01    Kenneth P           0.50      Telephone call with client re lockbox.
           Morrison

5/09/01    Martin C            1.00      Review revised termination agreement.
           Attea
5/09/01    Samuel A            2.30      Review of the omnibus settlement and asset sale motions
           Schwartz                      (1.9) and meetings re same (.4).




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Date       Name         Hours      Description
5/09/01    Roger J       0.50      Draft changes to Sales and Abandonment Procedures.
           Higgins

5/10/01    James W       1.60      Review and revise motion establishing procedure for
           Kapp                    settling certain claims.

5/10/01    Martin C      0.50      Review revised termination agreement.
           Attea

5/10/01    Samuel A      4.30      Review and revision of the de minimis settlement motion
           Schwartz                (1.8) and the de minimis asset sale motion (2.1) and
                                   meetings re same (.4).

5/11/01    James W       2.30      Review and revise motion for settling claims (.3); review
           Kapp                    and revise motion establishing procedures for sale or
                                   abandonment of de minimis assets and attend to issues re
                                   same (2.0).

5/11/01    Samuel A      5.90      Revise the de minimis asset sale motion (1.6) revise the
           Schwartz                settlement procedures motion (.9); draft of the acquisition
                                   procedures motion (2.8); meetings re same (.6).
5/14/01    Kenneth P     0.80      Review Termination Agreement (.5); conference with M.
           Morrison                Hunter re same (.3).

5/14/01    Martin C      0.50      Review termination agreement.
           Attea

5/21/01    James W       0.10      Attend to issues re committee objections to settlement
           Kapp                    procedures notices and telephone conference with D.
                                   Siegel re same.

5/23/01    James W       1.10      Participate in telephone conference with representatives of
           Kapp                    Company re potential asset acquisition.

5/25/01    James W       0.50      Review and revise motion establishing sale procedures.
           Kapp

5/30/01    James W       1.10      Attend to issues re de minimis settlement motion (.4);
           Kapp                    telephone conference with S. Baena re de minimis
                                   settlement motion (.7).




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Date       Name         Hours      Description
5/31/01    James W       0.20      Review correspondence from Asbestos Committee re
           Kapp                    settlement procedure motion and attend to issues re same.


5/31/01    James W       1.10      Participate in telephone conference with S. Ahern and B.
           Kapp                    Carnecchia re potential transaction and review
                                   memorandum re same.




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          Matter 17 - Automatic Stay Matters/Relief from Stay Proceedings - Fees


Date        Name            Hours      Description
5/01/01     James W          0.30      Attend to issues re motion for relief from automatic stay.
            Kapp

5/01/01     Andrew R         0.50      Attend to matters re legal research re transfer and lift stay
            Running                    issues.

5/01/01     Kellye L         3.00      Research lift automatic stay law.
            Fabian

5/01/01     Janet Baer       1.50      Attend to matters re status of stay issues (.7) attend to
                                       matters re stay issues and litigation chart (.8).

5/02/01     David M          1.00      Attend to matters re research into lift stay issues.
            Bernick, P.C.

5/02/01     Kellye L         6.50      Research hardships in lift stay context and read through
            Fabian                     pending litigation book prepared by Grace to determine
                                       strategy in lifting stay.
5/02/01     Janet Baer       0.50      Attend to matters re further research on stay issues.

5/03/01     Kellye L         5.30      Draft lift stay memorandum.
            Fabian

5/03/01     Kellye L         4.00      Create chart reflecting pending litigation and strategy for
            Fabian                     lifting automatic stay.

5/03/01     Janet Baer       0.60      Review K. Fabian memo on stay issues (.3); confer with
                                       K. Fabian re stay memo and litigation chart (.3).

5/04/01     Kellye L         7.00      Edit lift stay memorandum and revise litigation summary
            Fabian                     chart.

5/04/01     Janet Baer       0.80      Attend to matters re stay memo.
5/06/01     Janet Baer       0.50      Review legal memo on stay.


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Date       Name         Hours      Description
5/07/01    Janet Baer    0.30      Review TIG v. Smolker lift stay motion.

5/09/01    Scott A       1.20      Attend matters re Smolker motion to lift stay.
           McMillin

5/09/01    Janet Baer    0.30      Attend to issues re Smolker Lift Stay Motion.

5/10/01    Scott A       0.50      Attend to matters re Smolker motion to lift stay.
           McMillin

5/10/01    Janet Baer    2.20      Attend to matters re Libby stay issues (.3); confer with
                                   clients re Motorwheel amended consent decree (1.0);
                                   confer with W. Sparks re various issues on litigation stay
                                   matters (.2); confer with J. Freeman on Libby stay memo
                                   response time and order procedure (.3); review injunction
                                   order and Bellow objection re employees issues (.4).

5/11/01    Scott A       1.70      Draft Smolker opposition to motion to lift stay.
           McMillin
5/14/01    Scott A       0.50      Attend to matters re Smolker lawsuit and motion to lift
           McMillin                stay.

5/14/01    Janet Baer    0.20      Confer with R. Finke re follow through on litigation
                                   meeting.

5/15/01    Scott A       0.40      Attend to matters re Smolker case and motion to lift stay.
           McMillin

5/16/01    Mark E        0.40      Revise legal memorandum re automatic stay applicability
           Grummer                 to Libby claims.

5/16/01    Janet Baer    1.20      Confer with R. Fields re Exxon v. Samson case, stay and
                                   procedure to extend injunction (two conferences) (.5);
                                   confer with P. Somers re various stay issues, especially re
                                   CIBA matter (.4); confer with W. Sparks re various stay
                                   issues and procedure re lift stay (.3).

5/18/01    Scott A       0.60      Work on Smolker opposition to lift stay.
           McMillin
5/22/01    Mark E        0.20      Review U.S. brief re automatic stay in Libby cost
           Grummer                 recovery case.


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Date       Name         Hours      Description
5/22/01    Scott A       6.40      Research and draft opposition to Smolker motion for
           McMillin                relief from stay.

5/22/01    Janet Baer    1.30      Confer with W. Sparks re CCHP matter and stay
                                   implications (.3); confer with J. Young re CNA issues on
                                   Grace Dearborn and warranty matters (.5); further confer
                                   with various parties re Perry case and implications re stay
                                   and indemnity (.5).

5/23/01    Scott A       3.80      Draft opposition to the Smolker motion for relief from the
           McMillin                stay.

5/23/01    Janet Baer    0.70      Attend to matters re stay issues and expansion of
                                   injunction to Exxon case (.4); review draft objection to
                                   Smolker stay motion (.3).

5/24/01    Scott A       2.00      Draft opposition to Smolker motion to lift stay.
           McMillin

5/24/01    Janet Baer    0.30      Attend to matters re Smolker lift stay objection.
5/25/01    Scott A       3.20      Revise opposition to Smolker motion to lift stay (3.0);
           McMillin                attend to matters re same (.2).

5/25/01    Janet Baer    0.50      Review revised Smolker stay brief.

5/25/01    Janet Baer    0.80      Confer with J. Posner re Perry v. Grace Dearborn stay
                                   issues (.3); review revised Libby venue brief (.5).

5/29/01    Scott A       1.50      Revise opposition to Smolker motion to lift stay and
           McMillin                prepare for filing.

5/29/01    Janet Baer    3.40      Confer with S. Vassar re removal, new actions and
                                   related matters (.3); attend to matters re Smolker lift stay
                                   motion (2.8); confer with R. Finke re Perry and Solo
                                   automatic stay matters (.3).




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Date       Name            Hours      Description
5/30/01    Janet Baer       2.90      Attend to matters re Smolker venue, remand, stay and
                                      related matters (1.8); confer with C. Ieyoub in Louisiana
                                      re status of stay and issues for Louisiana direct action
                                      matters (.3); prepare letter to J. Wissler re Louisiana
                                      matters (.3); confer with counsel for Samson re stay
                                      motion (.2); confer with various Grace personnel re stay
                                      related issues (.3).

5/31/01    Christopher B    2.00      Review Smolker pleadings re motion to lift stay,
           Sullivan                   abstention and removal and homeowners response.

5/31/01    Janet Baer       1.00      Internal K&E conferences re responses to Smolker lift
                                      stay, remand and venue briefs.




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                       Matter 18 - Bankruptcy Filing - Fees


Date       Name         Hours      Description
5/08/01    Roger J       0.80      Verify disposition of First Day Motions.
           Higgins

5/25/01    James W       0.10      Telephone conference with M. Sprinkle re notice of
           Kapp                    commencement.




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                             Matter 20 - Case Administration - Fees


Date       Name                Hours      Description
5/01/01    David M              0.50      Internal K&E conferences re litigation matters.
           Bernick, P.C.

5/01/01    Theodore L           1.50      Prepare for and attend internal K&E conference re
           Freedman                       litigation matters.

5/01/01    James W              0.20      Review pleadings and correspondence.
           Kapp

5/01/01    Sarah R              2.00      Review brief and affidavit and conference with team
           Marmor                         members re same.

5/01/01    Andrew R             0.10      Conference re case status.
           Running

5/01/01    Raquel Carrillo      0.80      Review recent facsimiles and update file with same; attend
                                          to matters re search for Chapter 11 Powerpoint
                                          presentation and e-mail to all attorney re search for same;
                                          review recent Zonolite pleading and update file with same;
                                          update file database file index.




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Date       Name            Hours      Description
5/01/01    Brigitte F       7.00      Work on comparing W. R. Grace corporate structure in
           Windley                    last three decades and tracing corporate acquisitions etc.
                                      (1.5); review and categorize case documents received
                                      from attorneys in preparation for central file
                                      supplementation by project assistant (2.5); respond to
                                      voicemails from creditors re receipt of Notice of
                                      Commencement (.8); review and compare R. 2002 list
                                      from local counsel with additional notices and requests for
                                      service received (1.2); review main bankruptcy and
                                      adversary dockets to identify any objections filed (1.0).

5/01/01    Janet Baer       1.50      Attend status meeting - discuss 5/3 hearing on injunction
                                      and 5/7 client meeting.

5/01/01    Sabrina M        2.50      Identify and update index for requests for service (2.0);
           Mitchell                   Prepare and distribute internal memo (.5).

5/02/01    David M          1.00      Internal K&E team meeting and preparation for same.
           Bernick, P.C.

5/02/01    Elizabeth Cox    0.50      Locate article.
           Arnold

5/02/01    Timothy S        1.10      Conference call with K&E asbestos team.
           Hardy
5/02/01    James W          1.90      Prepare for and attend status meeting.
           Kapp

5/02/01    Scott A          1.80      Prepare for and attend strategy meeting.
           McMillin

5/02/01    Andrew R         1.50      Participate in K&E meeting to finalize preparations for the
           Running                    matters set to be argued at the May 3rd court hearing.

5/02/01    Douglas G        1.50      Prepare for and attend team meeting.
           Smith

5/02/01    Christopher B    1.00      Attend team meeting re overall agenda and strategy as
           Sullivan                   well as prepare for preliminary injunction hearing; prepare
                                      and highlight materials for hearing; review opposition to
                                      preliminary injunction.



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Date       Name              Hours      Description
5/02/01    Kellye L           1.50      Prepare for and attend team status meeting.
           Fabian

5/02/01    Raquel Carrillo    6.50      Prepare Barbanti documents for review (.2); telephone
                                        conference with P. Daviduke re contact list (.1); review
                                        recent correspondence re Price in Chakarian matter (.2);
                                        create file for recent articles re Libby matter (.1); create
                                        file for recent Chakarian pleading re Price (.1); create file
                                        for recent Zonolite preliminary informational response
                                        brief (.1); create accented numbered filing system for case
                                        files (.5); telephone conference with co-defendants'
                                        counsel on Barbanti matter re request for courtesy copies
                                        of court orders (.3); review recent Abner opposition brief
                                        re plaintiff's motion for change of venue (.5); update file
                                        index database with each of the preceding matters (2.0);
                                        review and organize additional Abner documents related
                                        to Chakarian matter (1.4); attend to matters re litigation
                                        cases and summary chart (1.0).

5/02/01    Brigitte F         2.00      Work on comparing W. R. Grace corporate structure in
           Windley                      last three decades and tracing corporate acquisitions etc.
                                        (1.5); review and categorize case documents received
                                        from attorneys in preparation for central file
                                        supplementation by project assistant (.5)

5/02/01    Roger J            0.20      Coordinate correction of TRO mailing list.
           Higgins

5/02/01    Sabrina M          0.50      Retrieve and copy documents.
           Mitchell

5/02/01    Bibliographic      0.30      Bibliographic Research OW Wharehouse case status.
           Research
5/03/01    David M            1.00      Attend K&E team meeting and prepare for the same.
           Bernick, P.C.

5/03/01    Daryl L            0.70      Team conference call re fraudulent transfer claims.
           Joseffer

5/03/01    Douglas G          0.50      Attend K&E meeting.
           Smith


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Date       Name            Hours      Description
5/03/01    Christopher J    2.50      Organize, assemble, copy and distribute multiple
           Valeri                     documents.

5/03/01    Deanna D Boll    0.50      Internal conference re case status.

5/03/01    Roger J          1.00      Review response to Grace Informational Brief (.3); legal
           Higgins                    research thereon (.7).

5/03/01    Roger J          0.30      Legal research on status of Doniger matter.
           Higgins

5/04/01    Sarah R          1.00      Participate in telephone conference.
           Marmor

5/04/01    Kathy E Sorce    1.00      Preparation of memo and compilation of documents.
5/04/01    Deanna D Boll    2.20      Review pleadings and consider issues re chapter 11 filing
                                      and history of company.

5/04/01    Sabrina M        1.00      Work on updating index for requests for notices.
           Mitchell

5/07/01    Elizabeth Cox    1.00      Locate Article/Asbestos report.
           Arnold

5/07/01    Theodore L       1.50      Internal K&E conference re notice procedures.
           Freedman

5/07/01    Kathy E Sorce    1.00      Compile documents for legal research.

5/07/01    Sabrina M        2.00      Work on identifying certain motions on the court's
           Mitchell                   website.
5/08/01    James W          1.00      Review various pleadings and correspondence.
           Kapp

5/08/01    Kathy E Sorce    2.00      Review and compilation of research materials for attorney
                                      review.

5/08/01    Deanna D Boll    0.20      Review draft project list.

5/08/01    Sabrina M        1.00      Work on identifying certain pleadings on the court's
           Mitchell                   website.




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Date       Name              Hours      Description
5/09/01    James W            1.00      Participate in case status meeting.
           Kapp

5/09/01    Christopher J      2.00      Organize, assemble, copy and distribute multiple
           Valeri                       documents.

5/09/01    Kathy E Sorce      0.50      Compile documents for legal reasearch.

5/09/01    Raquel Carrillo    2.50      Attend to matters requesting informational brief and
                                        exhibits for bankruptcy matter and trial exhibits for
                                        Barbanti matter (.2); review and organize recent
                                        correspondence and pleadings re Chakarian matter (.3);
                                        review and organize recent pleadings re Chakarian matter;
                                        organize, create files and update file index database with
                                        each of the preceding documents (2.0).

5/09/01    Brigitte F         5.50      Review case documents assigned to central file categories
           Windley                      in preparation for file updating by project assistant (1.5);
                                        prepare revised critical dates list (.5) office conference re
                                        status of ongoing assignments (1.0); work on review of
                                        W. R. Grace corporate charts from last three decades
                                        and tracing corporate acquisitions and divestments to
                                        prepare charts re same (2.5).

5/09/01    Janet Baer         1.00      Attend conference re case status and assignments.
5/09/01    Roger J            1.00      Attend internal K & E meeting re status of case.
           Higgins

5/10/01    James W            0.20      Review various pleadings and correspondence.
           Kapp

5/10/01    Christopher J      2.30      Organize, assemble, copy and distribute.
           Valeri

5/11/01    David M            1.00      K&E team meeting re asbestos strategy and issues and
           Bernick, P.C.                preparation for same.

5/11/01    Mark E             0.50      Participate in asbestos team conference call.
           Grummer




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Date       Name            Hours      Description
5/11/01    Timothy S        1.00      Conference call with asbestos team; telephone
           Hardy                      conferences with A. Running and D. Kuchinski re attic fill
                                      meeting.

5/11/01    Daryl L          1.00      Team conference call and prepare for same.
           Joseffer

5/11/01    Sarah R          1.50      Participate in litigation team conference and prepare for
           Marmor                     same.

5/11/01    Andrew R         2.50      Participate in internal Kirkland & Ellis meeting re status of
           Running                    litigation projects and prepare for same.

5/11/01    Douglas G        1.50      Attend team meeting and prepare for same
           Smith

5/11/01    Christopher B    2.70      Attend team meeting re brief in support of case
           Sullivan                   management order, notice, bar date and strategy and
                                      prepare for same (2.3); follow up to team meeting, draft
                                      notes and task list (.4).
5/11/01    Kellye L         2.30      Team meeting re Grace litigation matters and prepare for
           Fabian                     same.

5/11/01    Deanna D Boll    1.50      Internal conference re case status and prepare for same

5/11/01    Janet Baer       2.30      Attend litigation group meeting on status of various
                                      matters and prepare for same.

5/14/01    James W          0.50      Review various pleadings and correspondence and attend
           Kapp                       to issues re same.

5/14/01    Brigitte F       3.30      Review case documents received from attorneys to assign
           Windley                    central file categories in preparation for file updating by
                                      project assistant (1.2); work on review of W. R. Grace
                                      corporate charts from last three decades and tracing
                                      corporate acquisitions and divestments (2.1).

5/15/01    Brigitte F       2.20      Westlaw and Internet research re previous bankruptcy
           Windley                    cases.
5/15/01    Brigitte F       1.80      Review and assign categories to case documents received
           Windley                    from attorneys in preparation for project assistant update
                                      of central files.

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Date       Name              Hours      Description
5/16/01    Elizabeth Cox      0.80      Locate article re asbestos claims.
           Arnold

5/16/01    Raquel Carrillo    1.80      Attend to matters re instructions on creation of distribution
                                        list and service lists for bankruptcy matter (.3); create
                                        service list for property damage and unsecured creditor
                                        committees (1.50).

5/16/01    Brigitte F         1.70      Review and assign categories to case documents in
           Windley                      preparation for project assistant update of central files
                                        (1.0); telephone conferences with M. Sprinkle re request
                                        for copies of financial documents (.2); prepare package of
                                        documents to J. Freeman at Department of Justice (.5).

5/16/01    Janet Baer         0.80      Attend to matters re status of all ongoing matters and
                                        notice agent issues (.3); attend to matters re preparation
                                        of motions for Zhagras and Western Minerals, claims
                                        agents, OCP affidavits and related issues (.5).

5/16/01    Roger J            0.30      Update contact list for various official committees.
           Higgins

5/17/01    James W            0.60      Participate in status conference and prepare for same.
           Kapp
5/17/01    Andrew R           0.50      Participate in internal Kirkland & Ellis meeting re status of
           Running                      litigation projects and prepare for same.

5/17/01    Deanna D Boll      0.80      Internal teleconference re status and prepare for same.

5/17/01    Brigitte F         1.80      Review and assign categories to case documents in
           Windley                      preparation for project assistant update of central files
                                        (.5); review case files re financial credit agreement
                                        documents and prepare same for distribution to attorneys
                                        and inclusion in central files (1.3).

5/17/01    Janet Baer         0.50      Participate in litigation status conference and prepare for
                                        same.

5/17/01    Sabrina M          0.20      Search for wage motion using the court's website.
           Mitchell




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Date       Name              Hours      Description
5/18/01    James W            1.30      Review various pleadings and correspondence and attend
           Kapp                         to issues re same.

5/18/01    Raquel Carrillo    1.50      Search for each attorney of record and prepare service
                                        list for bodily injury committee matter.

5/18/01    Brigitte F         2.80      Review and assign central file categories to case
           Windley                      documents (2.1); review central files in response to
                                        attorney request for documents (.7).

5/21/01    James W            1.30      Review and revise pleadings and correspondence and
           Kapp                         attend to issues re same (.9); address issues re scheduling
                                        of hearing dates (.4).

5/21/01    Kathy E Sorce      1.00      Prepare index and compile documents.

5/21/01    Raquel Carrillo    1.80      Organize and file recent summons and complaint re
                                        Sealed Air Corporation (.4); organize and file recent
                                        facsimile and correspondence (.4); prepare and distribute
                                        recent pleadings and correspondence re bankruptcy
                                        matter (1.0).
5/22/01    Elizabeth Cox      1.20      Attend to matters re research of lequad.
           Arnold

5/22/01    Raquel Carrillo    1.00      Distribute recent correspondence and pleadings re
                                        bankruptcy matter to team attorneys (.3); organize and file
                                        recent facsimile re committee for unsecured creditors (.3);
                                        organize and file recent correspondence re Zonolite (.3);
                                        organize and file correspondence re personal injury
                                        committee (.1).

5/22/01    Brigitte F         5.30      Complete work on Excel spreadsheet re proofs of claims
           Windley                      (2.2); respond to voicemails from creditors re receipt of
                                        Notice of Commencement and identification of creditor
                                        entity (.4); telephone conferences with P. Cuniff re service
                                        lists (.4); review and assign central file categories to case
                                        documents received from attorneys in preparation for file
                                        update by project assistant (.8); research dockets re class
                                        settlement in Third Circuit and obtain briefs from same
                                        (1.5).



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Date       Name            Hours      Description
5/23/01    James W          0.80      Review various pleadings and correspondence pertaining
           Kapp                       to bankruptcy cases.

5/23/01    Brigitte F       2.10      Review and assign central file categories to various case
           Windley                    file documents received from attorneys in preparation for
                                      central file update by project assistant.

5/24/01    Brigitte F       1.50      Review and assign central file categories to various case
           Windley                    file documents received from attorneys in preparation for
                                      central file update by project assistant.

5/25/01    David M          1.00      Internal team meeting re asbestos issues and preparation
           Bernick, P.C.              for same.

5/25/01    Timothy S        0.90      Conference call with Kirkland & Ellis asbestos team.
           Hardy

5/25/01    Daryl L          1.00      Team conference call.
           Joseffer
5/25/01    James W          2.10      Attend litigation and bankruptcy status conferences.
           Kapp

5/25/01    Sarah R          1.00      Participate in team conference re litigation matters.
           Marmor

5/25/01    Scott A          1.00      Attend internal K&E strategy meeting.
           McMillin

5/25/01    Andrew R         1.00      Participate in internal Kirkland & Ellis meeting to review
           Running                    status of litigation matters.

5/25/01    Christopher B    1.10      Attend team strategy and agenda meeting and prepare for
           Sullivan                   same.

5/25/01    Kellye L         1.30      Internal K&E meeting re bar date brief.
           Fabian
5/25/01    P Renee          0.10      Participate in conference call re case progress.
           Wicklund

5/25/01    Janet Baer       1.30      Attend asbestos litigation meeting and prepare forsame.




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Date       Name              Hours      Description
5/25/01    Sabrina M          0.50      Work on updating request for notice list.
           Mitchell

5/29/01    Raquel Carrillo    7.00      Organize and file recent case documents re medical
                                        record samples, consultant agreements, Betz agreement,
                                        D&O policies, articles of incorporation and Vermiculite
                                        expanders (2.5); organize and file recent Zonolite,
                                        bankruptcy, Chakarian, Smolker pleadings and Louisiana
                                        direct action pleadings (1.5); organize and file box of
                                        Libby common exhibits forwarded from K. Fabian (.3);
                                        review ofinsurance company dispute settlement
                                        agreements (.3); update file database index with each of
                                        the preceding documents (1.0); prepare each of the
                                        preceding documents to distribute to attorneys (1.0);
                                        telephone conference with B. Windley and draft notice to
                                        A. Running re distribution of case documents and
                                        telephone conference re same (.4).

5/29/01    Brigitte F         1.80      Research and download precedent pleadings re employee
           Windley                      bonus plans.

5/29/01    Brigitte F         4.20      Review case documents received from attorneys to assign
           Windley                      central file categories in preparation for file update by
                                        project assistant (1.6); attend to matters re distribution of
                                        litigation materials (.3); update and supplement proof of
                                        claims file and spreadsheet (1.2); respond to attorney
                                        requests for central file documents (1.1).

5/29/01    Brian M Lutz       2.50      Attend to matters re Grace organizational charts.

5/30/01    Mark E             0.30      Review list of outstanding projects and office conference
           Grummer                      re same.
5/30/01    James W            1.40      Review pleadings and various correspondence and
           Kapp                         address issues re same.

5/30/01    Shirley A Pope     1.00      Attend to matters re background of issues in case and
                                        projects to be done.




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Date       Name             Hours      Description
5/30/01    Brigitte F        2.30      Review various case file documents received from
           Windley                     attorneys to assign central file categories in preparation for
                                       file update by project assistant (1.6); attend to matters re
                                       Visio corporate charts (.7).

5/30/01    Brian M Lutz      2.00      Attend to matters re Grace organizational charts.

5/30/01    Sabrina M         1.00      Retrieve motions off court's website.
           Mitchell

5/31/01    Mark E            0.10      K&E office conference re case status.
           Grummer

5/31/01    James W           2.10      Review various pleadings and correspondence (.4);
           Kapp                        attend bankruptcy status conference and prepare for
                                       same (1.7).

5/31/01    Shirley A Pope    1.50      Attend to matters re distribution of documents to attorney
                                       teams.
5/31/01    Brigitte F        3.40      Prepare for and attend internal K&E office conference re
           Windley                     status of various projects (.9); identify objection dates for
                                       various motions (.8); office conference re distribution of
                                       bankruptcy and litigation materials to attorneys (.6);
                                       review various case file documents received from
                                       attorneys to assign central file categories in preparation for
                                       file update by project assistant (.9); office conference re
                                       central file updating (.2).

5/31/01    Janet Baer        2.00      Review and organize all newly received pleadings,
                                       correspondence and documents re litigation issues (.5);
                                       internal K&E conference re pending matters, status,
                                       critical dates and related matters (1.5).

5/31/01    Roger J           1.30      Internal K&E conference re status of case.
           Higgins

5/31/01    Brian M Lutz      0.50      Attend to matters re Grace organizational charts.

5/31/01    Sabrina M         0.70      Update proof of claims list (.4); prepare and send 2002
           Mitchell                    Service List to local counsel (.1); internal K&E
                                       conference re central files (.2).



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               Matter 21 - Claim Estimate, Objection and Resolution - Fees


Date       Name            Hours       Description
5/01/01    Samuel A          0.90      Telephone conference with the client re proof of claims,
           Schwartz                    the bar date.

5/01/01    Janet Baer        0.30      Confer with D. Boll re Attic Fill Bar Date matters.

5/02/01    James W           0.80      Review and revise stipulation re essential trade creditor
           Kapp                        reconsideration motion and attend to issues re same and
                                       telephone conference with B. McGowan re same.

5/02/01    Janet Baer        0.50      Confer with E. Filon and F. Zarembas re proof of claim
                                       issues.

5/03/01    Samuel A          0.60      Review and revision of the claims settlement procedures
           Schwartz                    motion.

5/03/01    Janet Baer        0.20      Confer with D. Boll re bar date issues.
5/04/01    John Donley       0.50      Analyze and outline settled claim issues.



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Date       Name         Hours      Description
5/04/01    Janet Baer    1.40      Review informational brief re bar date issues (.5); review
                                   litigation chart (.4); coordinate transmittal of same to client
                                   (.5).

5/04/01    Sabrina M     1.00      Search on court's website for omnibus claims settlement
           Mitchell                procedure order.

5/07/01    Deanna D      0.20      Telephone conference with T. Behnke re claims agent.
           Boll

5/08/01    Deanna D      1.90      Telephone conference with T. Behnke and clients re
           Boll                    claims agents (1.1); telephone conference with J. Baer re
                                   claims agent and notice expert (.8).

5/09/01    James W       0.30      Telephone conference with J. Hughes re payment of
           Kapp                    particular claims.

5/10/01    Janet Baer    0.50      Confer with W. Sparks re additional potential claims (.3);
                                   prepare transmittal re same (.2).
5/11/01    Deanna D      0.50      Consider issues re notice expert and internal conference
           Boll                    re same.

5/11/01    Janet Baer    0.20      Attend to matters re bar date issues.

5/14/01    Timothy S     0.50      Review Babcock claim forms.
           Hardy

5/14/01    Deanna D      2.30      Review Behnke correspondence re claims agent (.1);
           Boll                    internal conference and memorandum re notice agent and
                                   consider issues re same (2.2).

5/14/01    Janet Baer    0.50      Confer with D. Siegel and D. Boll re notice agent issues.

5/15/01    Deanna D      3.50      Continue review of potential notice expert and examine
           Boll                    related issues (2.5); teleconference re same (1.0).
5/15/01    Brigitte F    0.20      Office conference re proofs of claim organization.
           Windley

5/15/01    Janet Baer    2.00      Review materials in preparation for conference with client
                                   on bar date notice program and agent (.5); confer with
                                   clients re Notice Agent issues (1.0); attend to issues re
                                   same (several times) re same (.5).


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Date       Name            Hours      Description
5/16/01    Christopher B    1.00      Draft outline of claims forms.
           Sullivan

5/16/01    Deanna D         3.60      Teleconference with K. Kinsella re notice program (.8);
           Boll                       contact J. Davis re same (.2); teleconference with J.
                                      Finegan re notice program (.5); review Finegan faxed
                                      materials (.6); coordinate meeting with experts (1.5).

5/16/01    Janet Baer       0.90      Confer with D. Boll re notice matters (.5); interoffice
                                      conferences re same (.4).

5/17/01    Christopher B    1.00      Telephone call re claim forms, case management order
           Sullivan                   and bar date brief.

5/17/01    Deanna D         1.50      Internal correspondence re notice expert (.2);
           Boll                       teleconference with J. Finegan re meeting (.5); review
                                      Kinsella and Finegan materials (.8).

5/17/01    Janet Baer       1.40      Confer with D. Boll re notice agent meetings (.3); confer
                                      with R. Finke re Barbato case and T. Hillsey notice issues
                                      (.3); review B&W pleadings re bar date issues (.5);
                                      confer with D. Boll re T. Hillsey issues (.3).
5/18/01    Andrew R         6.70      Legal research re appropriateness of bar date for mass
           Running                    tort claims in Chapter 11 cases (3.6); begin drafting
                                      outline of arguments in support of early bar date for such
                                      claims (3.1).

5/18/01    Deanna D         3.00      Prepare materials for notice expert meeting and review
           Boll                       claims agent/claim manager tasks (2.5); prepare outline of
                                      claims manager tasks (.5).

5/18/01    Brigitte F       2.90      Work on Excel spreadsheet re proofs of claims (2.6);
           Windley                    update notebook of same (.3).

5/18/01    Janet Baer       1.50      Review materials in preparation for meeting with Notice
                                      Agents (.5); review Babcock Notice Program in
                                      preparation for meeting with Notice Agents (1.0).

5/21/01    Deanna D         7.00      Attend conferences re notice experts and consider issues
           Boll                       re same and re claims manager tasks.




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Date       Name            Hours      Description
5/21/01    Grant R          2.50      Legal research re unimpaired claims.
           Cornehls

5/21/01    Janet Baer       8.50      Review various pleadings re types of claims in preparation
                                      for meetings with notice experts (1.5); attend meetings
                                      with K. Kinsella and J. Finnegan re bar date programs
                                      (7.0).

5/22/01    Janet Baer       0.30      Confer with W. Corcoran re results of meetings on notice.


5/23/01    James W          1.90      Review and revise motion approving settlement and
           Kapp                       performance agreement and attend to issues re same.

5/23/01    Deanna D         1.50      Correspond with T. Hilsee re notice issues and internal
           Boll                       correspondence re same.

5/23/01    Brigitte F       0.90      Edit and update spreadsheet of Proofs of Claims.
           Windley
5/23/01    Janet Baer       1.20      Attend to issues re notice expert issues (.7); confer with J.
                                      Finnegan re status and potential plan (several
                                      conferences) (.5).

5/24/01    Daryl L          4.50      Research application of Daubert to
           Joseffer                   substantial-causal-factor doctrine.

5/25/01    John Donley      0.50      Attend to matters re settled claim contract analysis.

5/25/01    Christopher B    1.00      Review draft claim forms.
           Sullivan

5/25/01    P Renee          3.20      Attend to matters re settled claims issues (.2); research re
           Wicklund                   settled claims (3.0).

5/25/01    Janet Baer       1.70      Confer with A. Running re notice agent issues (.2); confer
                                      with J. Finnegan re notice proposal (.5); review
                                      Huntington Legal notice program proposal (1.0).
5/29/01    Deanna D         0.60      Internal conferences re notice expert (.4); correspond
           Boll                       with K. Kinsella re same (.2).




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Date       Name            Hours      Description
5/29/01    Janet Baer       2.10      Confer with R. Peterson re Bexam potential agreement
                                      (.3); confer with J. Finnegan and R. Finke re notice
                                      program (.4); attend to matters re notice issues (1.1);
                                      confer with W. Corcoran re notice expert (.3).

5/29/01    Roger J          2.60      Attend to matters re claims bar date notice program.
           Higgins

5/30/01    James W          0.50      Review proofs of claims.
           Kapp

5/30/01    P Renee          0.40      Research re bankruptcy principles favoring consolidation
           Wicklund                   of claims.

5/30/01    Deanna D         0.90      Review internal correspondence re notice expert (.1);
           Boll                       coordinate conference call re notice issues (.8).

5/30/01    Janet Baer       0.90      Attend to issues re research on notice standards and
                                      related matters (.5); confer with J. Finnegan re notice
                                      expert selection and communicate with clients re same
                                      (.4).
5/30/01    Roger J          9.40      Attend to matters re notice to unknown creditors of
           Higgins                    claims bar date, including legal research and drafting insert
                                      for outline on legal arguments.

5/31/01    Christopher B    0.70      Review outline for Bar Date Brief.
           Sullivan

5/31/01    Deanna D         0.20      Correspond with clients re 6/1/01 conference call on
           Boll                       notice issues (.1); correspond with K. Kinsella re same
                                      (.1).

5/31/01    Janet Baer       1.00      Internal K&E conferences re memo on notice issues (.5);
                                      review draft memo on notice issues (.5).

5/31/01    Roger J          1.70      Attend to matters re notice to unknown creditors of
           Higgins                    claims bar date, including legal research and drafting insert
                                      for outline on legal arguments.




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              Matter 22 - Contested Matters/Adversary Proceedings - Fees


Date       Name           Hours       Description
4/10/01    Theodore L       1.00      Conference on various litigation-related issues.
           Freedman

4/11/01    Theodore L       1.50      Conference on various litigation-related issues.
           Freedman

5/01/01    James W          0.50      Address issues re litigation strategy.
           Kapp

5/01/01    Scott A          5.30      Revise reply brief in support of preliminary injunction and
           McMillin                   prepare for filing (2.7); attend to matters re same (1.0);
                                      review objections to preliminary injunction (.4); revise
                                      draft order (.2); attend to matters re same (.2); review
                                      opposition to motion to transfer and analyze responsive
                                      arguments, outline same (.8).



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Date       Name            Hours      Description
5/01/01    Andrew R         1.40      Review final drafts of preliminary injunction omnibus reply
           Running                    brief, order and supporting affidavit (1.2); confer with
                                      local counsel re filing arrangements (.2).

5/01/01    Christopher B    7.30      Draft/edit D. Siegel supplemental declaration in support of
           Sullivan                   preliminary injunction (6.4); calls with D. Siegel re same;
                                      edit/draft exhibits to supplemental affidavit (.3); attend to
                                      matters re consent to disclose insurance settlement (.3);
                                      review/draft motion to transfer California TIG case to
                                      Delaware; calls with D. Carickoff re filing and preparation
                                      of D. Siegel supplemental affidavit (.3).

5/01/01    Janet Baer       1.00      Attend to matters re litigation chart and re injunction and
                                      venue issues.

5/02/01    Scott A          7.20      Research and draft reply brief in Abner case (4.0);
           McMillin                   prepare briefing binders and key cases on litigation
                                      matters (1.6); research re appointment of independent
                                      special counsel to litigate fraudulent transfer cases (1.6).

5/02/01    Christopher B    4.70      Legal research in support of motion to transfer TIG
           Sullivan                   lawsuit.

5/02/01    Christopher B    0.50      Attend team meeting re overall agenda and strategy as
           Sullivan                   well as prepare for preliminary injunction hearing; prepare
                                      and highlight materials for hearing; review opposition to
                                      preliminary injunction.
5/02/01    Brigitte F       2.00      Attend to matters litigation summaries received from client
           Windley                    and work on creating table compiling all summaries.

5/02/01    David A          4.00      Review K&E information brief to Delaware court and
           Codevilla                  transfer of venue outline for Libby motion (2.0); K&E
                                      conference call re Libby facts with D Cleary (1.0); review
                                      Chicago K&E Project Allen files re general asbestos
                                      litigation information and relevant Libby facts (1.0).




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Date       Name            Hours      Description
5/02/01    Janet Baer       5.50      Attend to matters re revised agenda letter for injunction
                                      hearing (.3); attend to matters re Omnibus Reply and
                                      Order (1.0); review revised Reply Order and Affidavit
                                      (.6); confer with local counsel re locating additional
                                      objections (.3); confer with W. Sparks and D. Tay re
                                      Grace Canada and related matters (.4); review plaintiff's
                                      opposition to venue motion in the Abner case (.5); confer
                                      with R. Oslan re status of various pending matters (.3);
                                      attend to matters re chart of litigation (.3); confer with R.
                                      Finke re upcoming litigation meeting and begin drafting
                                      agenda for same (.6); review litigation summaries from
                                      client (1.0); attend to matters re injunction issues (.2).

5/03/01    Timothy S        1.20      Review Barbanti trial testimony for merits outline.
           Hardy

5/03/01    Sarah R          1.50      Conference with counsel for other parties in California
           Marmor                     fraudulent conveyance case (1.0); participate in telephone
                                      conference re same (1.5).

5/03/01    Scott A          2.30      Draft notice of withdrawal of motion to transfer (.4);
           McMillin                   prepare for and attend litigation strategy meeting (1.2);
                                      draft joint motion for continuance (.3); attend to matters
                                      re motion to transfer (.4).

5/03/01    Andrew R         1.80      Attend to matters re litigation case management issues
           Running                    (1.0); participate in internal Kirkland & Ellis meeting re
                                      litigation assignments (.8).

5/03/01    Christopher B    3.00      Draft brief and motion to transfer TIG/Smolker case to
           Sullivan                   Delaware (2.7); calls with local counsel re same (.3).
5/03/01    Kellye L         1.00      Conference call re preliminary injunction hearing.
           Fabian

5/03/01    Raquel           2.00      Attend to matters re litigation summary chart.
           Carrillo

5/03/01    Brigitte F       4.00      Complete work on table of litigation summaries and
           Windley                    prepare copies of same for office conference.




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Date       Name            Hours      Description
5/03/01    David A          6.60      Draft Libby venue motion (2.0); K&E conference call re
           Codevilla                  Libby with D Cleary & Holme, Roberts (.3); prepare
                                      table of witnesses & facts related to Libby (1.3); research
                                      venue issues for corporate defendants with different states
                                      of residence and CERCLA venue cases generally (2.0).

5/03/01    Janet Baer       2.80      Confer with J. Wisler (counsel for Maryland) re injunction
                                      hearing and related matters (.3); attend to issues re same
                                      (.2); attend to issues re Daniger matter (.3); review draft
                                      motion re TIG v. Smolker (.5); attend K&E meeting on
                                      injunction issues going forward (1.0); review litigation
                                      chart (.5).

5/04/01    David M          1.50      Revise case outline.
           Bernick, P.C.

5/04/01    James W          4.80      Review litigation summaries and attend to issues re same
           Kapp                       in preparation for meeting with Company.

5/04/01    Scott A          1.60      Draft joint motion for continuance (.5); attend to matters
           McMillin                   re same (.8); review pleadings (.3).

5/04/01    James H          0.50      Attend to matters re injunction in Fresenius and Sealed
           Sprayregen                 Air Litigation.
5/04/01    Christopher B    2.50      Prepare brief and motion to transfer TIG/Smolker case to
           Sullivan                   Delaware (2.0); prepare list of fraudulent transfer cases
                                      (.5).

5/04/01    Raquel           0.20      Attend to matters re litigation summary chart and
           Carrillo                   complete update and revisions of same.

5/04/01    David A          5.80      Draft Libby venue brief and research in support thereof.
           Codevilla

5/04/01    Janet Baer       0.50      Prepare letter to committee's re additional injunctive relief.


5/05/01    Mark E           4.80      Research and drafting re Libby EPA cost recovery suit
           Grummer                    venue transfer brief.

5/06/01    David M          1.00      Prepare for meeting with client re pending litigation.
           Bernick, P.C.


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Date       Name            Hours      Description
5/06/01    Timothy S        0.50      Review Barbanti decisions.
           Hardy

5/06/01    Janet Baer       1.70      Confer with B. Porter re TIG v. Smolker motion to
                                      transfer (.3); confer with D. Bernick re litigation meeting
                                      (.2); review additional case summaries from R. Finke (.5);
                                      organize litigation case summaries to match to K&E chart
                                      of same (.2); supplement litigation chart re additional
                                      information (.5).

5/07/01    David M          4.00      Prepare for and attend meeting with Grace senior
           Bernick, P.C.              management re pending litigation matters.

5/07/01    Mark E           6.20      Draft Libby venue transfer and brief sections including
           Grummer                    convenience of parties and witnesses and other subjects
                                      (6.2).

5/07/01    Timothy S        4.30      Draft Attic Fill Facts Outline (3.0); review Barbanti
           Hardy                      decisions (1.0); review Grace briefs (.3).

5/07/01    James W         11.30      Prepare for and attend meeting with Grace senior
           Kapp                       management re litigation strategy and attend to issues re
                                      same.
5/07/01    Sarah R          2.00      Attend to matters re fraudulent transfer law (1.5);
           Marmor                     conference with client and team members re interview
                                      subjects re same (.5).

5/07/01    Scott A          0.20      Arrange conference call re Abner.
           McMillin

5/07/01    Reed S Oslan     1.50      Conference call with client re various litigation matters.

5/07/01    James H          3.10      Prepare for and participate in meeting re bankruptcy
           Sprayregen                 effect on Grace litigation strategy session with Grace
                                      senior management.

5/07/01    Christopher B    1.70      Prepare brief and motion to transfer TIG/Smolker case to
           Sullivan                   Delaware.

5/07/01    David A          4.60      Draft change of venue brief for Libby EPA penalties
           Codevilla                  action.



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Date       Name            Hours      Description
5/07/01    Janet Baer       7.70      Attend litigation meeting at client's office with Grace
                                      litigation attorneys and senior management (6.5); internal
                                      K&E conference re same and ongoing matters (.4);
                                      review litigation chart and make list of cases on which to
                                      lift stay and cases on which to seek injunctive relief (.8).

5/08/01    David M          1.00      Attend to matters re project outline.
           Bernick, P.C.

5/08/01    David M          1.00      Conference call with Fresenius and Sealed Air counsel re
           Bernick, P.C.              matters concerning fraudulent transfer cases.

5/08/01    Mark E           4.50      Continue drafting Libby venue transfer brief and case law
           Grummer                    research re same (4.5).

5/08/01    Timothy S        4.10      Telephone conference with R. Finke re Attic Fill meeting
           Hardy                      (.2); review B. Price memorandum re estimates modeling
                                      (1.4); edit Attic Fill factual outline (2.0); review Harashe
                                      Attic Fill decision (.5).

5/08/01    Sarah R          2.00      Review and annotate legal research memoranda re
           Marmor                     fraudulent transfer (1.50); conference with client re
                                      fraudulent transfer issues (.25); review and annotate
                                      correspondence (.25).
5/08/01    Scott A          1.10      Prepare for and participate in conference call re fraudulent
           McMillin                   transfer cases.

5/08/01    Reed S Oslan     1.00      Attend to matters re fraudulent transfer cases.

5/08/01    Andrew R         0.80      Participate in telephone conference with counsel for
           Running                    Sealed Air and counsel for Fresenius to discuss Grace's
                                      litigation plans for the fraudulent conveyance actions.

5/08/01    Christopher B    2.50      Prepare brief and motion to transfer TIG/Smolker case to
           Sullivan                   Delaware.

5/08/01    P Renee          0.30      Attend to matters re W.R. Grace litigation.
           Wicklund

5/08/01    David A          2.00      Continue to draft Libby change of venue motions.
           Codevilla



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Date       Name         Hours      Description
5/08/01    Janet Baer    1.70      Confer with J. Wisler re injunction as to employees (.2);
                                   review memo from P. Somers re Locke matter and
                                   Munoz (.2); organize notes from litigation meeting (.3);
                                   review draft Venue Motion re TIG v. Smolker (.5); revise
                                   memo re litigation action items (.5).

5/09/01    Mark E        4.50      Draft brief in support of motion to transfer venue of US
           Grummer                 EPA Libby CERCLA cost recovery action.

5/09/01    Timothy S     2.80      Telephone conference with R. Finke and D. Kuchinsky re
           Hardy                   5/15 meeting (.3); edit Attic Fill Fact Outline (1.5); edit
                                   State of Art outline (.5); review Grace briefs and outline
                                   (.5).

5/09/01    Scott A       0.50      Review pleadings and memoranda.
           McMillin

5/09/01    Kellye L      2.00      Research class actions in bankruptcy context.
           Fabian

5/09/01    P Renee       0.50      Legal research re asbestos litigation aspects of W.R.
           Wicklund                Grace and Babcock filings.
5/09/01    Janet Baer    1.70      Review D. Bernick project memo (.2); review and revise
                                   draft Smolker Motion to Transfer (1.0); review and revise
                                   litigation action memo (.5).

5/10/01    Mark E        7.70      Draft brief and related research and internal K&E office
           Grummer                 conferences in support of motion to transfer venue of US
                                   EPA Libby CERCLA cost recovery action.

5/10/01    Kellye L      5.50      Research class actions in bankruptcy context.
           Fabian

5/10/01    P Renee       2.50      Legal research re consolidation of asbestos litigation into
           Wicklund                one case.

5/10/01    David A       3.30      Continue research and drafting Libby change of venue
           Codevilla               motions.




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Date       Name            Hours      Description
5/10/01    Janet Baer       1.30      Prepare new letter to creditors re outstanding injunction
                                      and stay issues (.5); confer with J. Canon (Samson) re
                                      statue of injunction and potential extension to Samson
                                      matters (.3); revise new creditor letter and review
                                      litigation summaries re same (.5).

5/11/01    David M          0.50      Attend to matters re injunction issues.
           Bernick, P.C.

5/11/01    Mark E           5.20      Draft brief and related research in support of motion to
           Grummer                    transfer venue of US EPA Libby CERCLA cost recovery
                                      action.

5/11/01    Timothy S        2.10      Edit fact outline re same (1.5); edit state of art outline
           Hardy                      (1.6).

5/11/01    Sarah R          0.50      Attend to matters re various asbestos litigation issues.
           Marmor

5/11/01    Christopher B    1.00      Review TIG/Smolker pleading.
           Sullivan
5/11/01    Kellye L         1.50      Research class actions in bankruptcy context.
           Fabian

5/11/01    P Renee          3.50      Participate in conference call re W.R. Grace asbestos
           Wicklund                   cases (.3); follow up re consolidation of asbestos litigation
                                      (3.2).

5/11/01    Janet Baer       2.80      Attend to matters re Smolker and employee injunction
                                      (.5); attend to matters re scope of injunction (.4); revise
                                      letter to creditors re same (.5); attend to matters re
                                      creditor letter on injunction (.3); confer with O. Nagy re
                                      Interfaith v. Honeywell case and expert issues (.8);
                                      prepare transmittals re injunction letter (.3).

5/13/01    Mark E           0.60      Review and edit Libby EPA CERCLA claim venue
           Grummer                    transfer draft brief.

5/13/01    Timothy S        2.40      Review Barbanti depositions.
           Hardy




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Date       Name            Hours      Description
5/14/01    Timothy S        1.00      Telephone conference with D. Kuchinsky re 5/15 meeting
           Hardy                      (.2); review plaintiffs' Attic Fill information brief (.8).

5/14/01    Janet Baer       3.00      Confer with S. Ahern re Belgium tax case (.3); attend to
                                      matters re removal issues (.3); confer with R. Finke re
                                      Exxon v. Samson matter (.3); confer with R. Fields re
                                      same (.6); confer with P. Somers re Betacchi injunction
                                      issues (.3); confer with C. Iub (Maryland Casualty) re
                                      injunction (.3); confer with R. Finke re injunction letter
                                      (.3); confer with various parties re status of injunction,
                                      broadening of same, timing and status (.6).

5/14/01    Roger J          3.30      Draft motion to extend time for removal.
           Higgins

5/15/01    Timothy S        4.00      Attend to matters re Attic Fill facts and development.
           Hardy

5/15/01    Janet Baer       1.00      Revise injunction letter and attend to matters re same (.2);
                                      confer with A. Aisley re New Sealed Air cases (.2);
                                      confer with P. Somers re Betachhi matter (.3).

5/16/01    Timothy S        3.10      Review OSHA Nonasbestiform Rule documents (1.0);
           Hardy                      edit Attic Fill fact outline (.5); attend to matters re same
                                      (.5); review OSHA rule history (.6); office conference
                                      with G. Cornehls re state of art (.5).
5/16/01    James W          0.20      Address issues re preliminary injunction.
           Kapp

5/16/01    Scott A          0.30      Conferences with B. Porter and D. Carickoff re Smolker
           McMillin                   case.

5/16/01    Andrew R         3.30      Attend to matters re expert issues in Attic Fill product
           Running                    liability claims (.5); attend to matters re obtaining court
                                      approval for retention of litigation experts (.2); legal
                                      research re litigation case management precedents in
                                      preparation for drafting outline of proposed case
                                      management order (2.6).

5/16/01    Christopher B    1.20      Draft TIG/Smolker pleadings (1.0); telephone conference
           Sullivan                   with local counsel in TIG matter re responses (.2).


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Date       Name            Hours      Description
5/16/01    Janet Baer       0.30      Confer with S. Ahern re Belgium injunction issues.

5/16/01    Janet Baer       1.00      Confer with counsel for Samson (at length) re Exxon
                                      matter (.5); confer with B. Porter re status of TIG v.
                                      Smolker, remand, venue transfer and injunction (.3);
                                      confer with S. McMillin re status of injunction matters
                                      (.2).

5/17/01    Timothy S        0.80      Edit Attic Fill fact outline (.5); conference call with
           Hardy                      asbestos team (.3).

5/17/01    James W          0.10      Review correspondence re enlarging scope of preliminary
           Kapp                       injunction.

5/17/01    Andrew R         3.00      Prepare draft schedule for proposed case management
           Running                    order.

5/17/01    Christopher B    1.70      Draft outline for brief and edit same.
           Sullivan
5/17/01    Janet Baer       0.30      Review memo re Belgium law and injunction issues re S.
                                      Ahern inquiries.

5/18/01    Mark E           0.30      Review edits to draft brief re transfer of venue of Libby
           Grummer                    CERCLA cost recovery action.

5/18/01    Sarah R          2.00      Participate in telephone conference (1.0); conference re
           Marmor                     fraudulent transfer work (1.0).

5/18/01    Andrew R         0.20      Telephone conversation with J. Hughes re analysis of
           Running                    pre-petition, settled asbestos personal injury claims.

5/21/01    David M          1.50      Attend to matters re overall case outline.
           Bernick, P.C.

5/21/01    Timothy S        1.50      Telephone conference with D. Kuchinsky re EPA meeting
           Hardy                      (.5); draft memoranda re attic fill documents needed from
                                      Grace (.5); attend to matters re property damage issues
                                      (.3); telephone conference with E. Moeller re Versar
                                      report (.2).
5/21/01    James W          1.00      Attend to issues re retention of expert witnesses and
           Kapp                       telephone conferences with S. Ahern re same.


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Date       Name            Hours      Description
5/21/01    Scott A          0.20      Conference with D. Bernick re motion to modify
           McMillin                   preliminary injunction.

5/21/01    Andrew R         9.80      Attend to matters re revisions to draft outline of motion
           Running                    for litigation case management order (2.2); attend to
                                      matters re Libby property damage issues (.2); review
                                      Barbanti preliminary injunction hearing transcript and
                                      orders for facts to be inserted in case management order
                                      outline (.9); revise and supplement case management
                                      order outline (6.4); attend to matters re same (.1).

5/21/01    Christopher B    2.50      Review/edit outline for bar date brief (1.0); review Solow
           Sullivan                   transcript (1.0); draft list of fraudulent lawsuits (.5).

5/21/01    P Renee          1.00      Attend to matters re consolidation of asbestos
           Wicklund                   proceedings.

5/22/01    Timothy S        0.50      Telephone conferences with W. Corcoran and D.
           Hardy                      Kuchinsky re EPA meeting.

5/22/01    Christopher B    0.80      Draft/edit outline of brief in support of bar date (.6);
           Sullivan                   conference call re bankruptcy treatment of class action
                                      (.2).
5/22/01    David A          2.50      Revise Libby EPA penalties case motion for change of
           Codevilla                  venue.

5/22/01    Janet Baer       0.90      Attend to matters re Smolker action.

5/23/01    Timothy S        1.00      Review Libby documents.
           Hardy

5/23/01    Sarah R          1.00      Attend to matters re fraudulent transfer issues.
           Marmor

5/23/01    Scott A          2.20      Research and draft motion to modify preliminary
           McMillin                   injunction.

5/23/01    Christopher B    2.60      Draft outline of information request (.4); review notice
           Sullivan                   requirements in Barbanti (.7); review CPA fact sheets on
                                      Libby (.5); review outlines of pending non-Attic Fill
                                      property cases (1.0).



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Date       Name            Hours      Description
5/24/01    David M          1.00      Conference with D. Siegel re various litigation matters.
           Bernick, P.C.

5/24/01    Mark E           2.50      Revise draft brief re transfer of venue of Libby EPA
           Grummer                    CERCLA cost recovery suit and distribute same to team
                                      for review with explanatory e-mail message.

5/24/01    Timothy S        0.90      Review EPA asbestos risk assessment precedents.
           Hardy

5/24/01    James W          0.30      Address issues re meeting with Sealed Air.
           Kapp

5/24/01    Scott A          5.30      Research and draft motion to modify preliminary
           McMillin                   injunction and order modifying preliminary injunction.

5/24/01    Christopher B    2.50      Draft memo of request for information to client (.5);
           Sullivan                   review/edit outline of brief in support of bar date and case
                                      management order (2.0).
5/24/01    Janet Baer       0.30      Review documents for motion to broaden injunction.

5/25/01    David M          2.00      Revision to case management outline and attend to issues
           Bernick, P.C.              re same.

5/25/01    Timothy S        1.00      Edit Attic Fill fact outline (.5); draft memorandum to R.
           Hardy                      Finke re document needs (.5).

5/25/01    Daryl L          0.30      Review Daubert cases.
           Joseffer

5/25/01    James W          0.60      Review and revise motion to extend removal period and
           Kapp                       attend to issues re same.

5/25/01    Sarah R          0.50      Attend to matters re fraudulent transfer work.
           Marmor
5/25/01    Scott A          2.20      Draft motion to modify preliminary injunction.
           McMillin




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Date       Name         Hours      Description
5/25/01    Andrew R      8.30      Attend to matters re revisions to case management order
           Running                 outline (1.0); legal research re case management
                                   procedural issues (2.4); prepare revised draft of outline of
                                   arguments to be made in support of proposed case
                                   management order (4.9).

5/25/01    Janet Baer    0.50      Attend to matters re removal on newly filed actions and
                                   motion re same.

5/25/01    Roger J       1.80      Attend to matters re preparation of motion to extend time
           Higgins                 to remove under Rule 9027.

5/26/01    Timothy S     0.50      Edit Attic Fill fact outline.
           Hardy

5/27/01    Roger J       0.80      Revise motion to extend time for removal pursuant to
           Higgins                 Fed. R. Bankr. P. 9027.

5/28/01    Mark E        0.10      Check changes to draft Libby venue transfer brief.
           Grummer
5/29/01    Mark E        0.10      Check changes to Libby venue transfer brief.
           Grummer

5/29/01    Timothy S     1.80      Draft outline of issues for EPA meeting (1.3); telephone
           Hardy                   conference with D. Kuchinsky re EPA Asbestos Risk
                                   Assessment meeting (1.0); review plaintiff PI medical
                                   claims (.5).

5/29/01    Scott A       1.00      Revise motion to modify preliminary injunction.
           McMillin

5/29/01    Andrew R      7.50      Attend to matters re revisions to draft outline of
           Running                 memorandum in support of litigation case management
                                   order (.7); review EPA disclosure of Libby soil test
                                   results and draft insert to outline re same (1.2); revise and
                                   supplement draft case management order outline (5.6).

5/29/01    Kellye L      1.00      Research class actions.
           Fabian

5/29/01    Roger J       0.40      Attend to matters re motion to extend time to remove.
           Higgins


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Date       Name            Hours      Description
5/30/01    David M          0.30      Attend to matters re revisions to case management
           Bernick, P.C.              outline.

5/30/01    Timothy S        2.80      Attend to matters re Daubert and asbestos issues; edit
           Hardy                      Attic Fill Fact Outline; review Armstrong form claims;
                                      draft Versar FOIA request supplement letter.

5/30/01    Scott A          0.30      Address issues re Smolker action.
           McMillin

5/30/01    Andrew R         6.50      Meeting with K. Fabian to analyze class certification
           Running                    issues re ZAI (.8); meeting with S. Pope re background
                                      of litigation and case organization (.7); review ZAI
                                      evidence summary prepared by T. Hardy (.9); revise draft
                                      outline of proposed case management order (2.8); legal
                                      research re case management procedural issues (1.3).

5/30/01    Kellye L         0.50      Attend to matters re class action arguments for bar date
           Fabian                     brief.

5/30/01    P Renee          0.40      Attend to matters re case management brief.
           Wicklund
5/30/01    Deanna D         0.50      Review litigation case management order.
           Boll

5/30/01    Raquel           1.80      Organize and prepare recent case documents for
           Carrillo                   distribution to attorneys (1.5); attend to matters re future
                                      distribution of case documents (.3).

5/30/01    Janet Baer       1.30      Review draft outline re motion for case management order
                                      and participate in various internal K&E conferences re
                                      same and related litigation issues (1.); review
                                      correspondence re costs in Privest matter in Canada (.3).

5/30/01    Janet Baer       0.40      Various internal K&E conferences re injunction motion.

5/31/01    David M          0.30      Conference with Siegel re preliminary injunction issues.
           Bernick, P.C.

5/31/01    David M          2.50      Attend to matters re case management outline.
           Bernick, P.C.



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Date       Name             Hours       Description
5/31/01    David M            1.00      Revisions to preliminary injunction brief.
           Bernick, P.C.

5/31/01    James W            2.40      Review and revise motion re expert retention and address
           Kapp                         issues re same (1.7); address issues re removal/remand of
                                        certain litigation (.7).

5/31/01    Scott A            5.80      Revise motion to modify preliminary injunction and related
           McMillin                     documents (3.5); conferences with client, S. Vasser, A.
                                        Aizley, D. Bernick and J. Baer re same (1.0); review
                                        Smolker pleadings and conference with J. Baer re same
                                        (1.3).

5/31/01    Andrew R           1.00      Meeting with D. Bernick re case status (.2); compile
           Running                      information needed for drafting of special claim forms (.8).


5/31/01    Christopher B      1.50      Review fact outline for attic fill.
           Sullivan

5/31/01    David A            0.20      Attend to matters re status of Libby cases, motions.
           Codevilla
5/31/01    Janet Baer         3.80      Review Smolker remand brief in order to prepare
                                        response (.5); prepare outline for response on Smolker
                                        and review injunction pleadings re same (1.0); confer with
                                        B. Porter re status, responses and discussions with
                                        Smolker on briefing (.5); internal K&E conferences on
                                        motion to modify injunction (1.0); conferences with
                                        creditors re same (.8).

5/31/01    Roger J            5.10      Legal research re law of remand in the bankruptcy setting
           Higgins                      (4.8); attend to matters re extend time for removal (.3).




                           Matter 24 - Creditors Committee - Fees



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Date       Name         Hours      Description
5/01/01    James W       1.20      Telephone conference with R. Raskin re motion for
           Kapp                    reconsideration of essential trade and attend to issues re
                                   same (.7); telephone conference with B. McGowan re
                                   essential trade motion resolution and attend to issues re
                                   same (.5).

5/04/01    James H       0.60      Attend to matters re Creditors Committee meeting.
           Sprayregen

5/08/01    James W       0.90      Attend to issues re potential meeting with commercial
           Kapp                    committee (.2); telephone conferences with R. Raskin re
                                   outstanding issues and attend to same (.7).

5/09/01    James W       0.30      Telephone conference with K. Coghlan re meeting with
           Kapp                    commercial committee (.1); telephone conference with R.
                                   Raskin re meeting with commercial committee (.2).

5/10/01    James H       1.20      Preparation for Creditors Committee meeting.
           Sprayregen

5/11/01    James W       0.50      Telephone conference with K. Coghlan re
           Kapp                    Debtor/committee meeting and telephone conference with
                                   R. Raskin re same (.3); telephone conference with R.
                                   Raskin re Blackstone retention and address issues re
                                   same (.2).
5/14/01    James W       0.20      Telephone conference with R. Raskin re confidentiality
           Kapp                    agreements.

5/16/01    James H       0.40      Attend to matters re strategy and tactics with respect to
           Sprayregen              formation of equity committee.

5/16/01    Sabrina M     0.50      Update creditors committee contact list.
           Mitchell

5/17/01    James W       0.20      Review agenda re Company/Committee meeting (.1);
           Kapp                    telephone conference with A. Krieger re
                                   Company/Committee meeting. (.1).

5/17/01    James H       0.60      Review motion of reconsideration pleadings concerning
           Sprayregen              First Day orders for Creditors Committee and
                                   consideration of strategy and tactics related to same.



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Date       Name            Hours      Description
5/18/01    James H          1.00      Consideration of strategy and tactics related to Creditors
           Sprayregen                 Committee motions for reconsideration, injunction issues
                                      and related case administration issues.

5/21/01    David M          1.50      Prepare for presentation to bank committee.
           Bernick, P.C.

5/21/01    James W          5.10      Telephone conference with K. Coglan re committee/bank
           Kapp                       meeting (.1); review confidentiality agreement for Wells
                                      Fargo (.5); prepare for meeting with commercial
                                      committee (3.3); telephone conference with R. Raskin re
                                      various issues and B. McGowan re same (.6); attend to
                                      issues re Committee/Company meeting and telephone
                                      conference with B. McGowan and K. Coghlan re same
                                      (.6).

5/21/01    Roger J          0.80      Attend to matters re Wells Fargo Confidentiality
           Higgins                    Statement.

5/22/01    David M          3.80      Prepare for and attend meeting with the bank committee.
           Bernick, P.C.

5/22/01    James W          8.00      Meet with representatives of Company and P. Zilly in
           Kapp                       preparation of meeting with Commercial Committee (2.0);
                                      attend meeting re same and address issues re same (6.0).
5/22/01    James H          2.50      Prepare for and attend Creditors Committee meeting.
           Sprayregen

5/23/01    James W          0.10      Telephone conference with R. Raskin re motion for
           Kapp                       reconsideration.

5/24/01    James W          0.60      Telephone conference with R. Fienstein re employee
           Kapp                       benefits (.2); attend to issues re meeting with Committee
                                      and telephone conference with R. Raskin re same (.4).

5/24/01    Roger J          0.50      Review and comment on Confidentiality Statement for
           Higgins                    Banks and Purchasing Banks.

5/25/01    James W          0.80      Review confidentiality agreement for bank group and
           Kapp                       attend to issues re same.




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Date       Name             Hours       Description
5/25/01    Roger J            0.30      Attend to matters re draft Confidentiality Agreement for
           Higgins                      Banks and Purchasing Banks under the Credit Facility.

5/29/01    David M            4.50      Meet with lawyers for the bank committee (3.5); client
           Bernick, P.C.                conference re case strategy (2.0).

5/29/01    James W           10.40      Prepare for meeting with Creditors Committee re litigation
           Kapp                         strategies and telephone conference with A. Krieger re
                                        same and attend to same and address issues re same
                                        (10.3); telephone conference with J. Sakalo of Property
                                        Damage Committee re various issues (.1).

5/29/01    Roger J            0.50      Attend to matters re confidentiality agreements (.2);
           Higgins                      telephone conferences with A. Krieger re same (.3).

5/30/01    Samuel A           1.30      Telephone conferences with the Bodily Injury and the
           Schwartz                     Property Damage Committees re various pending motions
                                        and internal meetings re same.

5/31/01    James W            0.60      Address issues re confidentiality agreements with the
           Kapp                         Committee and telephone conference with R. Raskin re
                                        same (.4); telephone conference with R. Raskin re
                                        outstanding issues (.2).
5/31/01    Roger J            0.30      Attend to matters re confidentiality agreements for
           Higgins                      members of unsecured creditors committee.




                     Matter 25 - Creditors/Shareholders Inquiries - Fees




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Date       Name         Hours      Description
5/01/01    Samuel A      2.10      Telephone conferences with various attorneys and
           Schwartz                creditors re the status of the cases and the first day
                                   motions.

5/01/01    Samuel A      0.70      Telephone conferences with creditors and attorneys re the
           Schwartz                notice of commencement.

5/01/01    Roger J       1.70      Answer telephone inquiries from recipients of section 341
           Higgins                 creditors' meeting notice.

5/02/01    Roger J       1.70      Answer telephone queries concerning section 341
           Higgins                 creditors meeting.

5/03/01    Roger J       0.90      Answer telephone queries concerning section 341
           Higgins                 creditors meeting.

5/04/01    James W       1.00      Attend to creditor inquiries re status of bankruptcy cases.
           Kapp
5/04/01    Samuel A      1.80      Telephone conferences with various creditors and
           Schwartz                attorneys re the status of the cases and the May 3 hearing.


5/07/01    Samuel A      2.80      Telephone conferences with various creditors and
           Schwartz                attorneys re the status of the cases and the notice of
                                   commencement (1.8); telephone conferences with the
                                   client re same and drafting of form letter re intellectual
                                   property debts(1.0).

5/07/01    Roger J       0.30      Telephone conferences with recipients of notice of
           Higgins                 commencement of bankruptcy cases/creditors' meeting.

5/08/01    James W       0.50      Review letter to trade creditors and attend to issues re
           Kapp                    same.

5/08/01    James W       0.30      Attend to inquiry by Soprema, Inc.
           Kapp

5/08/01    Samuel A      2.10      Conferences with the client re creditor inquiries (.8);
           Schwartz                drafting of form letters re same (1.3).
5/08/01    Brigitte F    0.40      Respond to voicemail messages from creditors re receipt
           Windley                 of Notice of Commencement.


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Date       Name         Hours      Description
5/08/01    Roger J       1.00      Telephone conferences with recipients re notice of
           Higgins                 commencement of bankruptcy cases/creditors' meeting.

5/09/01    James W       0.20      Telephone conference with K. Coghlan re meeting with
           Kapp                    commercial committee (.1); telephone conference with
                                   creditors re status of preliminary injunction order (.2);
                                   telephone conference with R. Raskin re meeting with
                                   commercial committee (.2).

5/09/01    James W       0.60      Telephone conference with T. Delbrugge re payment to
           Kapp                    shippers (.3); telephone conference with B. McGowan re
                                   payment to essential trade creditors (.3).

5/09/01    Brigitte F    1.50      Attend to matter re creditor inquires concerning Notice of
           Windley                 Commencement.

5/09/01    Roger J       0.40      Telephone conferences with various recipients of notice of
           Higgins                 bankruptcy.

5/10/01    James W       0.10      Telephone conference with Information Leasing re
           Kapp                    bankruptcy cases.
5/10/01    Samuel A      0.90      Telephone conferences with various creditors and
           Schwartz                attorneys re the notice of commencement and the status of
                                   the cases.

5/11/01    James W       0.30      Telephone conference with J. Hughes re payment to
           Kapp                    particular creditors.

5/14/01    James W       0.10      Telephone conference with B. Armstrong re status of
           Kapp                    bankruptcy cases.

5/14/01    James H       0.60      Attention to creditor inquiries concerning effect of
           Sprayregen              Chapter 11 case filing.

5/14/01    Brigitte F    1.20      Attend to matters re creditors inquiries concerning Notice
           Windley                 of Commencement.

5/15/01    James H       0.70      Attention to creditor inquiries concerning effect of
           Sprayregen              Chapter 11 case filing.
5/15/01    Raquel        1.00      Attend to matters re voice mailbox for creditor inquiries.
           Carrillo


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Date       Name         Hours      Description
5/15/01    Brigitte F    0.80      Respond to creditor inquiries by telephone.
           Windley

5/16/01    James W       0.60      Telephone conference with B. Tarola and B. McGowan
           Kapp                    re payment to foreign creditors.

5/16/01    Samuel A      1.20      Telephone conferences with various creditors and
           Schwartz                attorneys re the status of the cases.

5/16/01    Brigitte F    0.30      Prepare correspondence to creditor re request for
           Windley                 documents.

5/17/01    James W       0.90      Address inquiries from various creditors re status of
           Kapp                    bankruptcy cases (.4); review correspondence from
                                   general partners of MCC Group and address issues re
                                   same (.2); telephone conference with B. McGowan re
                                   payment of foreign creditors and attend to issues re same
                                   (.3).

5/17/01    Brigitte F    0.70      Respond to creditor telephone inquiries.
           Windley
5/18/01    Brigitte F    1.30      Respond to voicemails from creditors re Notice of
           Windley                 Commencement.

5/18/01    Roger J       1.00      Answer inquiries concerning various claims.
           Higgins

5/21/01    James W       0.10      Telephone conference with creditor re particular litigation
           Kapp                    issues.

5/21/01    Janet Baer    0.50      Return various creditor calls re case status.

5/22/01    James W       0.50      Address inquiries from various creditors re status of
           Kapp                    bankruptcy cases.

5/22/01    Janet Baer    0.50      Attend to numerous creditor inquiries re stay, status,
                                   claims and injunction.
5/23/01    Janet Baer    0.50      Review and respond to various creditor inquiries.

5/24/01    Brigitte F    1.00      Respond to creditor voicemail inquiries re Notice of
           Windley                 Commencement.



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Date       Name         Hours      Description
5/25/01    Samuel A      1.60      Telephone conferences with various creditors and
           Schwartz                attorneys re the status of the cases.

5/25/01    Brigitte F    0.80      Respond to creditor inquiries re Notice of
           Windley                 Commencement.

5/29/01    Samuel A      1.80      Telephone conferences with various attorneys and parties
           Schwartz                in-interest re the status of the cases.

5/29/01    Brigitte F    0.50      Respond to creditor inquiries re case.
           Windley

5/30/01    Samuel A      0.70      Telephone conferences with various creditors and
           Schwartz                attorneys re the status of the cases.

5/31/01    Brigitte F    0.40      Respond to creditor inquiries re proof of claim filing.
           Windley
5/31/01    Roger J       0.30      Respond to various queries by potential claimants.
           Higgins




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                      Matter 26 - DIP Financing/Cash Collateral - Fees


Date       Name             Hours       Description
5/01/01    James W            3.60      Review and revise response to Credit Lyonnais objection
           Kapp                         to Final DIP and attend to issues re same (2.6); telephone
                                        conference with R. Tarola re preparation for DIP hearing
                                        (1.0).

5/01/01    Lena Mandel        4.50      Finalize response and B. Tarola's affidavit and arrange for
                                        filing (3.8); attend to matters re filing same (.4); telephone
                                        conference with D. Bacon re Final Order (.3).

5/01/01    Andrew R           3.80      Review revised drafts of memorandum and affidavit in
           Running                      support of DIP motion (.6); review financial schedules
                                        and projections provided by R. Tarola in preparation for
                                        May 3rd hearing (.5);telephone conferences with R.
                                        Tarola to prepare his hearing testimony (1.2); telephone
                                        conference with P. Zilly of Blackstone Group to prepare
                                        her possible hearing testimony (1.2); attend to matters re
                                        hearing preparations (.3).

5/01/01    James H            0.60      Attention to resolution of the DIP objection and
           Sprayregen                   preparation for hearing re same.

5/01/01    Daniel B           3.30      Review, prepare, and organize UCC search results.
           Baglio

5/02/01    James W            5.10      Attend to issues re objection to Final Dip Order (2.7);
           Kapp                         prepare outline re response to objection to Final DIP
                                        Order (2.4).
5/02/01    Lena Mandel        1.90      Telephone conference call with D. Bacon and others re
                                        final order (.6); review revised draft of same (.3);
                                        telephone conference with client and Blackstone re Credit
                                        Lyonnais (1.0).




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Date       Name            Hours      Description
5/02/01    Andrew R         5.80      Prepare direct examination outline for testimony of R.
           Running                    Tarola in support of DIP financing motion (4.2); telephone
                                      conversation with R. Tarola re same (.6); attend to
                                      matters re same (.5); select exhibits to be used in Tarola's
                                      testimony (.5).

5/02/01    Daniel B         1.50      Review, prepare and organize UCC search results.
           Baglio

5/03/01    Nathanael F      1.00      Prepare and send UCCs to W. McGowan.
           Meyers

5/03/01    Andrew R         2.00      Meet with R. Tarola and P. Zilly to prepare their
           Running                    testimony if needed to support the debtors' DIP financing
                                      motion (1.2); attend to matters re same (.3); revise direct
                                      examination outlines for P. Zilly and R. Tarola (.5).

5/03/01    Christopher J    0.50      Review multiple UCC financing statements and input
           Valeri                     results into existing log report.

5/04/01    Samuel A         0.80      Telephone conferences with V. Finkelstein and Chicago
           Schwartz                   Title re the DIP and title insurance.
5/04/01    Daniel B         2.80      Review, prepare and organize UCC search results.
           Baglio

5/07/01    Lena Mandel      1.20      Telephone conferences with client, S. Schwartz and
                                      Latham re conditions precedent.

5/07/01    Daniel B         3.50      Prepare, review and organize UCC search results (2.0).
           Baglio                     Email various UCC reports to J. Moran of W.R. Grace
                                      (1.5).

5/09/01    Christopher J    0.50      Review multiple UCC financing statements
           Valeri

5/10/01    Lena Mandel      1.00      Telephone conferences with various parties re conditions
                                      precedent.

5/10/01    Christopher J    0.50      Review multiple UCC financing statements and input
           Valeri                     results into existing log report .




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Date       Name          Hours      Description
5/11/01    Lena Mandel    1.30      Telephone conference with D. Carickhoff re certificates of
                                    service and certified order (.3); review banks' offering
                                    memorandum (.5); telephone conference with client re
                                    same and email to same re same (.5).

5/16/01    James W        0.70      Attend to issues re DIP and Chicago Title.
           Kapp

5/16/01    Lena Mandel    0.60      Telephone conferences with client, J. Moran and Chicago
                                    Title Insurance re DIP order and transfer taxes.

5/17/01    James W        0.30      Address issues re Chicago Title inquiry as to final DIP
           Kapp                     order.

5/21/01    James W        0.70      Attend to issues re recording of DIP Order and Chicago
           Kapp                     Title.

5/21/01    Samuel A       1.30      Telephone conferences with the client re Chicago Title
           Schwartz                 and drafting of an affidavit re same.
5/21/01    Daniel B       1.50      Review and organize UCC search results of Grace
           Baglio                   Environmental.

5/29/01    Lena Mandel    0.30      Telephone calls to M. Hunter re syndication.




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                       Matter 27 - Employee Matters - Fees


Date       Name         Hours      Description
5/01/01    Roger J       6.00      Review and comment on documents received from John
           Higgins                 Forgach in support of asbestos personal injury committee
                                   document request (2.2); telephone conference with J.
                                   Forgach on documents (1.8); draft letter to M. Zaleski
                                   forwarding certain documents (2.0).

5/02/01    James W       0.30      Review correspondence to Personal Injury Committee re
           Kapp                    wage program documents request.

5/02/01    Roger J       3.60      Telephone conferences with J. Forgach concerning letter
           Higgins                 to M. Zaleski (.4); revise letter to M. Zaleski (1.8);
                                   review documentation to be forwarded to M. Zaleski
                                   (1.1); telephone conference with J. Forgach concerning
                                   procedural stance of various programs (.3).

5/04/01    Roger J       2.30      Review and comment on unsecured creditors' committee
           Higgins                 motion to reconsider Wage Order (2.1); telephone
                                   conference with J. Forgach on same (.2).

5/07/01    James W       0.60      Review motion of reconsideration pertaining to wage
           Kapp                    programs.

5/07/01    Roger J       8.40      Legal research in support of objection to motion of
           Higgins                 unsecured creditors' committee (4.6); draft objection to
                                   motion (3.8).
5/07/01    Roger J       0.70      Telephone conference with J. Forgach discussing
           Higgins                 unsecured creditors' committee motion.

5/08/01    James W       0.30      Review correspondence from A. Krieger re wage
           Kapp                    program and telephone conference with A. Krieger re
                                   same.

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Date       Name         Hours      Description
5/08/01    James W       1.70      Review motion for reconsideration of wage program and
           Kapp                    attend to issues re same.

5/08/01    Roger J       4.70      Telephone conference with J. Forgach discussing
           Higgins                 unsecured creditors' committee motion (.9); draft
                                   objection to motion (3.8).

5/09/01    Roger J       0.40      Telephone conference with T. Mayer (representing
           Higgins                 retirees) on questions concerning potential formation of a
                                   committee of retirees (.2); attend to matters related
                                   thereto (.2).

5/09/01    Roger J       0.80      Telephone conference with J. Forgach on Objection to
           Higgins                 Reconsideration Motion.

5/09/01    Roger J       2.20      Draft objection to reconsideration motion.
           Higgins

5/10/01    James W       0.50      Attend to issues re potential formation of retiree's
           Kapp                    committee and telephone conference with R. Levy re
                                   same.
5/10/01    James W       0.20      Attend to issues re wage program document requests
           Kapp                    from the creditor committee.

5/10/01    Andrew R      0.80      Review draft motion prepared by counsel for P. Ryan, a
           Running                 former Grace employee, seeking authorization to pay
                                   defense costs in connection with a pending SEC
                                   investigation (.4); exchange e-mails with D. Siegel of
                                   Grace re same (.2); advise Ryan's counsel of Grace's
                                   position with respect to the draft motion (.2).

5/10/01    Roger J       8.50      Draft objection to Reconsideration Motion.
           Higgins

5/11/01    James W       2.80      Address issues re response to motion for reconsideration
           Kapp                    of certain wage programs and telephone conference with
                                   D. Siegel and B. McGowan re same and telephone
                                   conference with R. Raskin and A. Krieger re same (2.0);
                                   telephone conferences with B. McGowan re particular
                                   employee programs and attend to issues re same (.8).



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Date       Name         Hours      Description
5/11/01    Roger J       4.00      Draft objection to Creditors' Committee Motion for
           Higgins                 Reconsideration (1.5); telephone conference with
                                   company representatives re same (.5); telephone
                                   conference with R. Raskin et al. re same (.6); telephone
                                   conference with company representatives re same (.3);
                                   attend to matters re same (1.1).

5/14/01    James W       5.40      Review and revise response to motion for reconsideration
           Kapp                    of wages.

5/14/01    Roger J       2.10      Attend to matters re response to creditors' committee
           Higgins                 motion to reconsider, including telephone conference with
                                   local counsel.

5/15/01    Roger J       8.80      Attend to matters re unsecured creditors committee
           Higgins                 motion to reconsider.

5/16/01    James W       1.20      Telephone conference with R. Raskin and A. Krieger re
           Kapp                    employee contract motion and long term wage programs
                                   and attend to issues re same and telephone conference
                                   with D. Siegel and K. Coghlan re same.

5/16/01    James W       0.30      Address issues re document request by creditors'
           Kapp                    committee in connection with motion for reconsideration
                                   of certain employee plans.
5/16/01    Roger J       7.10      Attend to matters re creditors' committee motion to
           Higgins                 reconsider (6.6); telephone conference with J. Forgach re
                                   various wage program matters (.3); telephone conference
                                   with B. McGowan re same (.2).

5/17/01    James W       0.20      Telephone conference with R. Feinstein re employee
           Kapp                    benefits and committee's motion for reconsideration.

5/17/01    Roger J       2.50      Draft objection to Reconsideration motion and legal
           Higgins                 research related thereto.

5/18/01    James W       1.20      Telephone conference with R. Raskin, A. Krieger, D.
           Kapp                    Siegel, J. Forgach and B. McGowan re long term
                                   employee programs.




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Date       Name         Hours      Description
5/18/01    Roger J       1.00      Telephone conference with company representatives and
           Higgins                 Stroock (representing unsecured creditors' committee) re
                                   issues relating to key employee retention programs.

5/21/01    James W       0.30      Attend to issues re committee document request
           Kapp                    pertaining to wage motion.

5/21/01    Roger J       1.10      Attend to matters pursuant to the Reconsideration
           Higgins                 Motion.

5/22/01    Roger J       0.90      Telephone conference with J. Forgach re items
           Higgins                 concerning employment matters requested by the
                                   unsecured creditors committee (.3); attend to matters re
                                   same (.2); telephone conference with A. Krieger re SERP
                                   recipients (.2); attend to matters re same (.2).

5/23/01    James W       2.70      Telephone conference with B. McGowan re wage
           Kapp                    programs (.2); review and revise motion for
                                   reconsideration of certain wage programs and telephone
                                   conference with R. Raskin and B. McGowan re same
                                   (2.5).

5/23/01    Roger J       1.30      Telephone conferences with R. Raskin and B. McGowan
           Higgins                 re Reconsideration Motion and Key Employee Retention
                                   Programs (1.0); attend to matters re same (.3).
5/24/01    James W       0.20      Telephone conference with R. Raskin re certain employee
           Kapp                    agreements and attend to issues re same and telephone
                                   conference with B. McGowan re same.

5/25/01    James W       1.00      Telephone conference with B. McGowan re particular
           Kapp                    employee contracts (.4); review suggested revisions to
                                   employment contracts by A. Krieger and attend to same
                                   (.6).

5/25/01    Roger J       1.30      Telephone conferences with J. Sakalo (attorney for
           Higgins                 property damage committee) re extension of time for
                                   committee to object to Key Employee retention programs
                                   (.5); attend to matters re same (.8).




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Date       Name         Hours      Description
5/29/01    James W       1.00      Telephone conference with B. McGowan re particular
           Kapp                    employee contracts (.7); telephone conference with J.
                                   Forgach re change in control language for employment
                                   contracts (.3).

5/30/01    James W       1.20      Telephone conference with B. McGowan and J. Forgach
           Kapp                    re modifications to employment contracts and telephone
                                   conference with A. Krieger and R. Raskin re same (.9);
                                   telephone conference with M. Zaleski re joinder to motion
                                   for reconsideration (.3)

5/31/01    James W       0.40      Telephone conference with D. Siegel re joinder to motion
           Kapp                    for reconsideration (.1); attend to issues re revising wage
                                   orders (.2); telephone conference with B. McGowan re
                                   employee contracts (.1).




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                         Matter 28 - Environmental Issues - Fees


Date       Name            Hours       Description
4/13/01    Legislative       2.50      Legislative Research history of 11 USC Section 362
           Research                    (b)(4), 362(b)(5).

5/01/01    Mark E            2.90      Revise Zhagrus contract (1.1); attend to matters re same
           Grummer                     (.9); review Western Minerals materials to prepare for
                                       call to D. Cleary (.6); telephone conference with D.
                                       Cleary re Western Minerals (.3).

5/01/01    David A           1.60      Revise Zhagrus settlement agreement; participate in K&E
           Codevilla                   conference call re Zhagrus settlement.

5/01/01    Janet Baer        2.80      Attend to matters re Zhagrus and Western Minerals status
                                       (.5); conference with D. Cleary re Libby (1.5);
                                       conference with D. Cleary re East Hampton site issues
                                       (.3); attend to matters re follow up on Libby matter with
                                       EPA (.3); prepare transmittal on Western Minerals matter
                                       (.2).

5/02/01    Mark E            3.80      Review draft Zhagrus contract (1.0); attend to matters re
           Grummer                     same (.5); prepare for and participate in conference call
                                       with J. Baer, D. Cleary, and other Grace personnel re
                                       Easthampton site, Western Minerals matters, and Libby
                                       site matters (2.3).

5/02/01    Timothy S         1.10      Telephone conferences with R. Finke, A. Running and D.
           Hardy                       Kuchinsky re May 17 meeting.



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Date       Name         Hours      Description
5/02/01    David A       0.30      K&E meeting re Zhagrus settlement draft.
           Codevilla

5/02/01    Janet Baer    2.90      Conference with D. Cleary and B. Corcoran re Western
                                   Minerals site cleanup (.5); attend to matters re Western
                                   Minerals, Zhagrus and Libby (.8); confer with M.
                                   Obadavich re Motor Wheel matters (.2); review
                                   documentation re Minneapolis site cleanup (.4); review
                                   revised Zhagrus agreement (.8); prepare transmittal re
                                   same (.2).

5/03/01    Mark E        6.10      Begin review of Zhagrus contract revisions (.1); attend to
           Grummer                 matters re same (.4); begin drafting brief in support of
                                   motion to transfer venue of Libby EPA cost recovery suit
                                   including review of notes and background material (3.5);
                                   review Western Minerals notes (.1); conference call with
                                   D. Cleary, and J. McCarthy of Holmes Roberts re
                                   background of Libby cost recovery and EPA penalty suits
                                   (2.0).

5/03/01    Janet Baer    4.60      Prepare correspondence to client re Libby (.2); prepare
                                   correspondence to DOJ re same (.5); review pleadings
                                   and correspondence from DOJ re Libby (.2); review
                                   correspondence re East Hampton, MA matter (.4);
                                   correspond with client re Western Minerals and East
                                   Hampton (.3); conference with J. McCarthy and D.
                                   Cleary re Libby (1.5); follow up calls with EPA (.2);
                                   confer with A. Weinberg re East Hampton and related
                                   Burger King issues (.3); confer with J. Freeman at EPA re
                                   Libby (.3); confer with E. Laughlin re Zhagras (.2); confer
                                   with various parties re Motor Wheel (.5).

5/04/01    Mark E        8.30      Research for and drafting of Libby EPA cost recovery
           Grummer                 suite venue transfer brief (7.8); attend to matters re
                                   various environmental issues (.4); telephone conference
                                   with D. Cleary re various environmental issues (.1).




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Date       Name         Hours      Description
5/04/01    Janet Baer    3.30      Review Motor Wheel Consent Decree (.5); attend to
                                   matters re same (.3); conference with D. Cleary re Libby
                                   Cost Recovery case and motion re answer (.3);
                                   conference with T. Kruger at EPA re Western Minerals
                                   revised agreement (.5); attend to mattersre status of Libby
                                   matter (.7); various telephone calls re environmental
                                   matters (.5); prepare correspondence re Western
                                   Minerals Libby and East Hampton (.5).

5/06/01    Mark E        3.50      Research and drafting re Libby EPA cost recovery suit
           Grummer                 venue transfer brief.

5/06/01    David A       1.60      Edit and revise latest draft of Zhagrus settlement
           Codevilla               agreement.

5/07/01    Mark E        1.70      Attend to matters re status of Zhagrus contract revisions
           Grummer                 (.3); telephone conference with J. McCarthy re filing
                                   procedures and form requirements in Montana District
                                   Court and make notes re same (.3); review Parker
                                   complaint and incorporate information from same in draft
                                   venue transfer brief (1.0); attend to matters re various
                                   environmental issues (.1).

5/08/01    Mark E        1.80      Telephone conference with R. Corcoran and D. Cleary re
           Grummer                 Western Minerals and draft agreement with EPA Region
                                   5 (.8); telephone conference with EPA and DOJ
                                   representatives re Libby issues and national issues (.7);
                                   telephone conference with W. Corcoran re results of call
                                   with EPA and DOJ (.3).

5/08/01    Janet Baer    3.80      Confer with W. Corcoran and M. Grummer re Western
                                   Minerals and Libby status (.3); confer with M.
                                   Obradavich re payment for environmental consultants
                                   (.3); confer with W. Corcoran and D. Cleary re Western
                                   Minerals Agreement (.8); confer with EPA re Libby (1.0);
                                   confer with W. Corcoran re same (.3); confer with E.
                                   Laughlin re Zhagrus (.3); attend to matters re Libby,
                                   Western Minerals and Zhagrus (.3); review re-draft of
                                   Western Minerals Agreement (.5).




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Date       Name         Hours      Description
5/09/01    Mark E        1.50      Internal K & E conference re various environmental issues
           Grummer                 including Libby matters and preparation of tables of
                                   environmental remediation sites (.7); review tables, revise
                                   same, and prepare internal correspondence forwarding
                                   same for review (.8).

5/09/01    Janet Baer    4.10      Confer with T. Kruger and A. Tennenbaum re revised
                                   agreement on neighborhood cleanup (.5); confer with P.
                                   Jansen re Western Minerals site issues (.3); confer with
                                   D. Cleary re Libby discussion with EPA and DOJ (.6);
                                   confer with J. Freeman (DOJ) re additional questions on
                                   matters re Grace bankruptcy case (.3); review revised
                                   Western Minerals document and prepare various, red-line
                                   and transmittal re same (1.2); review revised Zhagrus
                                   Agreement (.5); attend to matters re overall environmental
                                   approach (.4); review Motorweek Settlement Agreement
                                   and Consent Decree (.3).

5/10/01    Mark E        0.90      Review L. Duff table of remediation sites and exchange
           Grummer                 internal K&E correspondence re same.

5/10/01    James W       0.30      Attend to various environmental matters.
           Kapp

5/10/01    Andrew R      0.80      Telephone conference with M. Obradovic, R. Medler, D.
           Running                 Cleary, C. Marraro, J. Baer and R. Emmett re
                                   Goodyear's proposed consent decree amendment for the
                                   Motor Wheel Disposal Site.

5/10/01    Janet Baer    1.20      Confer with L. Duff re coordination of approach on all
                                   environmental matters (.3); prepare memo to P. Jensen,
                                   State of Minnesota re Western Minerals site (.5); review
                                   recent article on Libby environmental matters (.2); confer
                                   with M. Grummer re potential environmental meeting (.2).


5/11/01    Mark E        0.90      Read draft contract for Zhagrus.
           Grummer




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Date       Name           Hours      Description
5/11/01    David A         2.80      Review and compare Grace and K&E tables of Grace
           Codevilla                 environmental obligations and revise K&E detail chart of
                                     environmental matters (2.0); revise Zhagrus settlement
                                     agreement draft (.8).

5/11/01    Janet Baer      0.80      Confer with L. Duff re environmental meeting and follow
                                     up internally re same (.5); confer with clients re status of
                                     Zhagrus and Western Minerals (.3).

5/13/01    Mark E          0.40      Review draft Zhagrus contract.
           Grummer

5/14/01    Mark E          4.80      Review Zhagrus contract and attend to issues re same
           Grummer                   (2.4); review materials to prepare for 5/18 meeting re
                                     remediation sites; internal conference re meeting plans
                                     (1.9); internal conference re meeting plans and other
                                     environmental issues (.5).

5/14/01    David A         7.30      Draft and revise Detail Chart of Grace environmental
           Codevilla                 obligations and revise Zhagrus settlement agreement.

5/14/01    Janet Baer      3.00      Confer with W. Corcoran re Western Minerals and Libby
                                     issues (.3); confer with R. Oslan re same (.2); review US
                                     pleadings re Libby matter (.3); review most recent draft of
                                     Zhagrus contract (.3); internal conference re same (.3);
                                     confer with M. Grummer re scope of environmental
                                     meeting (.3); revise Western Minerals Agreement and
                                     confer with M. Grummer re same (.5); review revised
                                     Western Minerals Agreement (.2); review M. Grummer
                                     outline on EPA issues (.2); review various materials on
                                     environmental matters (.3).
5/15/01    Mark E         10.30      Prepare memorandum of legal authorities for 5/18 meeting
           Grummer                   re remediation sites including legal research re same (8.3);
                                     review draft Zhagrus contract and telephone conference
                                     with E. Loughlin of Grace re same (1.1); telephone
                                     conferences with E. Loughlin and F. Monaco re Zhagrus
                                     contract and changes to same (.9).

5/15/01    Lauren          1.30      Indentify and retrieve articles re environmental matters
           Mitchell-Daw              considered in bankruptcy proceedings.
           son

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Date       Name         Hours      Description
5/15/01    Andrew R      0.40      Telephone conference with D. Tripp, counsel for
           Running                 Goodyear, and W. Ito, Goodyear in-house counsel, re
                                   their draft amendment to the Motor Wheel Superfund Site
                                   consent decree.

5/15/01    David A       7.80      Conference call re Zhagrus settlement agreement and
           Codevilla               revise Zhagrus settlement agreement (5.0); continue
                                   drafting of Detail Chart of Grace environmental
                                   obligations (2.8).

5/15/01    Janet Baer    2.40      Prepare final revisions and transmittal on Western
                                   Minerals (.4); confer with E. Laughlin re Zhagrus (.2);
                                   review EPA letter on Libby and transmit to various parties
                                   (.3); review Zhagrus new agreement compared to
                                   Zhagrus' counsel draft re status of transaction (.5); confer
                                   with various parties re Zhagrus contract and issues with
                                   opponents re same (.7); review new draft motion in Libby
                                   re cost recovery case (.3).

5/16/01    Mark E        6.50      Review draft table of remediation sites (.6); internal
           Grummer                 conferences re table of sites, legal memorandum, and
                                   other preparations for 5/18 meeting re remediation sites
                                   (.8); review Zhagrus contract edits (.8); telephone
                                   conference with L. Duff of Grace re plans for 5/18
                                   meeting (.1); review and comment on draft agendas for
                                   5/18 meeting (.5); set up legal research project in
                                   preparation for 5/18 meeting and conference with J. Davis
                                   re same (1.1); other preparations for 5/18 meeting (.2);
                                   send draft outline to R. Emmett of Grace with explanatory
                                   e-mail message (.3); revise legal memorandum and outline
                                   for 5/18 meeting (2.1).

5/16/01    David A       6.80      Continue drafting Detail Chart re Grace environmental
           Codevilla               obligations (2.8); revise Zhagrus agreement (2.0); prepare
                                   for May 18 meeting with Grace, Remedium at Grace HQ
                                   (2.0).

5/16/01    Janet Baer    1.30      Confer with R. Emmert re upcoming environmental
                                   meeting (.3); attend to matters re same (.3); confer with J.
                                   Freeman (DOJ) re Libby (.2) review revised Zhagrus
                                   agreement (.5).

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Date       Name           Hours      Description
5/17/01    Mark E          8.80      Revise legal memorandum and outline for 5/18 meeting re
           Grummer                   remediation sites (2.8); prepare materials and notes for
                                     5/18 meeting re postpetition handling of remediation sites
                                     (1.3); finalize legal memorandum and outline and transmit
                                     same to participants in 5/18 meeting (1.6); review
                                     information re specific remediation sites in preparation for
                                     5/18 meeting (3.1).

5/17/01    David A         4.30      Review K&E outline for May 18 meeting at Grace HQ
           Codevilla                 (2.0); continue editing, conference calls re Zhagrus
                                     settlement (2.3).

5/17/01    Janet Baer      4.80      Attend to matters re Zhagras agreement (.5); confer with
                                     E. Laughlin re same (.3); review M. Grummer draft memo
                                     on environmental matters (.5); review draft outlines,
                                     agendas and charts of sites for Friday's environmental
                                     meeting (1.3); confer with counsel for Zhagras re status
                                     (.2); assemble documents for upcoming meeting with
                                     clients (.5); attend to matters re status of Zhagras
                                     agreement (.2); review news articles on Libby (.2); review
                                     Libby stay memo (and related materials) in preparation
                                     for meeting (.3); review and revise draft Libby venue
                                     transfer brief (.8).

5/17/01    Jane E Davis    2.00      Research (Westlaw) subject of judicial consent decrees
                                     relating to bankruptcy.

5/17/01    Jane E Davis    1.50      Review caselaw re dischargeable claims of environmental
                                     clean-ups in bankruptcy.

5/18/01    Mark E          5.90      Prepare for meeting with Grace representatives re
           Grummer                   remediation sites including conference with D. Codevilla
                                     (1.6); attend meeting in Columbia, MD with Grace
                                     representatives re post-petition handling of remediation
                                     sites (4.0); internal K&E office conference re results of
                                     meeting (.3).
5/18/01    David A         4.80      Meet with Grace, Remedium, K&E re bankruptcy
           Codevilla                 strategy with respect to environmental issues at Grace
                                     owned and non-owned sites (3.8); begin revision of Detail
                                     and Short Charts (1.0).


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Date       Name           Hours      Description
5/18/01    Janet Baer      4.50      Attend to matters re preparation for client environmental
                                     meeting (.5); attend client meeting to discuss
                                     environmental and related issues (4.0).

5/21/01    David A         4.30      Final revisions, edits to Zhagrus agreement (4.0);
           Codevilla                 telephone conference with E. Laughlin (.3).

5/21/01    Janet Baer      0.50      Participate in conference call with clients re retention of
                                     professionals and related matters.

5/21/01    Jane E Davis    1.80      Review materials re abandonment of property in
                                     bankruptcy cases (1.3); Westlaw research for
                                     abandonment caselaw (.5).

5/22/01    Mark E          2.50      Review Western Minerals settlement agreement draft
           Grummer                   (0.2); review Zhagrus contract revisions (0.2); begin
                                     drafting memorandum re guidelines for handling
                                     remediation sites (2.1).

5/22/01    Samuel A        4.70      Review of the Zhagrus Settlement Agreement and drafting
           Schwartz                  of the motion and order approving the same.
5/22/01    David A         1.50      K&E call re contract exhibit to Zhagrus agreement (.3);
           Codevilla                 continue revision of Detail Chart re Grace environmental
                                     obligations (1.2).

5/22/01    Janet Baer      1.50      Review final Zhagrus Agreement (.3); review D. Codevilla
                                     notes of environmental meeting (.3); confer with W.
                                     Corcoran and F. Monaco re Zhagrus matter (.2); attend
                                     to matters re Zhagrus Agreement and environmental
                                     guideline memo (.2); attend to matters re draft motion to
                                     approve Zhagrus agreement (.5).

5/22/01    Jane E Davis    0.80      Research for abandonment caselaw; review cases.

5/23/01    Mark E          8.10      Review and edit draft Zhagrus contract (.3); continue
           Grummer                   drafting memorandum re guidelines for handling
                                     remediation sites (7.3); attend to matters re guidelines
                                     status (.5).

5/23/01    Timothy S       2.50      Meet with W. Corcoran and D. Kuchinsky in Columbia
           Hardy                     re EPA meeting plans.



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Date       Name           Hours      Description
5/23/01    David A         2.00      Draft Short non-owned and owned sites chart and review
           Codevilla                 K&E principles memorandum to Grace re strategy for
                                     dealing with environmental obligations at Grace owned
                                     and non-owned sites.

5/23/01    Janet Baer      2.60      Confer with W. Corcoran and E. Laughlin on Zhagrus
                                     (.3); revise motion and agreement accordingly (.4); attend
                                     to matters re same (1.0); confer with T. Kruger and D.
                                     Cleary re Western Minerals (.3); confer with J. Carter re
                                     finalizing Zhagrus agreement (.3); transmit final agreement
                                     to parties (.3).

5/24/01    Mark E          6.10      Revise and finalize memorandum re guidelines for handling
           Grummer                   remediation and preparation of explanatory
                                     correspondence accompanying distribution of same to
                                     K&E and Grace team and preparation and distribution of
                                     accompanying table of remediation sites.

5/24/01    David A         1.30      Review K&E principles memorandum; continue revision
           Codevilla                 of Detail and Short owned/non-owned charts of Grace
                                     environmental obligations.

5/24/01    Janet Baer      1.40      Attend to matters re comments to environmental
                                     guidelines memo (.3); review and further revise Zhagrus
                                     motion (.8); review old Zhagrus contract for term issues
                                     (.3).

5/25/01    Janet Baer      0.50      Review final Western Minerals Agreement and
                                     attachments and confer with D. Cleary re same.
5/25/01    Jane E Davis    3.00      Research caselaw re abandonment of contaminated sites.

5/29/01    Andrew R        0.30      Telephone conversation with D. Tripp, counsel for
           Running                   Goodyear, re proposed modifications to Motor Wheel
                                     Disposal Site consent decree.

5/29/01    Janet Baer      1.30      Confer with counsel for environmental consulting firm re
                                     issues of ongoing relationship (.3); review revised Zhagrus
                                     Agreement, attend to matters re same and make further
                                     revisions to same (.5); finalize Zhagrus motion for filing
                                     (.3); confer with W. Corcoran re Western Minerals status
                                     (.2).


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Date       Name           Hours      Description
5/29/01    Jane E Davis    5.00      Review caselaw re abandonment of contaminated sites.

5/30/01    David A         5.50      Continue work on Detail Chart and review of Remedium
           Codevilla                 green book based on prospective strategy for
                                     approaching environmental obligations.

5/30/01    Janet Baer      1.00      Confer with D. Pachinski re comments on Western
                                     Minerals backup documents (.3); prepare response to
                                     EPA inquiry on Western Minerals (.3) attend to matters
                                     re additional materials re Western Minerals (.2); attend to
                                     matters re filing Zhagrus motion and agreement (.2).

5/30/01    Jane E Davis    2.30      Draft table re abandonment of contaminated property
                                     caselaw.

5/31/01    David A         3.00      Begin further revisions to Detail Chart of Grace
           Codevilla                 environmental obligations, focusing on prospective
                                     strategy.

5/31/01    Jane E Davis    3.50      Draft table re abandonment of contaminated property
                                     caselaw.




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                  Matter 29 - File, Docket, Calendar Maintenance - Fees


Date       Name            Hours       Description
5/01/01    Sabrina M         5.50      Update case file index with new documents.
           Mitchell

5/02/01    Sabrina M         2.00      Prepare labels and folders for new documents for
           Mitchell                    inclusion in the central file (.5); identify new documents
                                       using the court's website (1.0); organize new documents
                                       into the central file docket binders (.5).

5/03/01    Raquel            4.80      Organize and file recent correspondence and pleading re
           Carrillo                    Smolker adversary matter (2.8); create files for recent
                                       Barbanti orders re certification of class action and denial
                                       of preliminary injunction (1.0); organize and file recent
                                       correspondence and pleadings for Chakarian and Zonolite
                                       matters (1.0).

5/03/01    Sabrina M         2.00      Update central file index with new documents.
           Mitchell

5/04/01    Raquel            4.80      Organize and file recent correspondence from W.R.
           Carrillo                    Grace re litigation summaries (.2); organize and file recent
                                       correspondence and pleadings re Abner (.3); organize
                                       and file preliminary injunction declaration and key
                                       documents received re Chakarian matter (1.0); organize
                                       and file recent facsimiles re Delaware Chapter 11,
                                       Zonolite and Price matters and attached pleadings to
                                       same (.5); organize and file facsimile from W.R. Grace re
                                       Zonolite pre-trial order and initial status conference (.8);
                                       organize and file Price pleading filed in Delaware Chapter
                                       11 matter re Zonolite issues (2.0).

5/04/01    Sabrina M         0.50      Identify new documents using the court's website.
           Mitchell
5/07/01    Sabrina M         1.00      Prepare and organize new documents into the central file
           Mitchell                    docket binders.




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Date       Name         Hours      Description
5/08/01    Raquel        5.80      Organize and create files for recent correspondence and
           Carrillo                pleadings re Abner (.8); organize and create files for
                                   preliminary injunction declaration and key documents re
                                   Chakarian matter (.3); organize and create file for recent
                                   facsimiles re Delaware Chapter 11, Zonolite and attached
                                   pleadings re Price adversary matter (1.2); organize and
                                   create files Zonolite pre-trial order and initial status
                                   conference (.5); organize and create files for additional
                                   Price pleadings filed in Delaware, Chapter 11 matter re
                                   Zonolite issues (1.0); update file database index with each
                                   of the preceding documents (2.0).

5/08/01    Brigitte F    5.10      Review case documents received from attorneys and
           Windley                 categorize same in preparation for central file
                                   supplementation by project assistant (3.1); work on
                                   updating and supplementing critical dates/tasks list (1.7);
                                   telephone conference with P. Cuniff re same (.2).

5/08/01    Sabrina M     7.00      Update central file index with new documents (3.0);
           Mitchell                identify new documents using court's website (2.0);
                                   organize new documents into the central file docket
                                   binders (.5); update first day pleading binders with signed
                                   final orders (1.5).

5/09/01    Sabrina M     8.00      Update central file index with new documents (4.0);
           Mitchell                prepare labels and folders for new documents for
                                   inclusion in the central file (1.5); identify new documents
                                   using the court's website (2.0); update first day pleadings
                                   binders with new order (.5)

5/10/01    Sabrina M     1.50      Identify new documents using the court's website for
           Mitchell                inclusion in the central file docket binders.

5/11/01    Raquel        1.50      Attend to matters re request for plaintiffs' opposition brief
           Carrillo                to informational brief filed in Delaware, Chapter 11 matter
                                   (.3); organize and file recent Sealed Air Corporation
                                   pleadings (.2); organize and file recent facsimile and
                                   pleading re Anderson Memorial Hospital (.2); update
                                   database file index with each of the preceding documents
                                   (.8).



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Date       Name         Hours      Description
5/11/01    Sabrina M     2.00      Identify new documents using the court's website (1.5);
           Mitchell                prepare documents for inclusion in the central file docket
                                   binders (.5).

5/14/01    Raquel        3.30      Organize and file recent facsimiles and update file with
           Carrillo                same (1.0); review recent pleadings re Sealed Air,
                                   Anderson Memorial Hospital and Century Indemnity
                                   matter (1.3); organize and file additional duplicate
                                   pleadings received re Chakarian matter and compare with
                                   existing files for completeness (1.0).

5/14/01    Sabrina M     3.50      Identify and prepare pleadings for inclusion in the central
           Mitchell                file docket binders (2.0); update case file index with new
                                   documents (1.0); prepare labels and folders for new
                                   documents for inclusion into the central files (.5).

5/15/01    Raquel        1.00      Organize and file additional duplicate pleadings received
           Carrillo                re Chakarian matter and compare with existing files for
                                   completeness (.3); review and organize recent order,
                                   opposition brief, and hearing transcript re Chakarian
                                   matter (.7).

5/15/01    Sabrina M     1.20      Review online docket and identify new documents using
           Mitchell                the court's website.

5/16/01    Sabrina M     7.00      Update case file index with new documents (4.0); prepare
           Mitchell                labels and folders for documents for inclusion into the
                                   central files (1.0); convert case file index from microsoft
                                   word to microsoft excel (2.0).
5/17/01    Sabrina M     1.00      Update case file index with new documents and prepare
           Mitchell                for inclusion in the central file.

5/23/01    Sabrina M     4.00      Update case file index with new documents and prepare
           Mitchell                for inclusion in the central files.

5/24/01    Sabrina M     3.00      Update case file index with new documents and prepare
           Mitchell                for inclusion into the central files (2.0); review online
                                   docket and identify new documents using the court's
                                   website (1.0).




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Date       Name         Hours      Description
5/25/01    Sabrina M     1.00      Update central files index with new documents.
           Mitchell

5/29/01    Sabrina M     3.00      Review online docket and identify new documents using
           Mitchell                the court's website.

5/30/01    Sabrina M     7.00      Update case file index with new documents (4.0); identify
           Mitchell                new documents using court's website (2.0); prepare new
                                   documents for inclusion into the central files (1.0).

5/31/01    Sabrina M     7.50      Update case file index with new documents and prepare
           Mitchell                for inclusion in the central files.




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                              Matter 30 - Hearings - Fees


Date       Name            Hours      Description
5/01/01    James W          2.50      Revise agenda for May 3, 2001, hearing and attend to
           Kapp                       issues re same (.4); review and revise first day orders and
                                      address issues re same (1.2); prepare outline of DIP
                                      argument for May 3, 2001, hearing (.9).

5/01/01    Andrew R         0.30      Review draft hearing agenda.
           Running

5/01/01    Samuel A         3.20      Preparation and organization of the May 3 bankruptcy
           Schwartz                   proceeding (2.5); review and finalization of the May 3
                                      agenda letter (.7)

5/01/01    Roger J          0.40      Telephone conference with D. Carickhoff concerning
           Higgins                    revised orders for signing at May 3, 2001, hearing (.2);
                                      attend to matters re same (.2).

5/02/01    David M          3.00      Prepare for hearing in Delaware.
           Bernick, P.C.

5/02/01    James W          4.90      Prepare for May 3, 2001, hearing and attend to issues re
           Kapp                       same.
5/02/01    James H          1.90      Prepare for omnibus hearing and objections to first day
           Sprayregen                 orders.

5/02/01    Samuel A         3.20      Preparation for the May 3 hearing before Judge Farnan
           Schwartz                   and meetings re same.

5/03/01    David M          6.50      Preparation for and attending hearing. Follow-up meetings
           Bernick, P.C.              with client.

5/03/01    Timothy S        1.00      Conference call with Grace team re today's hearing.
           Hardy

5/03/01    James W         12.60      Prepare for hearing on various motions and attend to
           Kapp                       same and address issues re same.




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Date       Name         Hours      Description
5/03/01    Andrew R      2.00      Attend May 3 hearing in order to be prepared to present
           Running                 testimony of R. Tarola and P. Zilly in support of DIP
                                   financing motion.

5/03/01    James H       3.60      Prepare for and attend court hearing concerning numerous
           Sprayregen              first day pleadings and injunction issues.

5/03/01    Samuel A      4.50      Preparation for and attendance of the May 3 hearing and
           Schwartz                meetings with client re same.

5/25/01    James W       0.10      Attend to issues re scheduling of hearing date.
           Kapp

5/29/01    James W       0.30      Address issues re scheduling of hearings and telephone
           Kapp                    conference with L. Jones re same.




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                  Matter 32 - K&E Fee Application, Preparation of - Fees


Date       Name            Hours       Description
5/02/01    Roger J           1.60      Draft fee application materials.
           Higgins

5/03/01    Roger J           3.70      Draft K & E April Interim Compensation Fee
           Higgins                     Application.

5/07/01    Roger J           0.50      Review and make comments on detail supporting April K
           Higgins                     & E Fee Application.

5/08/01    Roger J           1.00      Review and comment on K & E bill detail for April K &
           Higgins                     E Fee Application.

5/09/01    Eric B Miller     0.20      Inter-office conference re monthly fee application.

5/09/01    Roger J           2.50      Review and comment on bill detail for K & E application
           Higgins
5/09/01    Sabrina M         0.50      Prepare excel charts for April fee application.
           Mitchell

5/10/01    Roger J           3.80      Review and comment on bill detail for April K & E Fee
           Higgins                     Application.

5/10/01    Sabrina M         2.00      Prepare and review fee application for billing department.
           Mitchell

5/11/01    Sabrina M         4.20      Revise and review fee application for billing department.
           Mitchell

5/17/01    Roger J           1.50      Prepare April K&E Application.
           Higgins

5/17/01    Sabrina M         2.50      Work on making corrections to fee application for billing
           Mitchell                    department.

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Date       Name         Hours      Description
5/21/01    James W       1.50      Review and revise Kirkland & Ellis interim fee application
           Kapp                    and attend to issues re same.

5/21/01    Roger J       1.10      Attend to matters re preparation of April K&E Fee
           Higgins                 Application.

5/21/01    Sabrina M     2.00      Create Exhibit A using billing department data.
           Mitchell

5/22/01    Roger J       0.50      Attend to matters re K&E Application.
           Higgins

5/22/01    Sabrina M     8.80      Work on creating Exhibits A and B for the fee
           Mitchell                application.

5/23/01    James W       0.30      Attend to issues re fee application.
           Kapp
5/23/01    A Nowak       1.50      Prepare exhibits for fee application.

5/23/01    Roger J       4.80      Attend to matters re preparation of April Fee Application.
           Higgins

5/23/01    Sabrina M     6.50      Create charts for attorneys and paraprofessionals for fee
           Mitchell                application (4); make corrections to fee application per R.
                                   Higgins instruction (2.5).

5/24/01    James W       4.40      Review and revise exhibits to fee application and attend to
           Kapp                    issues re same.

5/24/01    Roger J       0.80      Attend to matters re April Fee Application.
           Higgins

5/24/01    Sabrina M     0.50      Attend to maters re fee application.
           Mitchell
5/25/01    A Nowak       1.50      Prepare exhibits for fee application (1.5).

5/25/01    Brigitte F    4.50      Assist in preparation of monthly fee application.
           Windley

5/25/01    Roger J       4.00      Attend to matters re preparation of April K&E Fee
           Higgins                 application.




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Date       Name           Hours      Description
5/25/01    Sabrina M       6.30      Work on making revisions to the fee application and the
           Mitchell                  exhibits.

5/27/01    Daniel J Lee    4.50      Prepare fee application.

5/27/01    Roger J         4.30      Attend to matters re preparation of the April K&E fee
           Higgins                   application.

5/29/01    Roger J         2.00      Attend to matters re preparation of April K&E Fee
           Higgins                   Application.

5/29/01    Sabrina M       4.50      Work on making corrections to master copy of fee
           Mitchell                  application and send to Pachulski.

5/30/01    Roger J         0.50      Attend to matters re K&E fee application.
           Higgins




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                      Matter 33 - Lease Rejection Claims - Fees


Date        Name         Hours     Description
5/01/01     Roger J        2.90    Draft and revise ex parte motion for extension of time
            Higgins                pursuant to section 365(d)(4).

5/02/01     Roger J        1.00    Revise ex parte motion to extend section 365(d)(4) time
            Higgins                to assume or reject.

5/04/01     James W        1.80    Review and revise motion to extend period to reject
            Kapp                   leases and address issues re same.

5/04/01     Roger J        1.30    Revise Motion for time to assume under section
            Higgins                365(b)(4).

5/07/01     Roger J        0.60    Revise motion to extend time under section 365(b)(4).
            Higgins

5/09/01     James W        1.60    Review and revise lease motion and attend to issues re
            Kapp                   same.
5/09/01     Roger J        0.50    Attend internal K & E meeting on motion to extend time
            Higgins                to assume or reject leases.

5/09/01     Roger J        1.30    Attend to matters re motion to extend time to assume or
            Higgins                reject leases (.2); draft changes to motion (1.1).

5/10/01     James W        1.50    Review and revise motion to extend time period to reject
            Kapp                   leases.

5/14/01     Roger J        0.20    Attend to matters re lease rejection motion.
            Higgins



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Date        Name            Hours   Description
5/16/01     James W          0.30   Address issues re motion to extend period to reject
            Kapp                    leases.

5/21/01     James W          0.30   Attend to issues re motion to extend time to reject leases.
            Kapp

5/21/01     Julie C Olsen    0.20   Retrieve lessor's and sublessee's contact information for
                                    Boca Raton facility.

5/21/01     Brian E Davis    1.50   Respond to various inquiries re lease rejection claims (.5);
                                    research case law re rejection damages in cases of
                                    sublease (1.0).

5/21/01     Roger J          1.20   Attend to matters re motion to extend time to assume or
            Higgins                 reject leases.

5/23/01     James W          0.40   Attend to issues re motion to extend period to assume or
            Kapp                    reject leases (.2); attend to issues re particular landlord
                                    claim (.2).
5/24/01     James W          1.20   Review lease rejection notice and address issues re same
            Kapp                    and review lease procedure notice re same.

5/25/01     James W          0.40   Attend to issues re lease rejection notice.
            Kapp

5/25/01     Samuel A         2.60   Drafting of the lease rejection notice (1.8); conferences
            Schwartz                with the client re same (.6); and forwarding of the same
                                    (.2).

5/29/01     Samuel A         1.10   Drafting of the notice of rejection of the lease of Granite
            Schwartz                Properties and conferences with the client re same.

5/30/01     Samuel A         1.40   Drafting of the affidavits of service for the lease rejection
            Schwartz                notices (.6); conferences with the client re pending lease
                                    rejection issues (.8).




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                       Matter 36 - Reclamation Claims - Fees


Date        Name        Hours     Description
5/01/01     James W       0.50    Telephone conference with B. Sullivan re objection to
            Kapp                  reclamation motion and attend to issues re same.

5/17/01     James W       0.20    Review correspondence from B. Forehand re reclamation
            Kapp                  claims.

5/22/01     Roger J       0.30    Attend to reclamation matters.
            Higgins

5/29/01     Roger J       0.70    Telephone conference with A. Kelley re various
            Higgins               reclamation and trade claims of Union Carbide and Dow
                                  Chemical (.3); attend to matters re same (.4).

5/31/01     Samuel A      1.20    Telephone conferences with PwC and the client re claims
            Schwartz              agents and the claims review process.




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                      Matter 38 - Retention of Professionals/Fees - Fees


Date        Name             Hours      Description
5/01/01     James W            1.50     Telephone conference with V. Burns re
            Kapp                        PricewaterhouseCoopers retention issues and address
                                        issues re same and review statute re same (1.3); attend to
                                        issues re affidavits of disinterestedness (.2).

5/02/01     Samuel A           1.80     Telephone conferences with the client and various
            Schwartz                    professionals re retention issues.

5/02/01     Roger J            2.80     Prepare Pitney Hardin application, affidavit and order for
            Higgins                     filing (1.2); telephone conference with D. Siegel on
                                        execution of application (.2); telephone conference with
                                        D. Carickhoff on the filing of the application (.2);
                                        telephone conference with A. Marchetta on execution of
                                        affidavit (.2); Revise Ordinary Course Professionals
                                        Order to comply with U. S. Trustee objections (1.0).

5/03/01     Roger J            1.20     Telephone conference with J. Forgach about retention of
            Higgins                     Ernst and Young as an ordinary course professional (.3);
                                        telephone conference on matter with S. Tetro (attorney
                                        for Ernst and Young) (.9).



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Date        Name         Hours    Description
5/04/01     James W       0.40    Telephone conference with J. Stegenga re retention of
            Kapp                  PricewaterhouseCoopers and address issues re same.

5/04/01     Roger J       0.60    Telephone conference with local counsel concerning
            Higgins               Ordinary Course Professionals Order and the Ernst and
                                  Young Affidavit (.3); attend to matters re same (.3).

5/07/01     Deanna D      1.00    Review Rust materials for consideration of retention.
            Boll

5/08/01     James W       0.60    Telephone conference with counsel to asbestos personal
            Kapp                  injury committee re application to retain Blackstone and
                                  telephone conference with P. Zilly re same.

5/08/01     Samuel A      2.80    Telephone conferences with the client and various
            Schwartz              professionals re retention issues and drafting of
                                  correspondence re same.

5/09/01     James W       3.50    Review application for retention of Wallace King (1.0);
            Kapp                  telephone conference with L. Kruger, R. Raskin and P.
                                  Zilly re Blackstone application and attend to issues re
                                  same (1.9); review application authorizing employment of
                                  Nelson Mullins (.6).
5/09/01     Samuel A      4.10    Review of various professional's applications to be
            Schwartz              retained (2.2); review and organization of certain OCP
                                  affidavits and conferences with the client re same (1.9).

5/09/01     Roger J       0.70    Review and comment and attend to matters re Wallace
            Higgins               King section 327(e) Application.

5/09/01     Roger J       0.30    Attend to issues re potential Ernst and Young section
            Higgins               327(e) application.

5/10/01     Janet Baer    0.30    Review memo and case law re retention of accountants.

5/11/01     James W       0.70    Attend to issues re Blackstone retention and telephone
            Kapp                  conference with L. Jones re same.

5/11/01     Janet Baer    0.30    Prepare transmittal and response re accountant's
                                  retention.
5/11/01     Roger J       2.00    Draft Wallace King application, affidavit and order.
            Higgins


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Date        Name         Hours    Description
5/14/01     James W       0.40    Address issues re Blackstone retention and telephone
            Kapp                  conference with P. Zilly re same.

5/14/01     Janet Baer    0.30    Confer with D. Binderman at Perkins Coie re potential
                                  conflicts with representation on attic fill cases.

5/15/01     Roger J       0.50    Attend to matters re Wallace King application.
            Higgins

5/16/01     James W       1.10    Attend to issues re retention of asbestos notice/claims
            Kapp                  agent (.4); telephone conference with P. Zilly re retention
                                  of Blackstone and objections re same and attend to issues
                                  re same (.4); address issues retaining various litigation
                                  professionals (.3).

5/16/01     Roger J       0.50    Attend to matters pertaining to Wallace King Application.
            Higgins

5/17/01     James W       1.00    Telephone conference with P. Zilly re Blackstone
            Kapp                  retention and address issues re same (.7); telephone
                                  conference with counsel to Personal Injury Committee re
                                  same (.3).
5/17/01     Janet Baer    0.30    Confer with C. Marraro re retention issues and expert
                                  matters.

5/21/01     James W       2.70    Telephone conference with M. Shelnitz re issues
            Kapp                  pertaining to professionals and preparation of 327(e)
                                  affidavits (.2); address issues re retention of Blackstone
                                  and telephone conference with P. Zilly and R. Raskin re
                                  same (.9); review and revise application to retain Wallace
                                  King as special counsel (.4); review and revise application
                                  to retain Holme Roberts and attend to issues re same
                                  (1.2).

5/21/01     Samuel A      1.30    Review and analysis of the various applications to retain
            Schwartz              professionals of the official committees and the motions of
                                  the debtors to employ special counsel.

5/21/01     Roger J       0.30    Attend to matters re WKMB application.
            Higgins




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Date        Name        Hours     Description
5/22/01     James W       0.90    Review and revise application to retain environmental
            Kapp                  counsel.

5/22/01     Deanna D      0.50    Teleconference with T. Hilsee re conflicts.
            Boll

5/23/01     James W       0.70    Review application to retain Wallace King (.2); telephone
            Kapp                  conference with R. Raskin re Blackstone retention and
                                  telephone conference with P. Zilly re same and attend to
                                  issues re same (.5).

5/23/01     Roger J       0.80    Revise Blackstone Order.
            Higgins

5/24/01     James W       1.70    Review and revise Blackstone's retention order and
            Kapp                  attend to issues re same and telephone conference with P.
                                  Zilly re same.

5/24/01     James W       0.20    Attend to issues re retention of experts.
            Kapp
5/24/01     Roger J       1.30    Revise Blackstone First Day Order.
            Higgins

5/25/01     James W       0.30    Telephone conference with S. Ahern and A. Nagy re
            Kapp                  retention of expert witnesses.

5/29/01     Samuel A      4.60    Review and analysis of the revised exhibit B to the OCP
            Schwartz              motion and telephone conferences with the client re same
                                  (.8); telephone conferences with various professionals re
                                  retention issues (.6); drafting of the experts motion (3.2).

5/29/01     Roger J       0.20    Attend to matters re supplemental affidavit for J.
            Higgins               Sprayregen (.1); attend to matters re Blackstone order
                                  (.1).

5/30/01     James W       0.80    Attend to issues re retention of experts.
            Kapp




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Date        Name        Hours     Description
5/30/01     Samuel A      4.40    Review and revision of the exhibit to the OCP motion
            Schwartz              (.4); telephone conferences with various professionals and
                                  the client re retention issues (1.2); revision of the motion
                                  to retain experts (2.4); telephone conferences with
                                  PricewaterhouseCoopers re the retention of a claims
                                  agent (.4).

5/30/01     Kristin E     0.40    Work on Supplemental disclosure affidavit re K&E.
            Rooney

5/30/01     Deanna D      0.50    Telephone conference with K. Kinsella re retention.
            Boll

5/31/01     James W       1.70    Review and revise motion to employ Nelson Mullins (.4);
            Kapp                  telephone conference with P. Zilly re Blackstone retention
                                  (.2); review revised exhibit to ordinary course
                                  professional motion and attend to issues re same (1.1).

5/31/01     Samuel A      5.10    Review and revision of the exhibit to the OCP motion
            Schwartz              (.8); conferences with the client re same (.6) and drafting
                                  of correspondence to the U. S. Trustee re same (.6);
                                  revision of the experts motion (1.8) and meetings re same
                                  (1.3).

5/31/01     Roger J       0.30    Attend to matters re Wallace King application for
            Higgins               retention.




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               Matter 39 - Schedules/Statement of Financial Affairs - Fees


Date        Name          Hours      Description
5/01/01     Samuel A        3.40     Telephone conferences with the client and
            Schwartz                 PricewaterhouseCoopers re the schedules and statements
                                     and review of the pleadings re same.

5/02/01     Samuel A        2.90     Telephone conferences with the client re the statements
            Schwartz                 and schedules and review of the pleadings re same.

5/03/01     Samuel A        3.60     Conferences with the client re the schedules and
            Schwartz                 statements and review of pleadings re same.

5/04/01     Samuel A        3.60     Telephone conferences with the client re the statements
            Schwartz                 and schedules and review of the pleadings re same.




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Date        Name        Hours     Description
5/07/01     Samuel A      4.10    Telephone conferences with the client and
            Schwartz              PricewaterhouseCoopers reviewing and revising the
                                  schedules and statements and drafting of correspondence
                                  re same.

5/08/01     James W       0.70    Telephone conference with M. Shelnitz and S. Ahern re
            Kapp                  preparation of schedules and statements.

5/08/01     Samuel A      3.40    Telephone conferences with the client and
            Schwartz              PricewaterhouseCoopers reviewing and revising the
                                  schedules and statements and meetings re same.

5/09/01     Samuel A      2.30    Conferences with the client and PricewaterhouseCoopers
            Schwartz              re the schedules and statements and review of the same.

5/10/01     James W       1.50    Review schedules and statement of financial affairs and
            Kapp                  attend to issues re same.

5/10/01     Samuel A      2.80    Conferences with the client and PricewaterhouseCoopers
            Schwartz              reviewing and revising the schedules and statements and
                                  meetings re same.
5/11/01     Samuel A      2.40    Review and analysis of the schedules and statements and
            Schwartz              conferences with the client and PricewaterhouseCoopers
                                  re same.

5/13/01     Samuel A      5.10    Review, revision and drafting of the schedules and
            Schwartz              statements.

5/14/01     James W       6.20    Review and revise schedules and statements of financial
            Kapp                  affairs.

5/14/01     Samuel A      8.80    Review, revision and drafting of the schedules and
            Schwartz              statements and meetings with PricewaterhouseCoopers re
                                  same.

5/15/01     James W      11.80    Attend meeting with Company re preparation of
            Kapp                  schedules and statements of financial affairs and attend to
                                  issues re same.

5/15/01     Samuel A      9.90    Meeting in Columbia, MD with the client re the schedules
            Schwartz              and statements (7.0) and meetings with
                                  PricewaterhouseCoopers re same (2.9).


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Date        Name         Hours    Description
5/16/01     James W       1.40    Telephone conference with J. Hughes re schedules and
            Kapp                  statements of financial affairs and address issues re same
                                  (.7); attend to issues re preparation of schedules and
                                  statements of financial affairs (.7).

5/16/01     Samuel A      7.20    Review, revision and drafting of the schedules and
            Schwartz              statements and meetings with the client and
                                  PricewaterhouseCoopers re same.

5/17/01     James W       4.40    Review and revise notes and disclaimers to schedules and
            Kapp                  statement of financial affairs and attend to issues re same
                                  and review and revise same.

5/17/01     Samuel A      7.70    Review, revision and drafting of the schedules and
            Schwartz              statements and telephone conferences with
                                  PricewaterhouseCoopers and the client re same.

5/18/01     James W       0.40    Review and revise footnotes to schedules and statement
            Kapp                  of financial affairs.

5/18/01     Samuel A      6.40    Review and revision of the statements and schedules and
            Schwartz              telephone conferences with the client and
                                  PricewaterhouseCoopers re same.
5/21/01     Samuel A      6.40    Review and revision of the schedules and statements and
            Schwartz              telephone conferences with the client and
                                  PricewaterhouseCoopers re same.

5/22/01     Samuel A      3.80    Telephone conference with the client and
            Schwartz              PricewaterhouseCoopers reviewing and revising the
                                  statements and schedules.

5/23/01     James W       0.20    Address issues re preparation of schedules and statement
            Kapp                  of financial affairs.

5/23/01     Samuel A     12.20    Review, revision, and finalization of the schedules and
            Schwartz              statements and meetings with the client re same.

5/23/01     Brigitte F    4.00    Prepare caption and explanatory notes for Statement of
            Windley               Financial Affairs for each debtor.

5/24/01     James W       0.80    Attend to issues re schedules and statements of financial
            Kapp                  affairs.


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Date        Name         Hours    Description
5/24/01     Samuel A     12.40    Review, revision, and finalization of the schedules and
            Schwartz              statements and meetings with the client re same.

5/24/01     Brigitte F    4.50    Review and revise information in Statement of Financial
            Windley               Affairs for each debtor.

5/24/01     Sabrina M     1.00    Work on generating Statement of Financial Affairs.
            Mitchell




                          Matter 41 - Tax Matters - Fees


Date        Name         Hours    Description

5/02/01     Todd F        2.00    Conference calls re bankruptcy status (.5); review of
            Maynes                discovery record (1.5).


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Date        Name        Hours     Description
5/03/01     Todd F        1.00    Review of memoranda re case status.
            Maynes

5/03/01     Michael J     0.50    Research re state consolidated return issues.
            Hauswirth

5/07/01     Todd F        2.70    Review of files re CCHP case (.7); review of bankruptcy
            Maynes                research re state tax joint and several liabilities (2.0).

5/07/01     Michael J     3.80    Research state consolidated return liability laws.
            Hauswirth

5/08/01     Todd F        0.50    Review of H. Hevener memoranda.
            Maynes

5/09/01     Todd F        0.50    Review of files re CCHP case.
            Maynes
5/10/01     Todd F        1.50    Review of files re CCHP case.
            Maynes

5/11/01     Todd F        1.00    Review of backup memoranda re CCHP case.
            Maynes

5/12/01     Todd F        1.30    Review of files re CCHP matter.
            Maynes

5/14/01     Todd F        0.80    Meeting with M.Hauswirth re state consolidated returns
            Maynes                (.5); emails re same (.3).

5/14/01     Michael J     0.30    State tax legal research.
            Hauswirth

5/15/01     Todd F        1.50    Review of files (.3); preparation of substitution of counsel
            Maynes                documents (1.2).
5/16/01     Donald E      1.00    Conference call with E. Filon re tax and bankruptcy issues
            Rocap                 (.5); review deductibility of various expenses (.5).

5/16/01     Samuel A      0.90    Telephone conferences with the client re various tax
            Schwartz              litigation matters.

5/17/01     Todd F        0.50    Review of H. Hevener memoranda.
            Maynes



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Date        Name         Hours    Description
5/17/01     Donald E      0.20    Conference with T. Day re capitalization of expenses.
            Rocap

5/17/01     Thomas A      2.50    Research tax treatment of reorganization expenditures
            Day                   (1.5); expense versus capitalization (1.0).

5/18/01     Todd F        1.50    Review of H. Hevener memoranda (.2); telephone calls
            Maynes                with IRS re substitution of counsel (.3); revisions to
                                  substitution forms (1.0).

5/18/01     Thomas A      1.50    Research tax treatment of reorganization expenditures
            Day                   (1.5); expense versus capitalization (1.0).

5/21/01     Todd F        0.50    Review of deductibility of tax expenses issue.
            Maynes

5/21/01     Todd F        1.50    Telephone calls with H. Hevener re tax case; review of
            Maynes                files.
5/22/01     Todd F        1.30    Review of files re status (.3); preparation of substitution
            Maynes                documents (1.0).

5/22/01     Susan Polk    2.00    Handle filing of Motion, Affadavit with court of claims and
                                  handle distribution to all parties (1.0); Create pleadings
                                  bible (1.0).

5/23/01     Todd F        0.70    Telephone calls with P. Isakoff re transfers of files (.5);
            Maynes                emails with R. Finke re strategy meeting (.2).

5/23/01     Donald E      0.20    Attend to matters re capitalization issues.
            Rocap

5/23/01     Janet Baer    0.20    Attend to matters re status, litigation plan and CCHP
                                  matter.

5/25/01     Thomas A      2.50    Research tax treatment of reorganization expenditures
            Day                   (1.5); expense versus capitalization (1.0).
5/29/01     Thomas A      4.00    Research tax treatment of reorganization expenditures
            Day                   (2.5); expense versus capitalization (1.5).

5/30/01     Thomas A      4.00    Research tax treatment of reorganization expenditures
            Day                   (2.5); expense versus capitalization (1.5).



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Date        Name        Hours     Description
5/31/01     Todd F        1.30    Revisions to memoranda re deductibility of expenses.
            Maynes

5/31/01     Thomas A     10.00    Research tax treatment of reorganization expenditures
            Day                   (5.0); expense versus capitalization (4.0); write memo
                                  addressing (1.0).




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                                Matter 42 - Travel - Fees


Date        Name            Hours    Description
5/02/01     David M          2.00    Travel to Wilmington.
            Bernick, P.C.

5/02/01     Andrew R         1.50    One-half of non-working travel time for court hearing in
            Running                  Wilmington, Delaware.

5/02/01     Samuel A         1.10    Travel from Chicago to Wilmington.
            Schwartz

5/03/01     David M          1.50    Travel.
            Bernick, P.C.

5/03/01     Andrew R         1.50    One-half of non-working travel time for court hearing in
            Running                  Wilmington, Delaware.

5/03/01     Samuel A         1.40    Travel from Wilmington to Chicago.
            Schwartz
5/06/01     David M          1.50    Travel to Boca.
            Bernick, P.C.

5/06/01     Janet Baer       1.50    Travel to Boca Raton for litigation meeting.

5/07/01     David M          3.30    Travel back to Chicago.
            Bernick, P.C.

5/07/01     Janet Baer       2.00    Travel from Miami back to Chicago after meeting with
                                     clients (substantial delays).

5/15/01     Samuel A         1.40    Travel from Columbia to Chicago.
            Schwartz

5/17/01     Janet Baer       1.00    Travel from Chicago to Maryland for environmental
                                     meeting.
5/18/01     David A          1.00    Travel to/from Grace HQ in Columbia, MD.
            Codevilla

5/18/01     Janet Baer       1.00    Travel from Baltimore back to Chicago after meeting.

5/21/01     David M          1.00    Travel to New York.
            Bernick, P.C.



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Date        Name         Hours    Description
5/21/01     Deanna D      2.00    Travel from New York to Columbia, MD.
            Boll

5/21/01     Janet Baer    1.30    Travel to Columbia, MD for meetings re bar date notice
                                  experts.

5/22/01     Deanna D      1.80    Travel from Baltimore, MD to New York.
            Boll

5/22/01     Janet Baer    1.00    Travel from Maryland back to Chicago after meetings
                                  with Notice Agents.




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               Matter 43 - Use, Sale or Lease/Abandonment Property - Fees


Date        Name           Hours     Description
5/30/01     James H          0.70    Attention to strategy and tactics related to operational
            Sprayregen               issues related to debtor and debtor-in-possession.




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                          Matter 44 - U.S. Trustee - Fees


Date        Name        Hours     Description
5/09/01     James W       0.30    Attend to issues re 341 meeting and telephone
            Kapp                  conferences with L. Jones and D. Siegel re same.

5/10/01     James W       0.20    Attend to issues re 341 meeting.
            Kapp

5/16/01     James W       0.60    Telephone conference with G. Robinson re formation of
            Kapp                  equity committee and telephone conference with D. Siegel
                                  re same.

5/17/01     James W       2.10    Telephone conference with D. Carickhoff re 341 meeting
            Kapp                  and address issues re same (.1); prepare for 341 meeting
                                  (2.0).

5/18/01     James W       6.50    Prepare for section 341 meeting and meet with D. Siegel,
            Kapp                  B. Tarola and B. McGowan re same and attend same and
                                  address issues re same.

5/18/01     Samuel A      1.60    Review of the first monthly operating report (.7) and
            Schwartz              telephone conferences with the client (.5) and the U. S.
                                  Trustee (.4) re same.
5/30/01     James W       0.40    Attend to issues re monthly operating report.
            Kapp

5/30/01     Samuel A      2.40    Telephone conferences with the client and the U.S.
            Schwartz              Trustee preparing the monthly operating reports.

5/31/01     James W       0.30    Attend to issues re preparation of monthly operating
            Kapp                  reports.

5/31/01     Samuel A      0.70    Telephone conferences with P. Zilly (.2) and F. Gilbert
            Schwartz              (.3) re the monthly operating reports and meetings re
                                  same (.2).

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                              Matter 45 - Utilities - Fees


Date        Name        Hours       Description
5/01/01     James W       0.30      Telephone conference with M. Shelnitz re adequate
            Kapp                    assurances requests.

5/04/01     James W       0.40      Telephone with B. McGowan re utility requests for
            Kapp                    adequate assurance and address issues re same.

5/08/01     James W       0.20      Review adequate assurances requests.
            Kapp

5/09/01     James W       0.20      Review requests for adequate assurances and attend to
            Kapp                    issues re same.

5/09/01     Samuel A      0.90      Telephone conferences with the client re adequate
            Schwartz                assurances requests and organization of chart re same.

5/10/01     Samuel A      1.80      Drafting of several letters in response to utility company
            Schwartz                adequate assurances requests (1.2) and conferences with
                                    the client re same (.6).
5/29/01     Samuel A      1.20      Telephone conferences with various attorneys re utilities
            Schwartz                and adequate assurances of future performance and
                                    conferences with the client re same.

5/31/01     Samuel A      0.70      Telephone conferences with R. Johnson (.3) and R.
            Schwartz                Bindelglass (.2) re adequate assurances of future
                                    performance and meetings re same (.2).




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          Matter 16 –Asset Analysis and Recovery - Expenses



                Description                           Amount
  Telephone                                                    $5.60

  Secretarial Overtime                                     $37.32

  Overtime Meals - Attorney                                $46.16

  TOTAL                                                    $89.08




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              Matter 16 –Asset Analysis and Recovery - Itemized Expenses


Date        Amount    Description
5/01/01        0.62   Telephone call to: State of, DE 302-778-6442

5/01/01        0.62   Telephone call to: San Francisco, CA 415-989-5900

5/01/01        0.62   Telephone call to: Wilmington, DE 302-652-4100

5/01/01        0.62   Telephone call to: Columbia, MD 410-531-4213

5/01/01        0.83   Telephone call to: Cambridge, MA 617-498-4399

5/01/01        1.04   Telephone call to: Wilmington, DE 302-652-4100
5/01/01        1.25   Telephone call to: Miami, FL 305-682-7017

5/02/01       17.13   Marc Carmel - OT Meal f/S. Schwartz, 5.01.01

5/08/01       29.03   Marc Carmel - OT Meal f/S. Schwartz, 5.08.01

5/11/01       37.32   Crabb, Ba. - Secretarial Overtime




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Matter 17 - Automatic Stay Matters/Relief from Stay Proceedings - Expenses


                  Description                          Amount
    Telephone                                                   $1.66

    Overnight Delivery                                       $28.18

    Standard Copies                                             $3.40

    TOTAL                                                    $33.24




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  Matter 17 - Automatic Stay Matters/Relief from Stay Proceedings - Itemized Expenses


Date        Amount    Description
5/01/01        0.83   Telephone call to: State of, DE 302-778-6464

5/02/01       14.09   Fed Exp to: Columbia, MD from: Mailroom

5/02/01       14.09   Fed Exp to: Columbia, MD from: Mailroom

5/21/01        0.20   Standard Copies

5/21/01        3.20   Standard Copies

5/24/01        0.83   Telephone call to: Los Angeles, CA 213-624-2869




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                Matter 18 – Bankruptcy Filing - Expenses


                Description                           Amount
  Fax charges                                                  $0.75

  Outside Messenger                                         $20.00

  Secretarial Overtime                                     $102.63

  TOTAL                                                    $123.38




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                      Matter 18 – Bankruptcy Filing - Itemized Expenses


Date        Amount      Description
4/25/01      102.63     Goodyear, He. - Secretarial Overtime

5/03/01       20.00     Comet Messenger Services to: David Bernick

5/30/01        0.75     Fax page charge to 561-362-1583




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              Matter 20 – Case Administration - Expenses


                   Description                         Amount
  Telephone                                                $1,500.63

  Facsimile Charges                                         $515.78

  Standard Copies                                           $310.40

  Overnight Delivery                                        $388.28

  Tabs/Indexes/Dividers                                         $2.60

  Postage                                                       $2.83
  Outside Messenger                                          $41.00

  Outside Copy                                               $21.70

  Overtime Transportation                                    $83.62

  Court Services                                             $40.00

  Information Broker Doc/Svcs                               $544.15

  Library Document Procurement                               $60.00
  Computer Database Research                                $540.97

  Secretarial Overtime                                      $177.27

  TOTAL                                                    $4,229.23




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                  Matter 20 – Case Administration - Itemized Expenses


Date        Amount    Description
4/02/01        0.91   Telephone call to: New York, NY 212-403-5252

4/02/01        1.05   Telephone call to: New York, NY 212-310-8272

4/02/01        1.44   Telephone call to: New York, NY 212-947-5588

4/02/01        1.47   Telephone call to: Beverly Hills, CA 310-788-4400

4/02/01        1.62   Telephone call to: Los Angeles, CA 213-892-4000

4/02/01        3.57   West Publishing-TP,Database Usage 4.01
4/02/01       10.00   Library Document Procurement - Causal Factors in Cancer of the Lung.

4/02/01       10.00   Library Document Procurement - Textbook of Pulmonary Diseases.

4/02/01       10.00   Library Document Procurement - Handbook of Dangerous Materials, a/k/a
                      Dangerous Properties of Industrial Material.

4/02/01       10.00   Library Document Procurement - Occupational Diseases and Industrial
                      Medicine.

4/02/01       10.00   Library Document Procurement - Pulmonary Carcinoma: Pathogenesis
                      Diagnosis & Treatment.

4/03/01        6.95   Telephone call to: New York, NY 212-446-4800
4/03/01       19.37   Vital Transportation - Overtime Transportation, Daniel B Baglio


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Date        Amount    Description
4/03/01       36.34   Telephone call to: Chicago, IL 312-861-3400

4/04/01        7.06   Telephone call to: Chicago, IL 312-861-3177

4/04/01        7.37   Telephone call to: New York, NY 212-446-4800

4/04/01       10.74   Telephone call to: Chicago, IL 312-861-2000

4/04/01       18.34   Telephone call to: Montgomery, AL 334-260-2557

4/04/01       19.54   Telephone call to: New York, NY 212-310-8272
4/04/01       32.88   Telephone call to: Chicago, IL 312-861-3177

4/04/01       38.18   Telephone call to: New York, NY 212-313-9311

4/04/01       43.41   Telephone call to: New York, NY 212-310-8000

4/04/01       46.73   Telephone call to: Chicago, IL 312-861-3400

4/04/01       59.33   Telephone call to: New York, NY 212-310-8272

4/04/01      150.95   Telephone call to: Chicago, IL 312-861-3400
4/05/01        0.79   Fax phone charge to 410-531-4783

4/05/01        5.05   Telephone call to: Chicago, IL 312-953-7661

4/05/01       10.00   Library Document Procurement - American Journal of Public Health.

4/05/01       10.50   Fax page charge to 410-531-4783

4/05/01       19.37   Vital Transportation - Overtime Transportation, Daniel B Baglio

4/10/01        1.87   Trf telephone call to: Central, FL 561-362-1300
4/13/01       22.44   Lite Limousine Plus, Inc. - Overtime Transportation, N. Meyers, 4/3

4/19/01       33.83   Trf fax page charges to 410-531-4783 (8 faxes)

4/19/01      162.20   Choicepoint, Inc. - Information Broker Doc/Svcs, Documents requested by
                      the Bankruptcy Group

4/20/01        0.98   Fax phone charge to 410-531-4445

4/20/01        1.04   Telephone call to: Providence, RI 401-935-4414

4/20/01        1.25   Telephone call to: Boston, MA 617-426-5900


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Date        Amount    Description
4/20/01        1.36   Telephone call to: Cleveland, OH 216-586-3939

4/20/01        1.42   Telephone call to: Chicago, IL 312-520-2440

4/20/01        1.86   Telephone call to: Chicago, IL 312-902-5252

4/20/01        2.34   Telephone call to: New York, NY 212-326-1593

4/20/01        3.00   Fax page charge to 410-531-4445

4/20/01        3.00   Fax page charge to 410-531-4445
4/20/01        3.54   Telephone call to: New York, NY 212-538-7018

4/20/01        3.75   Fax page charge to 410-531-4445

4/20/01        4.08   Telephone call to: Chicago, IL 312-861-3400

4/20/01        6.75   Fax page charge to 410-531-4445

4/20/01        9.71   Telephone call to: Chicago, IL 312-286-1463

4/20/01       10.82   Fed Exp from:Info Quest,Auburn,AL to:Sue Ruhnke
4/20/01       22.44   Elite Limousine Plus, Inc. - Overtime Transportation, N. Meyers, 4/5

4/21/01        1.37   Telephone call to: Chicago, IL 312-286-1463

4/21/01        1.68   Telephone call to: Portland, ME 207-773-7934

4/21/01        4.29   Telephone call to: Glencoe, IL 847-835-3713

4/21/01        5.24   Telephone call to: Portland, ME 207-450-0792

4/23/01        3.75   Fax page charge to 751-6598
4/23/01        9.57   Fed Exp to: New York, NY from:Mailroom

4/23/01        9.57   Fed Exp to: Wilmington, DE from:Mailroom

4/23/01       10.24   Fed Exp to: Los Angeles, CA from:Mailroom

4/23/01       10.82   Fed Exp to: Boston, MA from: Mailroom

4/23/01       11.91   Fed Exp to: Columbia , MD from: Mailroom

4/27/01        1.37   Trf fax page charge to 305-374-7593

4/27/01       14.25   Trf fax page charge to 305-374-7593

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Date        Amount    Description
4/27/01       21.23   Fed Exp to: Sanibel, FL from: Mailroom

4/27/01       27.66   Trf fax page charges to 864-587-8446 (2 faxes)

4/27/01       27.99   Van Buskirk, La. - Secretarial Overtime

4/30/01        0.75   Fax Charge, April 2001

4/30/01        8.25   Trf fax page charges to 410-531-4783 (3 faxes)

4/30/01       28.96   NYPL Express - Information Broker Doc/Svcs, TA(26.75)NYPL Express
                      Charges-April 2001
4/30/01       29.14   OCLC, Inc. - Computer Database Research, OCLC Database usage April
                      2001

4/30/01       42.38   Fed Exp to: Wilmington, DE from: Mailroom

4/30/01       75.18   Reed Elsevier, Inc. - Computer Database Research, Lexis-Nexis database
                      usage April 2001

4/30/01      433.08   Reed Elsevier, Inc. - Computer Database Research, Lexis-Nexis database
                      usage April 2001

5/01/01        0.62   Telephone call to: San Mateo, CA 415-344-7000

5/01/01        0.75   Fax page charge to 212-806-6006
5/01/01        0.75   Fax page charge to 410-531-4783

5/01/01        0.75   Fax page charge to 212-450-3800

5/01/01        0.75   Fax page charge to 410-531-4414

5/01/01        1.04   Telephone call to: Columbia, MD 410-531-4360

5/01/01        1.50   Fax page charge to 302-652-4400

5/01/01        1.66   Telephone call to: Columbia, MD 410-531-4560
5/01/01        2.08   Fax phone charge to 212-880-1402

5/01/01        6.86   Fax phone charge to 410-531-4783

5/01/01        7.50   University of Chicago Library CHICAGO LIBRARY - Information Broker
                      Doc/Svcs, copy of article for A Running



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Date        Amount    Description
5/01/01        7.50   University of Chicago Library CHICAGO LIBRARY - Information Broker
                      Doc/Svcs, copy of article for A Running

5/01/01        7.50   University of Chicago Library CHICAGO LIBRARY - Information Broker
                      Doc/Svcs, copy of article for A Running

5/01/01        7.80   Fed Exp to: New York, NY from: Mailroom

5/01/01       12.30   Standard Copies

5/01/01       14.82   Fed Exp to: Philadelphia, PA from: Mailroom

5/01/01       21.00   Fax page charge to 410-531-4783
5/01/01       21.00   Fax page charge to 212-880-1402

5/01/01       45.19   Fed Exp to: New York, NY from:Mailroom

5/02/01        0.75   Fax page charge to 410-531-4414

5/02/01        0.75   Fax page charge to 212-806-6006

5/02/01        0.75   Fax page charge to 212-450-3800

5/02/01        0.75   Fax page charge to 410-531-4783
5/02/01        0.75   Fax page charge to 302-652-4400

5/02/01        0.92   Telephone call to: South Carolina 843-270-9663

5/02/01        4.50   Fax page charge to 973-966-1550

5/02/01        7.80   Fed Exp to: Philadelphia, PA from: Mailroom

5/03/01        0.62   Telephone call to: Central, FL 561-362-1932

5/03/01        0.83   Telephone call to: San, CA 650-849-5349
5/03/01        1.50   Fax page charge to 225-665-8071

5/03/01      100.20   Standard Copies

5/04/01        0.92   Telephone call to: South Carolina 843-720-4368

5/04/01        1.18   Fax phone charge to 410-531-4783

5/04/01        1.85   Telephone call to: South Carolina 843-270-9663



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5/04/01       13.50   Fax page charge to 223-2960

5/04/01       13.50   Fax page charge to 410-531-4783

5/07/01        1.04   Telephone call to: New York, NY 917-637-4000

5/07/01        3.33   Telephone call to: Summary, CA 858-799-3923

5/08/01        2.25   Fax page charge to 410-531-4461

5/08/01        7.44   Fed Exp to: Wilmington, DE from:Mailroom
5/08/01        7.44   Fed Exp to: Columbia, MD from:Mailroom

5/09/01        1.04   Telephone call to: Columbia, MD 410-531-4212

5/09/01        1.45   Telephone call to: Delaware 302-778-6442

5/09/01        1.57   Fax phone charge to 213-489-3930

5/09/01        1.66   Fax phone charge to 216-687-4189

5/09/01        7.50   Fax page charge to 216-687-4189
5/09/01       16.00   University of Minnesota- Information Broker Doc/Svcs, Copies of various
                      articles for several attorneys

5/09/01       21.00   Fax page charge to 213-489-3930

5/09/01       61.64   Receiver General of Canada - Information Broker Doc/Svcs 5/9/01 -
                      Research - Photocopies - International Journal of Health Services

5/10/01        0.40   Petty Cashier, Helen S. Ruhnke - Outside Copy/Binding Services, Copies,
                      4.23.01

5/10/01        0.62   Telephone call to: Broken Arrow, OK 918-254-3777

5/10/01        0.79   Fax phone charge to 410-531-4783
5/10/01        0.79   Fax phone charge to 305-374-7593

5/10/01        0.80   Tabs/Indexes/Dividers

5/10/01        1.00   Tabs/Indexes/Dividers

5/10/01        1.96   Fax phone charge to 703-762-5232

5/10/01        8.25   Fax page charge to 410-531-4783

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Date        Amount    Description
5/10/01        9.00   Fax page charge to 305-374-7593

5/10/01       21.30   Petty Cashier, Helen S. Ruhnke - Outside Copy/Binding Services, Copies,
                      4.20.01

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5/14/01        1.87   Telephone call to: Columbia, MD 410-531-4552

5/14/01       43.25   Choicepoint Services, Inc. - Information Broker Doc/Svcs, Court
                      Documents re: O.W. Office Warehouse v. Bruce Doniger, Bernard Kosser,
                      Michael Rouleau

5/14/01       55.98   Adams, Ke. - Secretarial Overtime

5/14/01      306.68   James H. Sprayregen - Telephone, Cingular stmt dtd 4.23.01
5/15/01        0.75   Fax page charge to 302-652-4400

5/15/01        0.75   Fax page charge to 302-652-4400

5/15/01        0.75   Fax page charge to 410-531-4783

5/15/01        1.25   Telephone call to: Glenburnie, MD 410-859-5055

5/15/01        1.50   Fax page charge to 410-859-1922

5/15/01       33.38   Fed Exp to: Wilmington, DE from:Mailroom
5/15/01       47.63   Fed Exp to: Wilmington, DE from:Mailroom

5/16/01        0.62   Telephone call to: Central, FL 561-362-1532

5/16/01        0.62   Telephone call to: Beverly Hills, CA 310-788-3220

5/16/01        0.98   Fax phone charge to 212-644-6755

5/16/01        1.04   Telephone call to: Delaware 302-778-6464

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Date        Amount    Description
5/16/01        2.08   Telephone call to: Columbia, MD 410-531-4284

5/16/01        2.55   Fax phone charge to 305-374-7593

5/16/01        3.00   Fax page charge to 419-891-3004

5/16/01       11.65   Fed Exp to: Denver, CO from:Mailroom

5/16/01       12.75   Fax page charge to 305-374-7593

5/16/01       12.75   Fax page charge to 212-806-6006
5/16/01       24.00   Fax page charge to 212-644-6755

5/16/01       55.98   Adams,Ke. - Secretarial Overtime

5/17/01        1.04   Telephone call to: Eastern, TN 423-756-6600

5/17/01        1.04   Fax phone charge to 302-652-4400

5/17/01        1.60   Postage

5/17/01        2.29   Telephone call to: New York, NY 212-479-6127
5/17/01        8.25   Fax page charge to 302-652-4400

5/17/01       14.40   Fed Exp to: Boca Raton, FL from: Mailroom

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5/18/01        0.62   Telephone call to: Columbia, MD 410-531-4213
5/18/01        0.75   Fax page charge to 410-531-4425

5/18/01        0.83   Telephone call to: Milwaukee, WI 414-899-8111

5/18/01        1.04   Telephone call to: Columbia, MD 410-531-4465

5/18/01        1.04   Telephone call to: Miami, FL 305-409-3500

5/18/01        1.04   Telephone call to: Wilmington, DE 302-657-4900

5/18/01        1.04   Telephone call to: Delaware 302-778-6464

5/18/01        1.66   Telephone call to: Eastern, MI 810-694-4417

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Date        Amount    Description
5/18/01        1.66   Telephone call to: Washington, DC 202-862-5081

5/18/01        1.66   Telephone call to: Columbia, MD 410-531-4795

5/18/01        1.87   Telephone call to: Columbia, MD 410-531-4284

5/18/01        2.25   Fax page charge to 410-531-4425

5/18/01        2.49   Telephone call to: Philadelphia, PA 215-597-5339

5/18/01        2.91   Telephone call to: Columbia, MD 410-531-4284
5/18/01        3.12   Telephone call to: Eastern, MI 810-341-9800

5/18/01        3.74   Telephone call to: Columbia, MD 410-531-4212

5/21/01        0.75   Fax page charge to 410-531-4445

5/21/01        0.83   Telephone call to: Delaware 302-778-6464

5/21/01        1.66   Telephone call to: Columbia, MD 410-531-4795

5/21/01        2.08   Telephone call to: New York, NY 212-806-5544
5/21/01        2.25   Fax page charge to 212-319-8344

5/21/01        2.49   Telephone call to: Denver, CO 303-866-0299

5/22/01        0.83   Telephone call to: Delaware 302-778-6464

5/22/01        0.83   Telephone call to: Columbia, MD 410-531-4284

5/22/01        7.80   Fed Exp to: Wilmington, DE from:Mailroom

5/22/01        9.57   Fed Exp from: Janice, Washington, DC to:Paul Szczechowiak
5/23/01        0.34   Postage

5/23/01        0.62   Telephone call to: Beverly Hills, CA 310-277-6910

5/23/01        0.75   Fax page charge to 410-531-4783

5/23/01        0.75   Fax page charge to 610-918-1361

5/23/01        0.83   Telephone call to: Delaware 302-778-6430

5/23/01        1.25   Telephone call to: Delaware 302-778-6417

5/23/01        1.66   Telephone call to: Philadelphia, PA 215-981-5850

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Date        Amount    Description
5/23/01        1.96   Fax phone charge to 302-654-2067

5/23/01        2.75   Fax phone charge to 305-374-7593

5/23/01        4.16   Telephone call to: Columbia, MD 410-531-4170

5/23/01       10.25   Comet Messenger Services to: KE-15848-0020

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5/23/01       16.50   Fax page charge to 305-374-7593

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                      Documents re: American Home Products v. Pattison

5/24/01        0.62   Telephone call to: Delaware 302-778-6464

5/24/01        1.04   Telephone call to: Columbia, MD 410-531-4284

5/24/01        1.04   Telephone call to: Delaware 302-778-6464
5/24/01        1.04   Telephone call to: Columbia, MD 410-531-4795

5/24/01        3.53   Telephone call to: Columbia, MD 410-531-4213

5/24/01       10.25   Comet Messenger Services to: A.A.

5/24/01      147.20   Janet Baer - Telephone Expense, Conference call re: litigation, 4.26.01

5/25/01        0.34   Postage

5/25/01        0.55   Postage
5/25/01        0.62   Telephone call to: Miami, FL 305-375-6156

5/25/01        0.75   Fax page charge to 212-806-6006

5/25/01        0.75   Fax page charge to 305-374-7593

5/25/01        0.83   Telephone call to: Columbia, MD 410-531-4191

5/25/01        0.83   Telephone call to: Columbia, MD 410-531-4795

5/25/01        1.04   Telephone call to: Central, NJ 732-750-7123


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Date        Amount    Description
5/25/01        1.18   Fax phone charge to 302-656-2769

5/25/01        1.37   Fax phone charge to 208-336-0003

5/25/01        1.45   Telephone call to: Columbia, MD 410-531-4795

5/25/01        1.66   Fax phone charge to 212-324-0906

5/25/01        3.75   Fax page charge to 410-531-4466

5/25/01        3.75   Fax page charge to 410-531-4414
5/25/01        6.75   Fax page charge to 212-324-0906

5/25/01       12.75   Fax page charge to 208-336-0003

5/25/01       12.75   Fax page charge to 302-656-2769

5/25/01       25.50   Fed Exp to: Miami, FL from: MAILROOM

5/29/01        0.59   Telephone call to: Washington, DC 202-256-3877

5/29/01        0.79   Telephone call to: Chicago, IL 312-726-4900
5/29/01        0.79   Telephone call to: Washington, DC 202-518-5530

5/29/01        1.04   Telephone call to: New York, NY 212-708-8041

5/29/01        1.04   Fax phone charge to 302-656-2769

5/29/01        1.25   Telephone call to: Cambridge, MA 617-498-4399

5/29/01        1.45   Fax phone charge to 208-336-0003

5/29/01        1.45   Telephone call to: Central, FL 561-362-1533
5/29/01        1.66   Telephone call to: Columbia, MD 410-531-4213

5/29/01        2.36   Telephone call to: Central, FL 561-362-1551

5/29/01        4.91   Telephone call to: Washington, DC 202-744-6750

5/29/01        5.72   Fed Exp to:David Carickhoff, Jr., Wilmington, DE from: MAILROOM

5/29/01        7.80   Fed Exp to: Wilmington, DE from: MAILROOM

5/29/01        9.00   Fax page charge to 302-656-2769

5/29/01        9.00   Fax page charge to 208-336-0003

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Date        Amount    Description
5/29/01       10.60   Telephone call to: Pittsburg, PA 412-721-7186

5/29/01       20.02   Telephone call to: Lewistown, PA 717-242-4617

5/30/01        1.96   Telephone call to: Chicago, IL 312-895-1330

5/30/01        7.80   Fed Exp to: Wilmington, DE from: MAILROOM

5/30/01       20.50   Comet Messenger Services to: KE-15848-0020

5/30/01      374.69   Samuel A Schwartz - Telephone, AT&T stmt dtd 5.7.01
5/31/01        0.62   Telephone call to: State of, DE 302-778-6464

5/31/01        0.62   Telephone call to: Columbia, MD 410-531-4213

5/31/01        0.62   Telephone call to: State Of, DE 302-778-6464

5/31/01        0.80   Tabs/Indexes/Dividers

5/31/01        0.83   Telephone call to: Columbia, MD 410-531-4552

5/31/01        1.45   Telephone call to: Minneapolis, MN 612-661-7501
5/31/01        2.29   Telephone call to: Columbia, MD 410-531-4213

5/31/01        2.49   Telephone call to: Columbia, MD 410-531-4283

5/31/01        2.49   Telephone call to: New York City, NY 212-806-5544

5/31/01        3.00   Fax page charge to 561-362-1323

5/31/01        3.53   Fax phone charge to 305-374-7593

5/31/01       12.00   Fax page charge to 302-573-6497
5/31/01       20.20   Standard Copies

5/31/01       24.00   Fax page charge to 305-374-7593

5/31/01       37.32   Crabb, Ba. - Secretarial Overtime

5/31/01       40.00   Calendar/Court Services 5/01




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    Matter 21 – Claim Estimate/Adversary Proceedings - Expenses


                Description                          Amount
  Telephone                                                   $0.83

  Standard Copies                                         $22.50

  Facsimile Charges                                       $45.08

  Binding                                                     $1.75

  Overnight Delivery                                      $10.50

  Information Broker Doc/Svcs                             $30.00
  Library Document Procurement                            $60.00


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            Court Services                                           $62.82
            TOTAL                                                   $233.48




          Matter 21 – Claim Estimate/Adversary Proceedings - Itemized Expenses


Date        Amount     Description

4/09/01         1.48   West Publishing-TP,Database Usage 4.01

4/11/01         0.84   West Publishing-TP,Database Usage 4.01

4/11/01         7.67   West Publishing-TP,Database Usage 4.01

4/13/01       11.40    Standard Copies

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Date        Amount    Description
4/13/01       20.35   West Publishing-TP,Database Usage 4.01

4/20/01       10.00   Library Document Procurement - Cardozo Law Review.

4/20/01       10.00   Library Document Procurement - Harvard Journal of Law & Public Policy.

4/20/01       10.00   Library Document Procurement - Guides to the Evaluation of Permanent
                      Impairment.

4/20/01       10.00   Library Document Procurement - Chest (1999).

4/20/01       10.00   Library Document Procurement - Pulmonary Function Tests in Clinical and
                      Occupational Lung Disease (1986).
4/20/01       10.00   Library Document Procurement - American Review of Respiratory Disease.

4/20/01       30.00   Auburn University Libraries - Information Broker Doc/Svcs, Interlibrary
                      loan for A. Running

4/24/01       32.48   West Publishing-TP,Database Usage 4.01

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5/01/01        3.00   Fax page charge to 410-531-4783

5/02/01       11.10   Standard Copies
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5/04/01        2.25   Fax page charge to 410-531-4783

5/04/01        3.00   Fax page charge to 410-531-4783

5/08/01        2.25   Fax page charge to 410-531-4783
5/09/01        1.75   Binding

5/10/01        0.75   Fax page charge to 410-531-4783

5/11/01        1.50   Fax page charge to 410-531-4783

5/11/01        1.50   Fax page charge to 410-531-4783

5/16/01        1.50   Fax page charge to 410-531-4783

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Date        Amount      Description
5/16/01       10.50     Fed Exp to: J. Finnegan, Beaverton, OR from: Mailroom

5/17/01        0.75     Fax page charge to 212-806-6006

5/21/01        2.25     Fax page charge to 212-806-6006

5/23/01        0.83     Fax phone charge to 410-531-4783

5/23/01        3.75     Fax page charge to 410-531-4783

5/23/01        3.75     Fax page charge to 410-531-4783
5/23/01        5.25     Fax page charge to 410-531-4783

5/30/01        2.25     Fax page charge to 410-531-4233

5/31/01        0.83     Telephone call to: New York City, NY 212-326-3100

5/31/01        3.00     Fax page charge to 561-362-1323




             Matter 22- Contested Matters/Adversary Proceedings- Expenses


                           Description                              Amount

            Telephone                                                    $576.45
            Facsimile Charges                                            $459.01

            Standard Copies                                            $2,116.90


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             Binding                                                       $38.50
             Tabs/Indexes/Dividers                                         $12.60

             Overnight Delivery                                           $143.45

             Outside Messenger                                             $55.87

             Library Document Procurement                                 $200.00

             Information Broker Doc/Svcs                                  $274.41

             Secretarial Overtime                                         $794.91
             Overtime Meals                                                $27.00

             Overtime Meals-Attorney                                       $15.00

             Overtime Transportation                                      $113.62

             Computer Database Research                                     $1.63

             TOTAL                                                       $4,829.35




          Matter 22- Contested Matters/Adversary Proceedings- Itemized Expenses


Date        Amount      Description
3/05/01        29.87    Trf fax page charges to 212-446-4900 (2 faxes)

4/02/01          2.41   Telephone call to: Chicago, IL 773-248-2044


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Date        Amount    Description
4/03/01        0.62   Telephone call to: Columbia, MD 410-531-4170

4/03/01        5.82   Telephone call to: Columbia, MD 410-531-4170

4/04/01        0.62   Telephone call to: Wilmington, DE 302-594-3100

4/05/01        1.44   Telephone call to: Chicago, IL 312-861-3400

4/05/01        1.52   Telephone call to: Chicago, IL 312-861-2248

4/05/01        1.54   Telephone call to: Wilmington, DE 302-652-4100
4/05/01        1.59   Telephone call to: Wilmington, DE 302-652-4100

4/05/01        3.59   Telephone call to: Chicago, IL 773-248-2044

4/05/01        3.92   Telephone call to: Chicago, IL 312-861-3400

4/05/01        4.93   Telephone call to: Wilmington, DE 302-652-4100

4/05/01       15.48   Telephone call to: Wilmington, DE 302-652-4100

4/06/01        4.58   Telephone call to: Chicago, IL 312-861-2068
4/10/01       10.00   Library Document Procurement - Journal of Industrial Hygiene.

4/11/01       10.00   Library Document Procurement - The Health & Safety of Workers.

4/11/01       10.00   Library Document Procurement - American Journal of Industrial Medicine
                      (1992).

4/11/01       10.00   Library Document Procurement - Medical History (10/98).

4/11/01       10.00   Library Document Procurement - British Journal of Industrial Medicine.

4/11/01       10.00   Library Document Procurement - International Journal of Health Services.
4/11/01       10.00   Library Document Procurement - the Health & Safety of Workers.

4/11/01       10.00   Library Document Procurement - American Journal of Industrial Medicine
                      (1992).

4/11/01       10.00   Library Document Procurement - American Journal of Industrial Medicine
                      (1995).

4/11/01       10.00   Library Document Procurement - British Journal of Industrial Medicine
                      (1990).


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Date        Amount    Description
4/11/01       10.00   Library Document Procurement - British Journal of Industrial Medicine
                      (1991).

4/12/01        1.03   Telephone call to: Chicago,IL 312-861-2248

4/12/01        1.63   West Publishing-TP,Database Usage 4.01

4/12/01        1.74   Telephone call to: Chicago,IL 773-248-2044

4/12/01        2.11   Telephone call to: Chicago,IL 312-861-3400

4/12/01        4.33   Telephone call to: Chicago,IL 312-861-3400
4/12/01        6.76   Telephone call to: Chicago,IL 312-861-3400

4/12/01        7.11   Telephone call to: New York,NY 212-506-3775

4/12/01       10.00   Library Document Procurement - Journal of the American Medical
                      Association (8/13/49).

4/12/01       10.00   Library Document Procurement - Social History of Medicine.

4/12/01       10.00   Library Document Procurement - Magistrini v. One Hour Martinizing,
                      96-4991 D NJ.

4/19/01       10.00   Library Document Procurement - New York: Josiah Macy Foundation,
                      1970.
4/23/01        8.68   Fed Exp from:Resource Sharing Service, Seattle, WA to: Kristi McLane

4/23/01       12.79   Fed Exp from: Resource Sharing Service, Seattle,WA to: Kristi McLane

4/23/01       32.71   Trf fax page charges to 212-841-5725 (2 faxes)

4/24/01       10.00   Library Document Procurement - 180 Scientific American 11.

4/24/01       10.00   Library Document Procurement - 28 Journal of Industrial Hygiene &
                      Toxicology 9.

4/25/01        1.66   Telephone call to: Boston, MA 617-556-0800
4/25/01        3.00   Trf fax page charge to 561-362-1970

4/25/01        3.00   Trf fax page charge to 410-531-4783

4/25/01        5.61   Telephone call to: Central,FL 561-362-1661



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Date        Amount    Description
4/25/01       10.00   Library Document Procurement - Sources and Modes of Infection (New
                      York: J. Wiley 1910).

4/25/01       10.00   Library Document Procurement - 285 New England Journal of Medicine
                      23.

4/25/01       10.00   Library Document Procurement - 283 New England Journal of Medicine
                      11.

4/26/01       10.54   Trf fax page charges to 650-849-5333 (2 faxes)

4/26/01       10.54   Trf fax page charges to 212-351-4035 (2 faxes)

4/27/01       10.82   Fed Exp to:Richard Finke Esq, Boca Raton, FL from: Tim Hardy
4/27/01       21.75   Trf fax page charge to 984-7700

4/27/01       23.71   Trf fax page charges to 212-735-2000 (2 faxes)

4/27/01       28.02   Trf fax page charges to 212-351-6246 (2 faxes)

4/30/01        8.26   UPS Dlvry to: W. R. Grace & Co. ,David B. Siegel Baltimore, MD from:
                      Mailroom

4/30/01        9.00   Overtime Meals Thompson, Susan L

4/30/01       14.82   Fed Exp to: Wilmington, DE from: Mailroom
4/30/01       20.50   Overtime Transportation Thompson, Susan L

4/30/01       28.51   Genesys Conferencing, INC. - Telephone, Conference call 4.27.01

4/30/01       86.35   Genesys Conferencing, INC. - Telephone, Conference call 4.30.01

4/30/01      121.29   Thompson, Su. - Secretarial Overtime

5/01/01        0.62   Telephone call to: Wilmington, DE 302-652-4100

5/01/01        0.83   Telephone call to: Central, FL 561-362-1533
5/01/01        1.04   Telephone call to: Columbia, MD 410-531-4203

5/01/01        1.04   Telephone call to: Central, FL 561-362-1533

5/01/01        1.04   Telephone call to: Wilmington, DE 302-652-4100

5/01/01        1.04   Telephone call to: Wilmington, DE 302-652-4100


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Date        Amount    Description
5/01/01        1.66   Telephone call to: Wilmington, DE 302-652-4100

5/01/01        1.66   Telephone call to: Seattle, WA 206-624-7990

5/01/01        1.66   Telephone call to: Columbia, MD 410-531-4023

5/01/01        3.95   Telephone call to: Columbia, MD 410-531-4170

5/01/01        4.57   Telephone call to: Columbia, MD 410-531-4203

5/01/01        5.90   Standard Copies
5/01/01        9.13   UPS Dlvry to: Perkins Coie, LLP ,Steve Sacks, San Francisco, CA from:
                      Scott A McMillin

5/01/01       12.30   Standard Copies

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5/01/01       15.00   Comet Messenger Services to: David Bernick

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5/01/01       27.46   Trf fax page charges to 901-820-2061 (4 faxes)
5/01/01       30.00   Janet Baer - OT Trans. 5.01.01

5/01/01       74.64   Thompson,Su. - Secretarial Overtime

5/02/01        0.20   Standard Copies

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5/02/01        0.90   Tabs/Indexes/Dividers

5/02/01        0.90   Standard Copies

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5/02/01        1.60   Standard Copies


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Date        Amount    Description
5/02/01        1.75   Binding

5/02/01        1.75   Binding

5/02/01        1.80   Standard Copies

5/02/01        1.90   Standard Copies

5/02/01        2.49   Telephone call to: Central, FL 561-362-1533

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5/02/01        3.75   Fax page charge to 843-722-8700

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Date        Amount    Description
5/03/01        1.25   Telephone call to: New York City, NY 212-530-1862

5/03/01        1.50   Fax page charge to 303-312-7331

5/03/01        2.29   Telephone call to: San, CA 650-849-5345

5/03/01        3.95   Telephone call to: Jackson, MS 601-352-8646

5/03/01        9.13   UPS Dlvry to: Perkins Coie, LLP ,Steve Sacks, San Francisco, CA from:
                      Scott A McMillin

5/04/01        0.62   Telephone call to: Eastern, TN 423-413-9320
5/04/01        0.62   Telephone call to: San Mateo, CA 415-344-7001

5/04/01        0.62   Telephone call to: Columbia, MD 410-531-4362

5/04/01        0.62   Telephone call to: State of, DE 302-778-6404

5/04/01        1.04   Telephone call to: State Of, DE 302-778-6404

5/04/01        2.49   Telephone call to: Santa Barbara, CA 805-240-9483

5/04/01        8.06   Capital Transit- Outside Messenger Services - 4/24/2001
5/04/01        9.15   Telephone call to: Washington, DC 202-514-5409

5/05/01       10.00   United Parcel Service - Overnight Delivery, Address Correction Fee for
                      Package Sent for S. McMillin on 5/4/01.

5/06/01        1.11   Telephone call to: Washington, DC 202-879-5014

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5/07/01        3.23   Andrew R Running - Fax Charge, 5.4.01 (Fax sent while out of office)

5/07/01        5.20   Telephone call to: North Dade, FL 305-624-2456



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Date        Amount    Description
5/07/01        8.50   Standard Copies

5/07/01       37.32   Crabb, Ba. - Secretarial Overtime

5/07/01       65.31   Crabb, Ba. - Secretarial Overtime

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5/08/01        1.04   Telephone call to: Wilmington, DE 302-888-6258

5/08/01        4.16   Telephone call to: Columbia, MD 410-531-4203
5/08/01        7.00   Janet Baer -OT Trans. 5.08.01

5/08/01        7.05   Telephone call to: Hinsdale, IL 630-654-9318

5/09/01        0.62   Telephone call to: State of, DE 302-778-6404

5/09/01        0.86   Telephone call to: Leesburg, VA 703-729-8543

5/09/01        1.56   Telephone call to: Hinsdale, IL 630-920-8888

5/09/01        1.82   Telephone call to: Boca Raton, FL 561-362-1533
5/09/01        2.29   Telephone call to: Central, MN 651-296-7744

5/09/01      274.41   Receiver General of Canada - Information Broker Doc/Svcs 5/9/01 -
                      Research - Photocopies - The Journal Industrial Hygiene and the American
                      Journal of Industrial Medicine

5/10/01        0.62   Telephone call to: Tampa, FL 813-223-7000

5/10/01        0.62   Telephone call to: Denver, CO 303-312-7376

5/10/01        0.62   Telephone call to: Miami, FL 305-375-6156

5/10/01        1.87   Telephone call to: Tulsa, OK 918-591-1009
5/10/01        2.08   Telephone call to: Bronx, NY 212-885-4695

5/10/01        3.12   Telephone call to: New York City, NY 212-595-8992

5/10/01        4.16   Telephone call to: Bronx, NY 212-885-4695

5/10/01        4.50   Fax page charge to 305-374-7593

5/10/01       10.18   Telephone call to: Jackson, MS 601-352-8646



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Date        Amount    Description
5/10/01       11.02   Telephone call to: Jackson, MS 601-352-8646

5/10/01       11.91   Fed Exp to: Resource Sharing Service, Seattle,WA from: Kristi McLane

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5/14/01        1.45   Telephone call to: Los Angeles, CA 213-624-2869
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5/14/01        9.56   Telephone call to: Central, FL 561-362-1533

5/15/01        0.62   Telephone call to: New York City, NY 212-735-3000

5/15/01        1.04   Fax phone charge to 843-722-8700

5/15/01        1.04   Fax phone charge to 410-531-4233
5/15/01        1.25   Fax phone charge to 305-374-7593

5/15/01        1.50   Fax page charge to 410-531-4233

5/15/01        1.50   Fax page charge to 843-722-8700

5/15/01        2.08   Telephone call to: Detroit, MI 313-568-6748

5/15/01        3.00   Fax page charge to 305-374-7593

5/15/01        3.00   Fax page charge to 212-644-6755

5/15/01        3.00   Fax page charge to 212-806-6006

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Date        Amount    Description
5/15/01        7.50   Fax page charge to 410-531-4233

5/15/01        7.50   Fax page charge to 843-722-8700

5/16/01        0.62   Telephone call to: Los Angeles, CA 213-624-2869

5/16/01        0.79   Fax phone charge to 410-531-4233

5/16/01        0.98   Fax phone charge to 303-866-0200

5/16/01        1.25   Telephone call to: State of, DE 302-778-6464
5/16/01        1.45   Telephone call to: Denver, CO 303-866-0457

5/16/01        1.45   Telephone call to: Oklahoma City, OK 405-272-1928

5/16/01        1.66   Telephone call to: Cleveland, OH 216-522-1037

5/16/01        2.29   Telephone call to: Columbia, MD 410-531-4170

5/16/01        2.29   Telephone call to: Columbia, MD 410-531-4213

5/16/01        2.49   Telephone call to: Columbia, MD 410-531-4751
5/16/01        3.00   Fax page charge to 212-351-4035

5/16/01        3.00   Fax page charge to 405-239-7902

5/16/01        4.57   Telephone call to: Oklahoma City, OK 405-272-1963

5/16/01       10.50   Fax page charge to 303-866-0200

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5/16/01       21.75   Fax page charge to 410-531-4233
5/17/01        0.62   Telephone call to: Eastern, TN 423-413-9320

5/17/01        0.83   Telephone call to: Washington, DC 202-204-3720

5/17/01        1.04   Telephone call to: Bronx, NY 212-885-4695

5/17/01        1.87   Telephone call to: Central, FL 561-362-1533

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5/18/01        2.29   Telephone call to: Central, FL 561-362-1532

5/18/01        7.50   Standard Copies

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Date        Amount    Description
5/19/01        9.00   Overtime Meals Thompson, Susan L

5/19/01       28.06   Overtime Transportation Thompson, Susan L

5/19/01      205.26   Thompson, Su. - Secretarial Overtime

5/21/01        1.66   Telephone call to: Columbia, MD 410-531-4000

5/21/01        3.00   Fax page charge to 918-591-7009

5/21/01        5.40   Telephone call to: Central, FL 561-362-1551
5/21/01        6.00   Fax page charge to 212-903-3949

5/22/01        0.62   Telephone call to: Providence, RI 401-275-2400

5/22/01        0.83   Fax phone charge to 410-531-4783

5/22/01        0.83   Telephone call to: Bronx, NY 212-885-4695

5/22/01        3.74   Telephone call to: Central, FL 561-362-1533

5/22/01        4.36   Telephone call to: Central, FL 561-362-1533
5/22/01        6.00   Fax page charge to 410-531-4783

5/22/01       22.75   Janet Baer - Telephone Expense, Cingular Wireless stmt dtd 4.19.01

5/22/01      229.50   Standard Copies

5/23/01        0.62   Telephone call to: New Port Beach,CA 949-863-4058

5/23/01        0.62   Telephone call to: Eastern, TN 423-697-8217

5/23/01        1.04   Telephone call to: Los Angeles, CA 213-624-2869
5/23/01        1.66   Telephone call to: Central, FL 561-362-1532

5/23/01        2.70   Telephone call to: Cleveland, OH 216-622-5503

5/23/01        3.74   Telephone call to: Providence, RI 401-275-2400

5/23/01        5.50   Standard Copies

5/24/01        0.62   Telephone call to: Philadelphia, PA 215-977-2670

5/24/01        2.20   Standard Copies

5/24/01        3.33   Telephone call to: New York City, NY 212-416-3135

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Date        Amount    Description
5/24/01        3.90   Standard Copies

5/25/01        0.83   Telephone call to: San Diego, CA 619-544-3223

5/25/01        2.49   Telephone call to: SE Part, FL 954-341-9088

5/25/01        3.00   Standard Copies

5/25/01        3.33   Telephone call to: State of,OR 503-350-5970

5/25/01        8.06   Capital Transit - Outside Messenger Services - 5/17/2001
5/25/01        8.41   UPS Dlvry to: Pachulski Stang Ziehl Young & ,David Carickhoff,
                      Wilmington, DE from:Scott A McMillin

5/25/01       24.75   Comet Messenger Services to: Bernick Residence

5/25/01       57.20   Standard Copies

5/26/01        9.00   Overtime Meals Thompson, Susan L

5/26/01       28.06   Overtime Transportation Thompson, Susan L

5/26/01      149.28   Thompson, Su. - Secretarial Overtime
5/29/01        0.62   Telephone call to: Tampa, FL 813-223-7000

5/29/01        0.98   Fax phone charge to 302-652-4400

5/29/01        1.18   Fax phone charge to 213-489-3930

5/29/01        1.25   Fax phone charge to 212-903-3949

5/29/01        1.63   Telephone call to: Chicago, IL 312-861-2157

5/29/01        2.49   Telephone call to: Mineapolis, MN 612-373-6864
5/29/01       13.50   Fax page charge to 302-652-4400

5/29/01       13.50   Fax page charge to 213-489-3930

5/29/01       14.25   Fax page charge to 212-903-3949

5/29/01       39.50   UPS Dlvry to: Pachulski Stang Ziehl Young & ,David Carickhoff,
                      Wilmington,DE from: Scott A McMillin

5/29/01      202.70   Standard Copies



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Date        Amount    Description
5/29/01      298.40   Standard Copies

5/29/01      639.10   Standard Copies

5/30/01        1.50   Fax page charge to 260-1724

5/30/01        4.50   Fax page charge to 302-658-5614

5/30/01       76.50   Hackhel, N. - Secretarial Overtime

5/31/01        0.62   Telephone call to: Los Angeles, CA 213-624-2869
5/31/01        0.62   Telephone call to: Central, FL 561-362-1533

5/31/01        0.62   Telephone call to: Madison, WI 608-244-1934

5/31/01        0.98   Fax phone charge to 843-722-8700

5/31/01        1.18   Fax phone charge to 410-531-4233

5/31/01        1.25   Telephone call to: Chino Valley, AZ 602-636-2013

5/31/01        1.57   Fax phone charge to 305-374-7593
5/31/01        1.57   Fax phone charge to 212-735-2000

5/31/01        2.40   Standard Copies

5/31/01       15.00   Samuel A Schwartz - Overtime Meals - Attorney, 5.30.01

5/31/01       21.00   Fax page charge to 212-735-2000

5/31/01       21.00   Fax page charge to 305-374-7593

5/31/01       25.50   Fax page charge to 410-531-4233
5/31/01       25.50   Fax page charge to 843-722-8700

5/31/01       65.31   Crabb, Ba. - Secretarial Overtime

5/31/01      154.21   Janet Baer - Telephone Expense, Cingular Wireless stmt dtd 3.19 &
                      5.19.01

5/31/01      258.30   Standard Copies




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              Matter 24 – Creditors Committee - Expenses


                   Description                         Amount
  Telephone                                                 $13.91

  Court Services                                            $10.00

  Secretarial Overtime                                     $373.20

  TOTAL                                                    $397.11




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                 Matter 24 – Creditors Committee - Itemized Expenses


Date        Amount    Description
5/01/01        0.62   Telephone call to: New York City, NY 212-806-5422

5/01/01        0.83   Telephone call to: Columbia, MD 410-531-4191

5/01/01        2.08   Telephone call to: New York City, NY 212-806-5422

5/01/01       65.31   Crabb, B. - Secretarial Overtime

5/02/01        0.62   Telephone call to: Yakima, WA 509-457-8892

5/02/01        0.62   Telephone call to: New York City, NY 212-806-5422
5/08/01        0.62   Telephone call to: New York City, NY 212-806-5422

5/08/01       37.32   Crabb, B. - Secretarial Overtime

5/08/01       65.31   Crabb, B. - Secretarial Overtime

5/09/01        0.83   Telephone call to: State of OR 503-350-5882

5/09/01        1.04   Telephone call to: Central, FL 561-362-1532

5/09/01        1.04   Telephone call to: New York City , NY 212-847-5370
5/09/01        1.25   Telephone call to: Beverly Hills, CA 310-203-4261

5/21/01        1.87   Telephone call to: Columbia, MD 410-531-4191

5/21/01       37.32   Crabb, B. - Secretarial Overtime

5/21/01       65.31   Crabb, B. - Secretarial Overtime

5/22/01       37.32   Crabb, B. - Secretarial Overtime

5/22/01       65.31   Crabb, B. - Secretarial Overtime
5/23/01        2.49   Telephone call to: Columbia, MD 410-531-4191


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Date        Amount      Description
5/31/01       10.00     Calendar/Court Services 5/01




                 Matter 25 – Creditors/Shareholders Inquiries - Expenses


                           Description                            Amount

            Telephone                                                      $8.84

            TOTAL                                                          $8.84




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             Matter 25 – Creditors/Shareholders Inquiries - Itemized Expenses


Date        Amount    Description
5/03/01        0.62   Telephone call to: Albany, NY 518-487-4503

5/03/01        1.80   Telephone call to: UK 011-441246299700

5/08/01        0.62   Telephone call to: Western, MD 240-456-3160

5/08/01        0.62   Telephone call to: Yorktown Heights, NY 914-245-0200

5/08/01        0.62   Telephone call to: Around Detroit, MI 734-662-3133

5/09/01        0.62   Telephone call to: Columbia, MD 410-531-4284
5/09/01        1.45   Telephone call to: New York City, NY 212-715-9169

5/14/01        0.83   Telephone call to: Dayton, OH 513-455-2360

5/17/01        1.66   Telephone call to: New York City, NY 212-752-6104




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          Matter 26- DIP Financing/Cash Collateral- Expenses


                Description                           Amount
  Telephone                                                $36.22

  Facsimile Charges                                       $200.11

  Standard Copies                                         $117.75

  Overnight Delivery                                           $8.01

  Information Broker Doc/Svcs                          $27,236.16

  Overtime Transportation                                  $90.23
  Overtime Meals                                           $36.00

  Secretarial Overtime                                    $270.57

  Computer Database Research                               $36.25

  TOTAL                                                $28,031.30




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              Matter 26- DIP Financing/Cash Collateral- Itemized Expenses


Date        Amount    Description
4/02/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, TX

4/02/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, CA

4/02/01       39.24   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(36.25)Lien/Litigation work, CO

4/02/01       39.24   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(36.25)Lien/Litigation work, CO

4/02/01       39.24   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(36.25)Lien/Litigation work, CO

4/02/01       39.24   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(36.25)Lien/Litigation work, CO
4/02/01       39.24   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(36.25)Lien/Litigation work, CO


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Date        Amount    Description
4/02/01       39.24   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(36.25)Lien/Litigation work, CO

4/02/01       39.24   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(36.25)Lien/Litigation work, CO

4/02/01       44.65   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(41.25)Lien/Litigation work, CT

4/02/01       50.06   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(46.25)Lien/Litigation work, LA

4/02/01       77.66   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(71.75)Lien/Litigation work, CO

4/02/01       78.73   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(63.50)Document Retrieval work, DC
4/02/01       91.72   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(75.50)Document Retrieval work, GA

4/02/01      137.20   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(126.75)Lien/Litigation work, DC

4/03/01        9.00   Overtime Meals - Baglio,Daniel B

4/03/01       28.41   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(26.25)Lien/Litigation work, MT

4/03/01       30.58   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(28.25)Lien/Litigation work, NY

4/03/01       30.58   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(28.25)Lien/Litigation work, NY
4/03/01       49.25   Corporation Service Company - Information Broker Doc/Svcs, TA(45.50)
                      Document Retrieval work in Montana

4/03/01       50.87   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(47.00)Lien/Litigation work, MD

4/03/01       62.24   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(57.50)Lien/Litigation work, GA



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Date        Amount    Description
4/03/01       66.30   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(61.25)Lien/Litigation work, FL

4/03/01      106.89   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(98.75)Lien/Litigation work, GA

4/03/01      133.73   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(63.50)Document Retrieval work, CT

4/04/01        9.00   Overtime Meals - Baglio,Daniel B

4/04/01      101.21   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(93.50)Lien/Litigation work, MI

4/05/01       49.25   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(45.50)Document Retrieval work, LA
4/05/01       73.06   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(67.50)Lien/Litigation work, MS

4/09/01       49.25   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(45.50)Document Retrieval work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD
4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD



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Date        Amount    Description
4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD
4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(23.00)Lien/Litigation work, MD
4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD


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Date        Amount    Description
4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD
4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD
4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD


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Date        Amount    Description
4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD
4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(23.00)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD
4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/10/01       46.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(42.50)Lien/Litigation work, MD


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Date        Amount     Description
4/10/01       46.00    Corporation Service Company - Information Broker Doc/Svcs,
                       TA(42.50)Lien/Litigation work, MD

4/10/01       73.06    Corporation Service Company - Information Broker Doc/Svcs,
                       TA(67.50)Lien/Litigation work, MD

4/18/01         1.50   Overtime Transportation - Valeri, Christopher J

4/18/01         9.00   Overtime Meals - Valeri, Christopher J

4/20/01         9.00   Overtime Meals - Valeri, Christopher J

4/20/01       24.48    Elite Limousine Plus, Inc. - Overtime Transportation, N. Meyers, 4/10
4/24/01     10,795.7   Corporation Service Company - Information Broker Doc/Svcs,
                   7   TA(9973.00) Document Retrieval, 4.2.01

4/25/01     10,997.9   Corporation Service Company - Information Broker Doc/Svcs,
                   3   TA(10159.75) Document Retrieval, 4.25.01

4/27/01       37.32    Crabb, Ba. - Secretarial Overtime

4/27/01       44.88    Elite Limousine Plus, Inc. - Overtime Transportation, N Meyers, 4/17/01,
                       4/18/01

4/27/01       65.31    Crabb,Ba. - Secretarial Overtime

4/30/01       36.25    Global Securities Information, Inc. - Computer Database Research,
                       Livedgar database usage April 2001
4/30/01       37.32    Crabb,Ba. - Secretarial Overtime

4/30/01       65.31    Crabb,Ba. - Secretarial Overtime

5/01/01         0.59   Telephone call to: Wilmington, DE 302-652-4100

5/01/01         1.04   Telephone call to: Columbia, MD 410-531-4185

5/01/01         2.08   Telephone call to: New York, NY 212-583-5388

5/01/01       10.18    Telephone call to: Columbia, MD 410-531-4185
5/01/01       32.47    Corporation Service Company - Information Broker Doc/Svcs,
                       TA(30.00)Document Retrieval work, DE




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Date        Amount     Description
5/01/01       32.47    Corporation Service Company - Information Broker Doc/Svcs,
                       TA(30.00)Document Retrieval work, DE

5/01/01       32.47    Corporation Service Company - Information Broker Doc/Svcs,
                       TA(30.00)Document Retrieval work, DE

5/01/01       32.47    Corporation Service Company - Information Broker Doc/Svcs,
                       TA(30.00)Document Retrieval work, DE

5/02/01         0.62   Telephone call to: New York, NY 212-583-5388

5/02/01         0.79   Telephone call to: St. Paul, VA 703-762-5191

5/02/01         2.08   Telephone call to: New York, NY 212-583-5388
5/02/01       65.31    Crabb,Ba. - Secretarial Overtime

5/03/01         0.60   Standard Copies

5/03/01         0.98   Fax phone charge to 410-531-4783

5/03/01         0.98   Telephone call to: Columbia, MD 410-531-4783

5/03/01         0.98   Fax phone charge to 410-531-4783

5/03/01         3.00   Fax page charge to 410-531-4783
5/03/01         8.01   Fed Exp to: W. Brian McGowan, Columbia, MD from:Mailroom

5/03/01       10.35    Standard Copies

5/03/01       14.25    Fax page charge to 410-531-4783

5/03/01       14.25    Fax page charge to 410-531-4783

5/03/01       18.45    Standard Copies

5/03/01       19.37    Vital Transportation - Overtime Transportation, Nyika O Prendergast
5/03/01     2,342.20   Corporation Service Company - Information Broker Doc/Svcs,
                       TA(2163.70)Lien/Litigation work, AL

5/07/01       15.90    Fax phone charge to 312-993-9767

5/07/01       42.75    Standard Copies

5/07/01      147.75    Fax page charge to 312-993-9767


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Date        Amount    Description
5/09/01        8.82   Lena Mandel - Telephone charges, AT&T Stmt, 5/4/01

5/10/01        0.59   Telephone call to: Wilmington, DE 302-652-4100

5/10/01        0.59   Telephone call to: Wilmington, DE 302-652-4100

5/10/01        2.75   Telephone call to: Atlanta, GA 678-624-7736

5/11/01        0.98   Telephone call to: Wilmington, DE 302-652-4100

5/11/01        1.77   Telephone call to: Columbia, MD 410-531-4560
5/14/01       27.60   Standard Copies

5/16/01        0.79   Telephone call to: Columbia, MD 410-531-4795

5/16/01        0.98   Telephone call to: Chicago, IL 312-876-7712

5/21/01        0.59   Telephone call to: Columbia, MD 410-531-4222

5/21/01        0.60   Standard Copies

5/21/01        3.00   Fax page charge to 410-531-4783
5/21/01        9.90   Standard Copies

5/24/01        7.50   Standard Copies




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                Matter 27 –Employee Matters -Expenses


                Description                           Amount
  Telephone                                                $32.82

  Tabs                                                     $10.80

  Standard Copies                                         $324.90

  Overnight Delivery                                       $14.82

  Overtime Transportation                                      $6.50

  Secretarial Overtime                                    $130.62
  TOTAL                                                   $520.46




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                      Matter 27 –Employee Matters -Itemized Expenses


Date        Amount     Description
5/01/01        0.62    Telephone call to: Wilmington, DE 302-654-1888

5/01/01        0.83    Telephone call to: Columbia, MD 410-531-4236

5/02/01        0.62    Telephone call to: Eastern, MD 410-336-0713

5/02/01        3.12    Telephone call to: Columbia, MD 410-531-4236

5/02/01        4.40    Tabs/Indexes/Dividers

5/02/01        6.40    Tabs/Indexes/Dividers
5/02/01       14.82    Fed Exp to: Wilmington, DE from: Mailroom

5/02/01       98.80    Standard Copies

5/02/01      158.40    Standard Copies

5/03/01        1.87    Telephone call to: Columbia, MD 410-531-4236

5/04/01        3.12    Telephone call to: Columbia, MD 410-531-4236

5/08/01        3.74    Telephone call to: Columbia, MD 410-531-4236
5/10/01        1.45    Telephone call to: New York, NY 212-980-4084

5/10/01        6.50    Roger J Higgins - OT Trans. 5.09.01

5/11/01        0.62    Telephone call to: Delaware 302-778-6464

5/11/01        0.62    Telephone call to: Columbia, MD 410-531-4170

5/11/01        0.62    Telephone call to: New York, NY 212-806-5422

5/11/01        2.29    Telephone call to: Columbia, MD 410-531-4191
5/11/01       65.31    Crabb,Ba. - Secretarial Overtime

5/14/01        1.04    Telephone call to: Eastern, MO 573-817-0500

5/14/01        2.49    Telephone call to: Delaware 302-778-6464

5/14/01       65.31    Crabb, Ba. - Secretarial Overtime


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Date        Amount    Description
5/14/01       67.70   Standard Copies

5/15/01        1.25   Telephone call to: Columbia, MD 410-531-4236

5/16/01        1.04   Telephone call to: Delaware 302-778-6464

5/16/01        2.08   Telephone call to: Columbia, MD 410-531-4191

5/18/01        1.25   Telephone call to: Wilmington, DE 302-657-4900

5/21/01        0.83   Telephone call to: Columbia, MD 410-531-4236
5/25/01        0.83   Telephone call to: Miami, FL 305-375-6156

5/25/01        0.83   Telephone call to: New York, NY 212-806-5544

5/25/01        1.04   Telephone call to: Miami, FL 305-375-6156

5/31/01        0.62   Telephone call to: Cenral, FL 561-362-1661




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              Matter 28 – Environmental Issues - Expenses


                Description                           Amount
  Telephone                                                  $32.29

  Facsimile Charges                                          $30.00

  Standard Copies                                            $34.70

  Overtime Meals-Attorney                                    $20.75

  Overtime Transportation                                    $42.52

  Local Transportation                                       $45.05
  Computer Database Research                                $959.52

  TOTAL                                                 $1,164.83




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                 Matter 28 – Environmental Issues - Itemized Expenses


Date        Amount    Description
4/03/01       12.30   West Publishing-TP,Database Usage 4.01

4/04/01       22.89   West Publishing-TP,Database Usage 4.01

4/10/01       51.41   West Publishing-TP,Database Usage 4.01

4/11/01       75.01   West Publishing-TP,Database Usage 4.01

4/12/01       17.95   West Publishing-TP,Database Usage 4.01

4/16/01       41.63   West Publishing-TP,Database Usage 4.01
4/18/01       74.84   West Publishing-TP,Database Usage 4.01

4/19/01      150.06   West Publishing-TP,Database Usage 4.01

4/20/01       38.33   West Publishing-TP,Database Usage 4.01

4/23/01      102.54   West Publishing-TP,Database Usage 4.01

4/26/01       29.21   West Publishing-TP,Database Usage 4.01

4/27/01        4.95   West Publishing-TP,Database Usage 4.01
4/30/01      338.40   Reed Elseview, Inc. - Computer Database Research - 4/2001

5/01/01        0.10   Standard Copies

5/01/01        0.80   Standard Copies

5/01/01        0.80   Standard Copies

5/01/01        7.84   Telephone call to: South Carolina 843-720-4368

5/03/01        0.30   Standard Copies


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Date        Amount    Description
5/03/01        0.80   Standard Copies

5/04/01        2.70   Standard Copies

5/07/01        1.38   Telephone call to: Denver, CO 303-861-7000

5/07/01        2.31   Telephone call to: Denver, CO 303-861-7000

5/07/01        5.40   Standard Copies

5/08/01        3.30   Standard Copies
5/08/01       20.75   David A Codevilla - Overtime Meals - Attorney-05/04/01-OT Dinner

5/09/01        1.50   Fax page charge to 703-729-8587

5/11/01        0.92   Telephone call to: Eastern, TN 423-697-8217

5/14/01        0.40   Standard Copies

5/14/01        0.60   Standard Copies

5/14/01        0.80   Standard Copies
5/15/01        0.92   Telephone call to: Wilmington, DE 302-656-8162

5/15/01        1.85   Telephone call to: Wilmington, DE 302-656-8162

5/15/01       28.52   Red Top Cab Company - Overtime transportation, 5/4/01

5/16/01        0.40   Standard Copies

5/16/01        0.90   Standard Copies

5/16/01        0.90   Standard Copies
5/16/01        1.80   Standard Copies

5/16/01        1.85   Telephone call to: Columbia, MD 410-531-4210

5/16/01        2.40   Standard Copies

5/16/01        2.80   Standard Copies

5/16/01        8.31   Telephone call to: Columbia, MD 410-531-4751

5/17/01        0.75   Fax page charge to 281-364-6345

5/17/01        0.90   Standard Copies

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Date        Amount    Description
5/17/01        0.92   Telephone call to: North West, SC 864-242-8247

5/17/01        0.92   Telephone call to: Eastern, TN 423-697-8217

5/17/01        1.00   Standard Copies

5/17/01        1.00   Standard Copies

5/17/01        3.00   Standard Copies

5/17/01        6.75   Fax page charge to 281-364-6345
5/17/01        6.75   Fax page charge to 208-336-0003

5/17/01        7.50   Fax page charge to 208-336-0003

5/17/01        8.00   Janet Baer - OT Trans. 5.17.01

5/18/01        6.75   Fax page charge to 410-531-4783

5/21/01        0.40   Standard Copies

5/21/01        2.10   Standard Copies
5/21/01        4.15   Telephone call to: Eastern, TN 423-413-9320

5/21/01       14.00   Andrew Oliver - Local Transportation-05/18/01- Parking in Baltimore

5/21/01       31.05   Andrew Oliver - Local Transportation-05/18/01- Meeting in Baltimore.
                      Mileage expense 90 miles @ .345. with W. R. Grace, Mark Grummer and
                      Lydia Duff

5/22/01        0.90   Standard Copies

5/23/01        0.92   Telephone call to: Columbia, MD 410-531-4210

5/25/01        0.20   Standard Copies
5/29/01        6.00   Janet Baer - OT Trans. 5.23.01




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                  Matter 30- Hearings- Expenses


              Description                          Amount
  Telephone                                                 $0.62

  TOTAL                                                     $0.62




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                         Matter 30- Hearings- Itemized Expenses


Date        Amount    Description
5/01/01        0.62   Telephone call to: Delaware 302-778-6464




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      Matter 32- K&E Fee Application, Preparation of- Expenses


                Description                           Amount
  Telephone                                                    $0.62

  Overnight Delivery                                       $10.76

  Overtime Transportation                                  $10.50

  Secretarial Overtime                                    $180.06

  TOTAL                                                   $201.94




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            Matter 32- K&E Fee Application, Preparation of- Itemized Expenses


Date        Amount    Description
5/24/01       65.31   Crabb, Ba. - Secretarial Overtime

5/25/01      114.75   McGrath, K. - Secretarial Overtime

5/29/01        0.62   Telephone call to: Delaware 302-778-6464

5/29/01       10.50   Roger J Higgins - OT Trans. 5.26.01

5/29/01       10.76   Fed Exp to: Fackler, AL from: MAILROOM




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              Matter 33- Lease Rejection Claims- Expenses


                Description                           Amount
  Telephone                                                 $12.25

  Facsimile charge                                          $30.83

  TOTAL                                                     $43.08




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                 Matter 33- Lease Rejection Claims- Itemized Expenses


Date        Amount    Description
5/07/01        1.04   Telephone call to: Columbia, MD 410-531-4795

5/10/01        0.62   Telephone call to: Columbia, MD 410-531-4795

5/18/01        1.04   Telephone call to: Philadelphia, PA 610-692-1371

5/21/01        0.62   Telephone call to: Delaware 302-778-6464

5/21/01        0.83   Telephone call to: Delaware 302-778-6464

5/22/01        1.45   Telephone call to: Delaware 302-778-6464
5/23/01        1.04   Telephone call to: Delaware 302-778-6464

5/23/01        4.36   Telephone call to: Englewood, CO 303-792-8630

5/24/01        1.25   Telephone call to: Delaware 302-778-6464

5/25/01        0.83   Fax phone charge to 561-999-8006

5/25/01        3.00   Fax page charge to 561-988-7843

5/25/01        3.00   Fax page charge to 212-644-6755
5/25/01        3.00   Fax page charge to 561-999-8006

5/25/01        3.00   Fax page charge to 302-573-6497

5/25/01        3.00   Fax page charge to 305-374-7593

5/25/01        3.00   Fax page charge to 302-652-4400

5/29/01        3.00   Fax page charge to 305-374-7593

5/29/01        3.00   Fax page charge to 561-988-7843
5/29/01        3.00   Fax page charge to 410-531-4783

5/29/01        3.00   Fax page charge to 561-999-8006




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               Matter 36- Reclamation Claims - Expenses


                Description                           Amount
  Telephone                                                    $0.62

  Facsimile Charge                                             $3.00

  Secretarial Overtime                                     $74.64

  TOTAL                                                    $78.26




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                     Matter 36- Reclamation Claims - Itemized Expenses


Date        Amount     Description
5/01/01        0.62    Telephone call to: Wilmington, DE 302-652-4100

5/03/01       37.32    Crabb, Ba. - Secretarial Overtime

5/04/01       37.32    Crabb, Ba. - Secretarial Overtime

5/09/01        3.00    Fax page charge to 410-531-4445




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        Matter 38- Retention of Professionals/Fees - Expenses


                Description                           Amount
  Telephone                                                $28.87

  Overnight Delivery                                           $7.80

  Secretarial Overtime                                     $37.32

  TOTAL                                                    $73.99




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             Matter 38- Retention of Professionals/Fees - Itemized Expenses


Date        Amount    Description
5/02/01        0.62   Telephone call to: Delaware 302-778-6464

5/02/01        0.83   Telephone call to: Delaware 302-778-6464

5/02/01        1.04   Telephone call to: Delaware 302-778-6464

5/04/01        2.08   Telephone call to: Delaware 302-778-6464

5/08/01        0.62   Telephone call to: Wilmington, DE 302-652-4100

5/08/01        1.45   Telephone call to: Wilmington, DE 302-654-1888
5/09/01        0.83   Telephone call to: New York, NY 212-806-5422

5/09/01        1.25   Telephone call to: Washington, DC 202-204-3720

5/09/01        1.66   Telephone call to: New York, NY 212-583-5388

5/09/01        4.57   Telephone call to: New York, NY 212-806-5422

5/09/01        5.61   Telephone call to: New York, NY 212-583-5388

5/16/01        1.04   Telephone call to: New York, NY 212-583-5388
5/21/01        1.25   Telephone call to: New York, NY 212-806-5422

5/23/01        0.62   Telephone call to: New York, NY 212-806-5422

5/23/01        3.12   Telephone call to: New York, NY 212-806-5422

5/24/01       37.32   Crabb, Ba. - Secretarial Overtime

5/30/01        7.80   Fed Exp to: Wilmington ,DE from: MAILROOM

5/31/01        0.83   Telephone call to: New York City, NY 212-583-5388
5/31/01        1.45   Telephone call to: New York City, NY 212-806-5422




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    Matter 39- Schedules/Statement of Financial Affairs - Expenses


                Description                           Amount
  Telephone                                                 $43.83

  Secretarial Overtime                                    $242.58

  TOTAL                                                   $286.41




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          Matter 39- Schedules/Statement of Financial Affairs - Itemized Expenses


Date        Amount     Description
5/02/01         0.62   Telephone call to: Delaware 302-778-6464

5/02/01         0.62   Telephone call to: Eastern, MI 810-919-3991

5/02/01         0.83   Telephone call to: Delaware 302-778-6464

5/02/01         1.04   Telephone call to: Delaware 302-778-6464

5/02/01         1.25   Telephone call to: Delaware 302-778-6401

5/02/01         1.87   Telephone call to: Columbia, MD 410-531-4552
5/04/01         1.04   Telephone call to: Columbia, MD 410-531-4213

5/04/01         2.70   Telephone call to: Wilmington, DE 302-652-4100

5/04/01       12.68    Telephone call to: Columbia, MD 410-531-4213

5/08/01         1.04   Telephone call to: Delaware 302-778-6464

5/08/01         1.04   Telephone call to: Miami, FL 305-682-7017

5/08/01         1.45   0elephone call to: Columbia, MD 410-531-4213
5/08/01         3.12   Telephone call to: Columbia, MD 410-531-4213

5/08/01         3.53   Telephone call to: Columbia, MD 410-531-4212

5/09/01         0.62   Telephone call to: Delaware 302-778-6464

5/09/01         0.83   Telephone call to: Columbia, SC 803-799-2000

5/09/01         0.83   Telephone call to: Columbia, MD 410-531-4069

5/09/01         1.04   Telephone call to: Delaware 302-778-6464
5/10/01         0.62   Telephone call to: Delaware 302-778-6464

5/10/01         1.04   Telephone call to: Central, FL 561-362-1533

5/10/01         1.45   Telephone call to: Columbia, MD 410-531-4284

5/10/01         4.57   Telephone call to: Eastern, MI 810-694-7494

5/14/01       37.32    Crabb, Ba. - Secretarial Overtime



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Date        Amount    Description
5/15/01       37.32   Crabb, Ba. - Secretarial Overtime

5/15/01       65.31   Crabb, Ba. - Secretarial Overtime

5/17/01       37.32   Crabb, Ba. - Secretarial Overtime

5/17/01       65.31   Crabb, Ba. - Secretarial Overtime




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                     Matter 41- Tax Matters - Expenses


                Description                              Amount
  Telephone                                                       $3.71

  Facsimile Charge                                                $9.00

  Postage                                                         $1.10

  TOTAL                                                        $13.81




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                       Matter 41-Tax Matters - Itemized Expenses


Date        Amount    Description
5/15/01        0.75   Fax page charge to 561-362-1583

5/15/01        5.25   Fax page charge to 561-362-1583

5/16/01        3.00   Fax page charge to 212-735-2000

5/22/01        1.10   Postage

5/22/01        3.12   Telephone call to: Washington, DC 202-452-7080

5/30/01        0.59   Telephone call to: Columbia, MD 410-531-4203




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                         Matter 42-Travel - Expenses


                 Description                             Amount
  Travel Expense                                           $12,131.56

  Airfare                                                  $22,834.84

  Travel Meals                                                $716.74

  Travel to/from Airport                                      $905.61

  Local Transportation                                        $315.62

  Overtime Meals-Attorney                                      $50.00
  TOTAL                                                    $36,954.37




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                           Matter 42-Travel - Itemized Expenses


Date        Amount     Description
3/29/01       51.45    Crown Coach - Transportation to/from airport, James W Kapp

4/03/01       51.45    Crown Coach - Transportation to/from airport, Brigitte F Windley

4/08/01       53.60    Crown Coach - Transportation to/from airport, Lesley A Drinkwater

4/12/01      315.62    Vital Transportation - Local Transportation, James H Sprayregen

4/20/01       82.50    David M Bernick, P.C. - Travel Expense, Wilmington,DE, 4.18.01,
                       (Hearing)

4/20/01      550.73    David M Bernick, P.C. - Airfare Expense, Wilmington,DE, 4.18.01,
                       (Hearing)
4/23/01       70.00    Brigitte F Windley - Meals Expense f/L. Drinkwater, Wilmington, DE
                       3.29.01 - 4.3.01 (Bankruptcy Filing)

4/23/01       96.10    Brigitte F Windley - Meals Expense f/K. Cooper, Wilmington, DE 3.29.01
                       - 4.3.01 (Bankruptcy Filing)

4/23/01      138.40    Brigitte F Windley - Meals Expense, Wilmington, DE 3.29.01 - 4.3.01
                       (Filing bankruptcy)

4/23/01     1,098.46   Brigitte F Windley - Airfare Expense f/L. Drinkwater, Wilmington, DE
                       3.29.01 - 4.3.01 (Bankruptcy Filing)

4/23/01     1,098.46   Brigitte F Widley - Airfare Expense f/K. Cooper, Wilmington, DE 3.29.01
                       - 4.3.01 (Bankruptcy Filing)

4/23/01     1,098.46   Brigitte F Windley - Airfare Expense, Wilmington, DE 3.29.01 - 4.3.01
                       (Filing bankruptcy)
4/23/01     1,452.60   Brigitte F Windley - Travel Expense f/K. Cooper, Wilmington, DE 3.29.01
                       - 4.3.01 (Bankruptcy Filing)

4/23/01     1,475.71   Brigitte F Windley - Travel Expense f/L. Drinkwater, Wilmington, DE
                       3.29.01 - 4.3.01 (Bankruptcy Filing)

4/23/01     1,650.92   Brigitte F Windley - Travel Expense, Wilmington, DE 3.29.01 - 4.3.01
                       (Filing bankruptcy)

5/03/01      100.00    Samuel A Schwartz - Airfare upgrades, 4.19.01



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Date        Amount     Description
5/03/01      294.52    Andrew R Running - Travel Expense, Wilmington, DE 5.2.01 - 5.3.01
                       (Hearing)

5/03/01     1,101.46   Andrew R Running - Airfare Expense, Wilmington, DE 5.2.01 - 5.3.01
                       (Hearing)

5/05/01         8.76   Samuel A Schwartz - Meals Expense, Wilmington, DE 5.2.01 - 5.3.01
                       (Hearing)

5/05/01      226.80    Samuel A Sschartz - Travel Expense, Wilmington, DE 5.2.01 - 5.3.01
                       (Hearing)

5/05/01     1,160.90   Samuel A Schwartz - Airfare Expense, Wilmington, DE 5.2.01 - 5.3.01
                       (Hearing)

5/07/01       58.00    James H Sprayregen - Trainfare, Washington, DC 5.2.01 - 5.3.01 (Mtg)
5/07/01      554.07    James H Sprayregen - Airfare Expense, Washington, DC 5.2.01 - 5.3.01
                       (Mtg)

5/07/01      783.47    James H Sprayregen - Travel Expense, Washington, DC 5.2.01 - 5.3.01
                       (Mtg)

5/08/01         4.24   Janet Baer - Meal Expense, Miami,FL, 5.06 to 5.07.01, (Attend litigation
                       mtg)

5/08/01       20.00    David M Bernick, P.C. - Meal Expense, Wilmington,DE, 5.02 to 5.03.01,
                       (Hearing)

5/08/01       51.13    David M Bernick, P.C. - Meal Expense, Boca Raton,FL, 5.06 to 5.07.01,
                       (Client Mtg)

5/08/01      372.22    Janet Baer - Travel Expense, Miami,FL, 5.06 to 5.07.01, (Attend litigation
                       mtg)
5/08/01      378.33    David M Bernick, P.C. - Travel Expense, Boca Raton,FL, 5.06 to 5.07.01,
                       (Client Mtg)

5/08/01      409.92    David M Bernick, P.C. - Travel Expense, Wilmington,DE, 5.02 to 5.03.01,
                       (Hearing)

5/08/01     1,244.98   David M Bernick, P.C. - Airfare Expense, Wilmington,DE, 5.02 to
                       5.03.01, (Hearing)



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Date        Amount     Description
5/08/01     1,424.16   Janet Baer - Airfare Expense, Miami,FL, 5.06 to 5.07.01, (Attend litigation
                       mtg)

5/08/01     1,563.40   David M Bernick, P.C. - Airfare Expense, Boca Raton,FL, 5.06 to
                       5.07.01, (Client Mtg)

5/14/01       17.17    James H Sprayregen - Meals Expense, Wilmington, DE 4.11.01 - 4.12.01
                       (Hearing)

5/14/01      297.32    James H Sprayregen - Travel Expense, Wilmington, DE 4.11.01 - 4.12.01
                       (Hearing)

5/14/01     1,272.17   James H Sprayregen - Airfare Expense, Wilmington, DE 4.11.01 - 4.12.01
                       (Hearing)

5/16/01      427.62    James H Sprayregen - Travel Expense, Baltimore, MD 3.25.01 - 3.26.01
                       (Mtg)
5/21/01       28.77    James W Kapp - Meals, Boco Raton, LA, 05.04 - 05.07.2001, (Attend
                       mtg)

5/21/01       31.20    James W Kapp - Meals, Wilmington, DE, 05.02 - 05.03.2001, (Attend
                       hearing)

5/21/01       31.36    James W Kapp - Meals, Baltimore, MD, 05.14 - 05.15.2001, (Attend
                       hearing)

5/21/01       40.10    James W Kapp - Meals, Wilmington, DE, 05.17 - 05.18.2001, (Attend
                       hearing)

5/21/01      276.14    James W Kapp - Travel Expense, Baltimore, MD, 05.14 - 05.15.2001,
                       (Attend hearing)

5/21/01      333.72    James W Kapp - Travel Expense, Wilmington, DE, 05.02 - 05.03.2001,
                       (Attend hearing)
5/21/01      398.97    James W Kapp - Travel Expense, Wilmington, DE, 05.17 - 05.18.2001,
                       (Attend hearing)

5/21/01      415.80    James W Kapp - Travel Expense, Boco Raton, LA, 05.04 - 05.07.2001,
                       (Attend mtg)

5/21/01      594.81    James W Kapp - Airfare, Baltimore, MD, 05.14 - 05.15.2001, (Attend
                       hearing)


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Date        Amount     Description
5/21/01      996.58    James W Kapp - Airfare, Wilmington, DE, 05.02 - 05.03.2001, (Attend
                       hearing)

5/21/01     1,062.50   James W Kapp - Airfare, Wilmington, DE, 05.17 - 05.18.2001, (Attend
                       hearing)

5/21/01     1,466.15   James W Kapp - Airfare, Boco Raton, LA, 05.04 - 05.07.2001, (Attend
                       mtg)

5/22/01       14.11    Janet Baer - Meal Expense, Baltimore,MD, 5.21 to 5.22.01, (Mtg re: Bar
                       date notice expert)

5/22/01       50.32    Janet Baer - Meal Expense, Baltimore,MD, 5.17 to 5.18.01, (Attend Mtg
                       re: Environmental & related issues)

5/22/01       86.60    James H Sprayregen - Transportation to/from airport, Washington, DC
                       5.2.01 (Mtg)
5/22/01      261.35    Samuel A Schwartz - Travel Expense, Baltimore, MD, 05.14 -
                       05.15.2001, (Mtg w/clients)

5/22/01      274.07    Janet Baer - Travel Expense, Baltimore,MD, 5.17 to 5.18.01, (Attend Mtg
                       re: Environmental & related issues)

5/22/01      348.25    Janet Baer - Travel Expense, Baltimore,MD, 5.21 to 5.22.01, (Mtg re: Bar
                       date notice expert)

5/22/01      365.46    Janet Baer - Airfare Expense, Baltimore,MD, 5.21 to 5.22.01, (Mtg re: Bar
                       date notice expert)

5/22/01      405.74    Samuel A Schwartz - Airfare, Baltimore, MD, 05.14 - 05.15.2001, (Mtg
                       w/clients)

5/22/01      913.47    Janet Baer - Airfare Expense, Baltimore,MD, 5.17 to 5.18.01, (Attend Mtg
                       re: Environmental & related issues)
5/24/01       31.05    Timothy S Hardy - Travel Expense-Columbia, Maryland- 05/23/01-
                       Meeting with William Corcoran

5/24/01       45.83    James W Kapp - Meals, New York, NY, 05.21 - 05.22.2001, (Attend
                       mtg)

5/24/01      323.55    James W Kapp - Travel Expense, New York, NY, 05.21 - 05.22.2001,
                       (Attend mtg)


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Date        Amount     Description
5/24/01     1,206.00   James W Kapp - Airfare, New York, NY, 05.21 - 05.22.2001, (Attend
                       mtg)

5/25/01       18.16    David M Bernick, P.C. - Meal Expense, New York,NY, 5.21 to 5.22.01,
                       (Mtg w/Banks)

5/25/01       25.00    Samuel A Schwartz - Overtime Meals - Attorney, 5.23.01

5/25/01       25.00    Samuel A Schwartz - Overtime Meals - Attorney, 5.21.01

5/25/01      315.57    David M Bernick, P.C. - Travel Expense, New York,NY, 5.21 to 5.22.01,
                       (Mtg w/Banks)

5/25/01      361.42    David M Bernick, P.C. - Airfare Expense, New York,NY, 5.21 to
                       5.22.01, (Mtg w/Banks)
5/29/01       83.52    James W. Kapp - Transportation to/from airport, Wilmington, DE,
                       04.12.2001, (Creditor's Committee's Formation; Suppl to 04.23.01 trv exp
                       rpt)

5/29/01      162.04    James W. Kapp - Transportation to/from airport, Wilmington, DE, 03.29 -
                       04.03.2001, (Attend hearing; Suppl to trv exp rpt 04.20.01)

5/29/01      200.34    James W Kapp - Transportation to/from airport, Wilmington, DE, 04.17 -
                       04.18.2001, (Attend status hearing; Suppl to trv exp rpt 04.23.01)

5/29/01      204.05    James W Kapp - Travel Expense, Wilmington, DE, 05.02 -
                       05.03.2001,(Attend hearing; Suppl to trv exp rpt 05.21.01)

5/29/01      216.61    James W Kapp - Transportation to/from airport, Boca Raton, FL, 04.16 -
                       04.17.2001, (Attend Company mtg; Suppl to trv exp rpt 04.23.01)

5/30/01       14.29    Deanna D Boll - Meal Expense, Baltimore, MD, 5/21/01 - 5/22/01,
                       (Meeting with client re notice)
5/30/01       79.42    James H Sprayregen - Travel Expense, New York, NY 5.24.01 (Mtg)

5/30/01      118.00    Deanna D Boll - Airfare Expense, Baltimore, MD, 5/21/01 - 5/22/01,
                       (Meeting with client re notice)

5/30/01      330.13    Deanna D Boll - Travel Expense, Baltimore, MD, 5/21/01 - 5/22/01,
                       (Meeting with client re notice)

5/30/01      340.09    James H Sprayregen - Travel Expense, New York, NY 4.10.01 - 4.11.01
                       (Mtg)

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Date        Amount     Description
5/30/01     1,206.00   James H Sprayregen - Airfare, New York, NY 4.24.01 - 4.25.01 (Mtg)

5/31/01       36.80    David M Bernick, P.C. - Meal Expense, New York,NY, 5.29 to 5.30.01,
                       (Mtg w/Commercial Committee Counsel), 5.31.01

5/31/01      347.47    David M Bernick, P.C. - Travel Expense, New York,NY, 5.29 to 5.30.01,
                       (Mtg w/Commercial Committee Counsel), 5.31.01

5/31/01      607.46    David M Bernick, P.C. - Airfare Expense, New York,NY, 5.29 to
                       5.30.01, (Mtg w/Commercial Committee Counsel), 5.31.01

5/31/01     1,206.00   James W Kapp - Airfare, New York, NY, 05.29.2001, (Attend mtgs)




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                     Matter 44 - U.S. Trustee - Expenses


                Description                                Amount
  Telephone                                                         $2.49

  Facsimile Charge                                               $55.25

  TOTAL                                                          $57.74




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                      Matter 44 - U.S. Trustee - Itemized Expenses


Date        Amount    Description
5/16/01        0.62   Telephone call to: Atlanta, GA 404-842-7625

5/31/01        0.79   Fax phone charge to 302-652-4400

5/31/01        0.98   Fax phone charge to 410-531-4783

5/31/01        0.98   Fax phone charge to 305-374-7593

5/31/01        1.87   Telephone call to: Beverly Hills, CA 310-277-6910

5/31/01       10.50   Fax page charge to 410-531-4783
5/31/01       10.50   Fax page charge to 302-652-4400

5/31/01       10.50   Fax page charge to 212-806-6006

5/31/01       10.50   Fax page charge to 305-374-7593

5/31/01       10.50   Fax page charge to 212-644-6755




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                       Matter 45 - Utilities - Expenses


                Description                               Amount
  Facsimile Charge                                              $65.90

  Overnight Delivery                                            $51.44

  TOTAL                                                        $117.34




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                         Matter 45 - Utilities - Itemized Expenses


Date        Amount    Description
5/08/01        1.50   Fax page charge to 410-531-4783

5/08/01        2.25   Fax page charge to 410-531-4783

5/10/01        5.72   Fed Exp to: Merrillville, IN from: Mailroom

5/10/01        7.44   Fed Exp to: Chattahooga, TN from: Mailroom

5/10/01        7.44   Fed Exp to: Baltimore, MD from: Mailroom

5/10/01        7.44   Fed Exp to: Atlanta, GA from: Mailroom
5/10/01        7.80   Fed Exp to: Richmond, VA from: Mailroom

5/10/01        7.80   Fed Exp to: Richmond, VA from: Mailroom

5/11/01        0.79   Fax phone charge to 410-531-4445

5/11/01        0.79   Fax phone charge to 410-531-4783

5/11/01        9.00   Fax page charge to 410-531-4783

5/11/01        9.00   Fax page charge to 410-531-4445
5/14/01        7.80   Fed Exp to: Richmond, VA from: Mailroom

5/15/01        1.50   Fax page charge to 410-531-4445

5/15/01        1.50   Fax page charge to 410-531-4783

5/15/01        1.50   Fax page charge to 410-531-4466

5/15/01        3.75   Fax page charge to 410-531-4783

5/17/01        1.25   Fax phone charge to 302-656-2145
5/17/01        6.75   Fax page charge to 302-656-2145

5/30/01        1.57   Fax phone charge to 303-308-6144

5/30/01       24.75   Fax page charge to 303-308-6144




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                               Expenses- Summary (May 2001)



Description                                                                      Amount
Telephone                                                                   $2,302.26

Facsimile Charges                                                           $1,414.71

Standard Copies                                                             $2,930.55

Binding                                                                           $40.25

Outside Copy/binding Service                                                      $21.70

Tabs/Indexes/Dividers                                                             $26.00
Postage                                                                            $3.93

Local Transportation                                                             $360.67

Travel Meals                                                                     $716.74

Overnight Delivery                                                               $663.24

Travel Expense                                                             $12,131.56

Airfare                                                                    $22,834.84
Travel to/from Airport                                                           $905.61

Computer Database Research                                                  $1,601.19

Library Document Procurement                                                     $320.00

Information Broker Services                                                $28,084.72

Calendar/Court Services                                                           $50.00

Overtime Meals                                                                    $63.00
Overtime Meals- Attorney                                                         $131.91

Overtime Transportation                                                          $346.99

Secretarial Overtime                                                        $2,421.12

Outside Messenger Service                                                        $116.87

Total                                                                      $77,487.86
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